Case 1:17-cv-02989-AT Document 821-4 Filed 08/26/20 Page 1 of 175




   EXHIBIT C
    Part 2 of 3
      Case 1:17-cv-02989-AT Document 821-4 Filed 08/26/20 Page 2 of 175




                IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION

 FAIR FIGHT ACTION, INC., et al.,

        Plaintiffs
 v.                                                  Civil Action File

 BRAD RAFFENSPERGER, in his official                 No. 1:18-cv-05391-SCJ
 Capacity as Secretary of State of Georgia;
 et al.,

        Defendants.

       DEFENDANTS' AMENDED NOTICE TO TAKE THE EXPERT
            DEPOSITION OF J. ALEX HALDERMAN, Ph.D.
       PLEASE TAKE NOTICE that, pursuant to Rule 30 of the Federal Rules of

Civil Procedure, counsel for Defendants Brad Raffensperger, et al., will take the

deposition upon oral examination of Plaintiff Fair Fight Action, Inc.'s expert, J.

Alex Halderman, Ph.D. The deposition will take place at the Delta Detroit Metro

Airport Hotel, 31500 Wick Road, Romulus, MI 48174, on Tuesday, February 25,

2020, beginning at 9:30 a.m. and continuing thereafter until completed.

      The deposition will be taken before a notary public or other officer

authorized to administer oaths for purposes of discovery, cross -examination, and

all other purposes authorized by law. It will be recorded by stenographic and/or

video means.
Case 1:17-cv-02989-AT Document 821-4 Filed 08/26/20 Page 3 of 175




This 11th day of February, 2020.


                         /s/Bryan P. Tyson
                         Bryan P. Tyson
                         Special Assistant Attorney General
                         Georgia Bar No. 515411
                         btyson @taylorenglish.com
                         Bryan F. Jacoutot
                         Georgia Bar No. 668272
                         bjacoutot@taylorenglish.com
                          Diane F. LaRoss
                          Georgia Bar No. 430830
                          dlaross @taylorenglish.com
                          Taylor English Duma LLP
                          1600 Parkwood Circle - Suite 200
                          Atlanta, Georgia 30339
                          Telephone: (678) 336 -7249

                          Josh B. Belinfante
                          Georgia Bar No. 047399
                          j belinfante @robbinsfirm. com
                          Vincent R. Russo
                          Georgia Bar No. 242628
                          vrusso@robbinsfirm.com
                          Brian E. Lake
                           Georgia Bar No. 575966
                           blake@robbinsfirm.com
                           Carey A. Miller
                           Georgia Bar No. 976240
                           cmiller @robbinsfirm. com
                           Alexander Denton
                           Georgia Bar No. 660632
                           adenton@robbinsfirm.com
                           Robbins Ross Alloy Belinfante Littlefield LLC
                            500 14th Street, N.W.
                           Atlanta, Georgia 30318
                            Telephone: (678) 701-9381
                            Facsimile: (404) 856 -3250


                                   2
Case 1:17-cv-02989-AT Document 821-4 Filed 08/26/20 Page 4 of 175




                        Christopher M. Can
                        Attorney General
                        GA Bar No. 112505
                        Annette M. Cowart
                        Deputy Attorney General
                        GA Bar No. 191199
                        Russell D. Willard
                        Senior Assistant Attorney General
                        GA Bar No. 760280
                        State Law Department
                        GA Bar No. 760280
                        40 Capitol Square, S.W.
                        Atlanta, Georgia 30334

                        Attorneys for Defendants




                                3
     Case 1:17-cv-02989-AT Document 821-4 Filed 08/26/20 Page 5 of 175




                        CERTIFICATE OF SERVICE
     I hereby certify that, on February 11, 2020, I caused to be served the

foregoing DEFENDANTS' AMENDED NOTICE TO TAKE THE EXPERT

DEPOSITION OF J. ALEX HALDERMAN, Ph.D. by email to the following:

 Lawrence & Bundy LLC                          KaiserDillon PLLC
 Allegra Lawrence -Hardy                       Matthew G. Kaiser
 Leslie J. Bryan                               Sarah R. Fink
 Maia J. Cogen                                 Scott S. Bernstein
 Suzanne Smith Williams                        Norman G. Anderson
 1180 West Peachtree Street, NW                1099 14th Street, NW
 Suite 1650                                    8' Floor West
 Atlanta, GA 30309                             Washington, DC 20005
 Allegra.Lawrence-                             mkai s er @kai s erdillon. c orn
 Hardy@lawrencebundy.com                       sfink @kaiserdillon. corn
 Leslie.Bryan@lawrencebundy. corn              sernstein @kaiserdillon. corn
 Maia.Cogen@lawrencebundy.com                  nanderson@kaiserdillon.com
 Suzanne. Williams @lawrencebundy. corn

 Lawrence & Bundy, LLC                          Sandler Reiff Lamb Rosenstein
 Thomas R. Bundy                                & Birkenstock, P.C.
 8115 Maple Lawn Blvd.                         Dara Lindenbaum
 Suite 350                                      1090 Vermont Ave, NW
 Fulton, MD 20759                              Suite 750
 Thomas.Bundy@lawrencebundy. corn              Washington, DC 20005
                                               lindenbaum @sandlerreiff.com

 Elizabeth Vranicar Tanis                      Kastorf Law, LLC
 John A. Chandler                              Kurt G. Kastorf, Esq,
  957 Springdale Road, N.E.                    1387 Iverson Street NE
 Atlanta, GA 30306                             Suite 100
 beth.tanis @gmail. corn                       Atlanta, GA 30307
 j ahandler@gmail. corn                        kurt @kastorflaw.com
   Case 1:17-cv-02989-AT Document 821-4 Filed 08/26/20 Page 6 of 175




Jenner & Block LLP                       Jenner & Block LLP
Kali Nneka Bracey                         Jeremy H. Ershow
1099 New York Avenue, NW                  919 Third Avenue
Suite 900                                New York, New York 10022
Washington, DC 20001                     jershow@jenner.com
KBracey @jenner.com

Miller & Chevalier Chartered             DuBose Miller LLC
Andrew D. Herman                         Von A. DuBose
Nina C. Gupta                            75 14th Street N.E., Suite 2110
900 16th St. NW                          Atlanta, GA 30309
Washington, DC 20006                     dubose @dubosemiller. corn
aherman @milchev.com
ngupta @milchev.com




                           /s/Bryan P. Tyson
                           Bryan P. Tyson
                           Georgia Bar No. 515411
     Case 1:17-cv-02989-AT Document 821-4 Filed 08/26/20 Page 7 of 175
        Case 1:18 -cv-05391 -SCJ       Document 239   Filed 02/18/20   Page   1   of 70




                IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION


FAIR FIGHT ACTION, et al.,         )
                                   )
       Plaintiffs,                 )
                                   )
v.                                 )       Civ. Action No. 1:18 -cv- 05391 -SCJ
                                   )
BRAD RAFFENSPERGER,
in his official capacity as
Secretary of State of the
State of Georgia, et al.,

       Defendants.



                 EXPERT REPORT OF J. ALEX HALDERMAN

                   Professor of Computer Science & Engineering
     Director, University of Michigan Center for Computer Security and Society
                               University of Michigan
                            Beyster Building, Room 4717
                                2260 Hayward Street
                             Ann Arbor, MI 48109 -2121




February 18, 2020
                                                       J. Alex Halderman, Ph.D.
                                                        [signature to be supplied]
    Case 1:17-cv-02989-AT Document 821-4 Filed 08/26/20 Page 8 of 175
           Case 1:18 -cv- 05391 -SCJ   Document 239 Filed 02/18/20   Page 2 of 70




               EXPERT REPORT OF J. ALEX HALDERMAN, Ph.D.

       1.       My name is J. Alex Halderman.

       2.       My background, qualifications, and professional affiliations are set

forth in my curriculum vitae, which is attached as Exhibit A.

       3.       I hold a Ph.D. (2009), a master's degree (2005), and a bachelor's degree

(2003), summa cum laude, in computer science, all from Princeton University.

       4.       I am Professor of Computer Science and Engineering, Director of the

Center for Computer Security and Society, and Director of the Software Systems

Laboratory at the University of Michigan in Ann Arbor, Michigan.

      5.        My research focuses on computer security and privacy, with an

emphasis on problems that broadly impact society and public policy. Among my

areas of research are software security, network security, and election cybersecurity.

      6.       I serve as co -chair     of the State of Michigan's Election Security

Advisory Commission, by appointment of the Michigan Secretary of State.

      7.       I have testified before the U.S. Senate Select Committee on Intelligence

and before the U.S. House Appropriations Subcommittee on Financial Service and

General Government on the subject of cybersecurity and U.S. elections.

      8.       I have performed security testing   of electronic voting systems for the

Secretary of State of California.
    Case 1:17-cv-02989-AT Document 821-4 Filed 08/26/20 Page 9 of 175
        Case 1:18 -cv- 05391 -SCJ   Document 239   Filed 02/18/20   Page 3 of 70




       9.     I have authored more than 85 articles and books. My work has been

 cited in more than 9,400 scholarly publications. I have served on the program

 committees for 33 research conferences and workshops. I co- chaired the USENIX

 Election Technology Workshop, which focuses on electronic voting security.

       10.   I have published numerous peer-reviewed research papers analyzing

the security of electronic voting systems used in U.S. states and in other countries. I

have also investigated methods for improving election security, such as efficient

techniques for auditing whether computerized election results match paper ballots.

       11.   I regularly teach courses in computer security, network security, and

election cybersecurity at the graduate and undergraduate levels. I am the creator of

Securing Digital Democracy, a massive, open, online course about computer

security and elections that has attracted more than 20,000 students.

      12.    I received the John Gideon Award for Election Integrity from the

Election Verification Network, the Andrew Carnegie Fellowship, the Alfred P.

Sloan Foundation Research Fellowship, the IRTF Applied Networking Research

Prize, the Eric Aupperle Innovation Award, the University of Michigan College of

Engineering 1938 E Award for teaching and scholarship, and the University of

Michigan President's Award for National and State Leadership.




                                         2
      Case 1:17-cv-02989-AT Document 821-4 Filed 08/26/20 Page 10 of 175
            Case 1:18 -cv- 05391 -SCJ   Document 239    Filed 02/18/20   Page 4 of 70




           13.   I am being compensated for my work related to this matter at my

    customary rate of $750 per hour. My compensation does not depend on the outcome

    of this litigation, the opinions I express, or the testimony I provide.

    Georgia's Election Technology
           14.   Plaintiffs have asked me to opine on the security of Georgia's election

    system following the implementation of new technology from Dominion Voting

    Systems, Inc. ( "Dominion ") and KNOWiNK, LLC ( "KnowInk "). The state is in the

process of deploying Dominion ImageCast X Prime ( "ICX ") ballot marking devices

    (BMDs), ImageCast Precinct ( "ICP ") precinct -count scanners, ImageCast Central

( "ICC ")    central -count scanners, the Democracy Suite election management system

(EMS), and KnowInk Poll Pad electronic poll books. Georgia Secretary of State

Brad Raffensperger certified the Dominion components in August 2019.1

          15.    I   have reviewed documents provided by Dominion in response to a

subpoena from Plaintiffs. These documents include technical documentation about

the election system components, the company's response to Georgia's Request for

Proposals for the new voting system, reports from third-party testing, and certain

internal engineering memos relating to the security of the system.



'Georgia Dominion/Knowlnk certification (Aug. 9, 2019),
https: / /sos.ga.gov/admin/uploads/Dominion Certification.pdf.

                                               3
   Case 1:17-cv-02989-AT Document 821-4 Filed 08/26/20 Page 11 of 175
       Case 1:18 -cv- 05391 -SCJ   Document 239    Filed 02/18/20   Page 5 of 70




      16.    I understand that Georgia maintains its voter registration database using

a system called ElectioNet ( "eNet"), which was developed and is maintained by PCC

Technology, Inc. Election officials use eNet to manage voter registration data and to

export it to electronic poll books for each election. The Georgia My Voter Page

(MVP) and Online Voter Registration (OVR) websites interface with eNet and allow

voters to view and update their voter registration data. At each polling place, workers

use Poll Pad electronic poll books to check in voters. The Poll Pads consist of off-

the-shelf Apple iPads running custom software. The Poll Pads are also used to

program "voter cards," which the voter uses to activate a ballot marking device and

begin a voting session.

      17.    Georgia plans for all in- person voters to select candidates using

Dominion ICX BMDs, which are computer tablets connected to off-the -shelf laser

printers. These devices do not record votes but instead print paper ballots that are

supposed to contain the voter's selections in both human -readable text and as a type

of machine- readable barcode called a QR code. The voter will insert the paper ballot

into a Dominion ICP optical scanner, which will store a digital scan of the printout.

The scanner will process the barcode and count the votes encoded in it, and the paper

ballots will be retained for use in audits or recounts. Absentee voters will not use




                                           4
   Case 1:17-cv-02989-AT Document 821-4 Filed 08/26/20 Page 12 of 175
        Case 1:18 -cv- 05391 -SCJ Document 239    Filed 02/18/20   Page 6 of 70




BMDs but will instead complete hand- marked paper ballots (HMPBs), which will

be tabulated at central locations by Dominion ICC optical scanners.

       18.   Before every election, the Secretary of State's office will prepare

election programming files using the Dominion EMS software, which is a collection

of client and server programs that run on commercial-off-the -shelf (COTS)

computers and servers. The Secretary of State will transmit the election

programming files to county officials, who will use another instance of the

Dominion EMS to prepare memory cards and USB sticks for every scanner and

ballot marking device used in the county. These removable media will contain the

ballot design, including the names of the races and candidates, and rules for counting

the ballots. Election workers will install a memory card or USB stick into each BMD

and ICP scanner prior to the start of voting.

       19.   After polls close, election workers will remove the memory cards from

every ICP scanner and return them to the county. At that point, the memory cards

will contain a digital image of each scanned ballot as well as the scanner's

interpretation of the votes each ballot contains. County workers will use the

Dominion EMS to retrieve data from the cards and prepare the final election results.




                                          5
   Case 1:17-cv-02989-AT Document 821-4 Filed 08/26/20 Page 13 of 175
        Case 1:18 -cv- 05391 -SCJ   Document 239      Filed 02/18/20   Page   7   of 70




Threats to Georgia Elections
       20.    In my opinion, Georgia's election system faces a high risk of being

targeted by sophisticated adversaries, including Russia and other hostile foreign

governments. These adversaries could attempt to hack the election system to achieve

a variety of goals, including undermining voter confidence and causing fraudulent

election outcomes. Attackers could sabotage BMDs or optical scanners to prevent

them from functioning on election day, or to cause obviously incorrect results. They

could also infiltrate BMDs and scanners with malicious software in order to cause

plausible but fraudulent election results. As   I   will explain, attacks by sophisticated

attackers such as foreign governments could succeed despite procedural and

technical protections that Georgia has in place, including a paper trail and limited

post- election audits.

       21.    The Mueller Report outlined the scale and sophistication of Russia's

efforts to interfere in the 2016 election, leaving no doubt that Russia and other

adversaries will strike again." The Special Counsel concluded principally that "[t]he

Russian government interfered in the 2016 presidential election in sweeping and




2 Special Counsel Robert S. Mueller, III Report on the Investigation into Russian

Interference in the 2016 Presidential Election (Volume I of II), United States
Department of Justice (Mar. 2019), https: //www.justice.gov /storage /report.pdf.

                                          6
      Case 1:17-cv-02989-AT Document 821-4 Filed 08/26/20 Page 14 of 175
           Case 1:18 -cv- 05391 -SCJ   Document 239     Filed 02/18/20   Page 8 of 70




    systematic fashion. "3 The report further explained that foreign actors "sought access

to state and local computer networks by exploiting known software vulnerabilities

on websites of state and local governmental entities. "4 The report also found that

these foreign agents were successful in attacking at least one state and that their

activities involved "more than two dozen states. "5 As noted prior to the Special

Counsel's final report, Georgia was among the states that Russia targeted.6

          22.   Russia has sophisticated cyber- offensive capabilities, and it has shown

a willingness to use them to hack elections elsewhere even before 2016. For instance,

according to published reports, during the 2014 presidential election in Ukraine,

attackers linked to Russia sabotaged Ukraine's vote counting infrastructure, and

Ukrainian officials succeeded only at the last minute in defusing vote - stealing

malware that would have caused the wrong winner to be announced.' Other

adversarial governments have similarly advanced cyberwarfare capabilities,

including China, Iran, and North Korea, and might target future Georgia elections.


3 Id. at 1.
4
  Id. at 50.
5 Id.

6 See Indictment ¶ 75, United States     v.   Netyksho, No. 1:18 -cr- 00215 -ABJ,   ,
(D.D.C. July 13, 2018), ECF No. 1.
7Mark Clayton, "Ukraine election narrowly avoided `wanton destruction' from
hackers," The Christian Science Monitor (June 17, 2014),
https:// www .csmonitor.com/World/Passcode /2014/0617/Ukraine- election-
narrowly- avoided -wanton-destruction -from-hackers.

                                                7
  Case 1:17-cv-02989-AT Document 821-4 Filed 08/26/20 Page 15 of 175
       Case 1:18 -cv- 05391 -SCJ   Document 239 Filed 02/18/20 Page      9 of 70




      23.    It is my opinion that Georgia's new voting technology does not achieve

the level of security necessary to withstand an attack by a sophisticated adversary

such as a hostile foreign government. Despite the addition of a paper trail, it suffers

from serious security risks much like those of the paperless voting system it has

replaced. Attackers can potentially subvert the election technology in several ways:

        (a) Attackers could infiltrate the voter registration database and extract,

             change, or erase voter registration records. These attacks could cause

             voters to receive the wrong ballot or be prevented from casting a regular

             ballot. They could also be used to steal information that could be used

             to impersonate voters.

        (b) Attackers could sabotage polling place equipment, including Poll Pads,

             BMDs, and ICP scanners, and prevent them from functioning on

             election day. This would cause lengthy delays and drive away many

             eligible voters. An attacker could target such sabotage at jurisdictions

             that strongly favored a particular candidate and thereby cause a partisan

             shift in the election outcome.

        (c) Attackers could manipulate optical scanners or election management

             systems to cause them to report fraudulent outcomes. Attacks on the

             scanners could alter all digital records of the election results. The only


                                          8
   Case 1:17-cv-02989-AT Document 821-4 Filed 08/26/20 Page 16 of 175
       Case 1:18 -cv- 05391 -SCJ   Document 239 Filed 02/18/20     Page 10 of 70




             kind of safeguard that can reliably detect such an attack is a sufficiently

             rigorous manual audit or recount of the paper ballots, which Georgia

             does not currently require.

        (d) Attackers could infiltrate the BMDs to cause them to sometimes print

             ballots that differ from voters' on- screen selections. Such an attack

             might change only the ballot barcode, which is the only portion of the

             ballot that the scanners count. The change would be invisible to voters.

             Unless all races are rigorously audited by inspecting the human -

             readable portion of the paper ballots, such attacks could go undetected.

        (e) Attackers could also infiltrate the BMDs and change both the barcode

             and the human -readable text on some of the ballots. Research shows

             that few voters carefully review their printed ballots, and consequently

             fraud sufficient to change the winner of a close race might go

             undetected. No audit or recount could detect the change, since both the

             digital and paper records would be wrong.

      24.    One way that attackers could carry out these attacks is by introducing

malicious software ( "malware ") into the election equipment. Malware could be

introduced in several ways, including: (a) with physical access to the equipment, (b)

by dishonest election workers, (c) through an attack on the hardware or software


                                           9
    Case 1:17-cv-02989-AT Document 821-4 Filed 08/26/20 Page 17 of 175
       Case 1:18 -cv- 05391 -SCJ   Document 239 Filed 02/18/20   Page 11 of 70




supply- chain, or (d) by spreading from the election management systems to polling

place equipment during routine pre -election procedures.

       25.   Critical components of Georgia's election system are directly

connected to the Internet. These include the eNet voter registration system, the

Georgia My Voter Page (MVP) and Online Voter Registration (OVR) websites, and

the Poll Pad electronic poll books. Being connecting to the Internet exposes these

systems to the threat that attackers anywhere in the world could directly target them.

       26.   Other components of Georgia's election system that are not directly

connected to the Internet might nonetheless be targeted by attackers. Nation -state

attackers have developed a variety of techniques for infiltrating non- Internet-

connected systems, including by spreading malware on removable media that

workers use to copy files in and out.8 Attackers could employ this method to infect

the state or county EMS and spread from there to scanners and BMDs when workers

program them for the next election. In this way, an attack could potentially spread




8
  A well -known example of this ability, which is known as "jumping an air gap," is
the Stuxnet computer virus, which was created to sabotage Iran's nuclear
centrifuge program by attacking factory equipment that was not directly connected
to the Internet. Kim Zetter, "An Unprecedented Look at Stuxnet, the World's First
Digital Weapon," Wired (Nov. 3, 2014),
https://www.wired.com/2014/11/countdown-to-zero-day-stuxnet/.

                                          10
    Case 1:17-cv-02989-AT Document 821-4 Filed 08/26/20 Page 18 of 175
       Case 1:18 -cv- 05391 -SCJ   Document 239 Filed 02/18/20   Page 12 of 70




form a single point of infection to scanners and BMDs across entire counties or the

whole state.


Vulnerabilities in Georgia Voting Equipment
       27.     Dominion components. Dominion does not dispute that its devices can

be hacked by sufficiently sophisticated adversaries.'

       28.     One reason why this is true is the complexity of the software. The

Dominion software used in Georgia contains nearly 2.75 million lines of source code

(equivalent to about 45,000 printed pages), excluding the Windows and Android

operating systems and other off-the -shelf software packages.10 The ICP scanner

alone contains about 475,000 lines of source code, and its software is written in

C /C + +," a programming language that is particularly susceptible to some       of the

most dangerous types of vulnerabilities.

       29.     Software of the size and complexity of the Dominion code inevitably

has exploitable vulnerabilities. As a code review team working for the California



9 Decl. of Dr. Eric Coomer, Director of Product Strategy and Security for
Dominion 1113, Curling v. Raffensperger, No 1:17 -cv- 2989 -AT (N.D. Ga. Nov. 13,
2019), ECF No. 658 -2 ( "all computers can be hacked with enough time and
access").
10 SLI Compliance, "Dominion Democracy Suite 5.10 Voting System Software

Test Report for California Secretary of State" 6 (Aug. 2019),
https: //votingsystems.cdn.sos.ca.gov/vendors /dominion/dvs510software -report pdf.
" Id.

                                           11
     Case 1:17-cv-02989-AT Document 821-4 Filed 08/26/20 Page 19 of 175
        Case 1:18 -cv- 05391 -SCJ Document 239   Filed 02/18/20   Page 13 of 70




Secretary of State concluded in a study of a voting system with only 10% as much

code as Dominion's, "If the [system] were secure, it would be the first computing

system of this complexity that is fully secure. "12 Nation -state attackers often

discover and exploit novel vulnerabilities in complex software.13

        30.   In addition to its complexity, the Dominion software utilizes a wide

range of outdated off-the -shelf software modules, including some that perform

essential security functions, such as the operating system and modules that process

files an attacker might have manipulated.14 The oldest third-party software

components appear not to have been updated in more than    15   years. Old or outdated

software used in Georgia's new Dominion equipment includes a version of

Microsoft SQL Server dating from 2016, Adobe Acrobat from around 2015, barcode

scanner software from 2015, Android operating system software from 2015, µClinux


12
    Joseph A. Calandrino, Ariel J. Feldman, J. Alex Halderman, David Wagner,
Harlan Yu, and William Zeller, "Source Code Review of the Diebold Voting
 System," in California Secretary ofState's Top -to- Bottom Review of Voting
Systems (July 20, 2007),
https://votingsystems.cdn.sos.ca.gov/oversight /ttbr/diebold- source-public-
jul29.pdf.
 13 Andrew Springall, Nation -State Attackers and their Effects on Computer Security

 (2009), Ph.D. dissertation, University of Michigan,
https://deepbluelib.umich.edu/handle/2027.42/143907.
 14 SLI Compliance, "Dominion Voting Systems Democracy Suite 5.5 -A

 Certification Test Plan" 16 -19 (Dec. 2018),
https: / /www.eac.gov/sites /default/files /voting system/files /DVS Democracy D-
 Suite 5.5 -A Modification Test Plan vl.2.pdf.

                                         12
     Case 1:17-cv-02989-AT Document 821-4 Filed 08/26/20 Page 20 of 175
        Case 1:18 -cv- 05391 -SCJ   Document 239   Filed 02/18/20   Page 14 of 70




operating system software from 2007, COLILO bootloader software from 2004, and

a version of the Apache Avalon component framework dating from 2002.

        31.   Outdated software components are a security risk because they

frequently contain known, publicly documented vulnerabilities that have been

corrected in later versions. For example, the version of the Android operating system

used Georgia's ICX BMDs, Android 5.1.1, contains 254 known vulnerabilities.'

        32.   Dominion's response to Georgia's RFP lists among "key personnel" a

"Chief Security Officer" (CSO) whose responsibilities for the voting system project

will be "Oversight of key security development and implementation. "16 However, at

the time of the RFP, the CSO position was vacant, and to my knowledge Dominion

has yet to fill the role. It is unclear who at Dominion has responsibility for security

development and implementation in the context of the Georgia components.

        33.   Georgia certified the Dominion system without performing its own

security testing or source code review. The certification was preceded by tests

performed that were limited to checking functional compliance with Georgia




15
   CVE Details, "Google Android 5.1.1 Security Vulnerabilities,"
https://www .cvedetails.com/vulnerability- list/vendor id -1224 /product id- 19997/-
version id- 186573 /Google- Android- 5.1.1.html (last visited Feb. 10, 2020).
16 DOM- 003996.




                                           13
     Case 1:17-cv-02989-AT Document 821-4 Filed 08/26/20 Page 21 of 175
        Case 1:18 -cv- 05391 -SCJ   Document 239    Filed 02/18/20 Page 15 of 70




 requirements." The test report states that the testing "was not intended to result in

 exhaustive tests of system hardware and software attributes. "18 The word "security"

does not appear in the report.

        34.   At around the same time that Georgia certified the Dominion system,

California performed tests on a more recent version of the Dominion software

(version 5.10) as part of its own certification process.19 In contrast to Georgia's tests,

California's did include some source code review and security testing.

        35.   Like all security testing, the California tests were necessarily limited in

scope and could not be expected to find all exploitable vulnerabilities. Nevertheless,

they did uncover several serious flaws. In my experience, more recent versions of

software tend to contain fewer security vulnerabilities than older versions, and so

these problems very likely apply to the Georgia version of the Dominion system.

       36.    The California testers found that attackers could modify the Dominion

software installation files and believed that "it would be possible to inject more lethal



17 Pro V&V, "Test Report: Dominion Voting Systems D-Suite 5.5 -A Voting
System Georgia State Certification Testing" (Aug. 7, 2019),
https: / /sos.ga.gov/admin /uploads /Dominion Test Cert Report.pdf.
'8 Id. at 3.
19 SLI Compliance, "Dominion Democracy Suite 5.10 Security and

Telecommunications Test Report" (Aug. 2019),
https : / /votingsystems.cdn.sos.ca.gov /vendors / dominion /dvs510security- report.pdf
( "California Certification Security and Telecomm Test Report").


                                           14
     Case 1:17-cv-02989-AT Document 821-4 Filed 08/26/20 Page 22 of 175
        Case 1:18 -cv- 05391 -SCJ   Document 239 Filed 02/18/20   Page 16 of 70




payloads into the installers given the opportunity. "20 This implies that attackers

could modify the Dominion installation files to infect election system components

with malicious software.

        37.   Furthermore, the California testers found that the Dominion system's

antivirus protection was insufficient or non -existent. "[O]n the EMS server, the

AVAST Antivirus (AV) File Shield (the real time AV monitor) was only able to

detect and clean one of the four [test] files. This potentially leaves the system open

to zipped and double zipped viruses as well as infection strings in plain text. "21

Moreover, the ICX BMD and ICP optical scanner have no antivirus software at al1.22

As a result, malware that infected the Dominion components could evade antivirus

detection.

        38.   One way that attackers might affect election equipment is by physically

accessing the devices. In the case of the BMD, the California source code reviewers

found a vulnerability that can be exploited with physical access to the USB port that

"would be open to a variety of actors including a voter, a poll worker, an election

official insider, and a vendor insider. "23 This implies that no secret passwords or


20 Id. at 25.
21 Id. at 19 -20.
22
   Id. at 20.
23
   California Secretary of State's Office of Voting Systems Technology
Assessment, "Dominion Voting Systems Democracy Suite 5.10 Staff Report" 29

                                           15
   Case 1:17-cv-02989-AT Document 821-4 Filed 08/26/20 Page 23 of 175
        Case 1:18 -cv- 05391 -SCJ Document 239     Filed 02/18/20   Page 17 of 70




keys would be needed to exploit the problem, given physical access. California

testers also found that "the ICX device does not provide monitoring of physical

security, "24 and that, for all the polling place devices, including the ICX, "[s]ecurity

seals, locks, and security screws can be circumvented. "25

       39.    Other weaknesses found in the California tests include that "a number

of passwords were able to be recovered that were stored in plain text, "26 that the

network switch used to connect EMS clients and servers was "determined to have

twelve medium vulnerabilities and four low vulnerabilities, "27 and that, if an

authentication device used by poll workers and administrators was lost or stolen

shortly before an election, revoking its access would require a logistically difficult

process to reprogram the election files for the polling place devices.28 These

problems indicate that the Dominion system was designed without sufficient

attention to security.




(Aug. 19, 2019),
https : //votingsystems.cdn.sos.ca.gov /vendors /dominion/dvs510staff- report.pdf.
24 California Certification Security and Telecomm Test Report at 11.
25
   Id. at 17.
26
   Id. at 15.
27
   Id. at 30.
28 Id at 15.




                                           16
     Case 1:17-cv-02989-AT Document 821-4 Filed 08/26/20 Page 24 of 175
        Case 1:18 -cv- 05391 -SCJ   Document 239 Filed 02/18/20   Page 18 of 70




        40.   Although California ultimately permitted the Dominion system to be

used, its certification requirements impose much more stringent security conditions

than those in Georgia.29

        41.   Voter registration components. Georgia has used the eNet voter

registration database system for many years. I understand that the state

commissioned a vendor cyber risk assessment of eNet in February 2018. The

assessment encompassed a contract and documentation review, network scans and

reviews of server configurations, and interviews with key personnel at PCC, the

vendor that developed and (at the time) operated eNet. The assessment was limited

in scope and did not include source code review or penetration testing. Even this

limited review identified serious security deficiencies in both the software and

PCC's network environment. In July 2019, the Secretary of State assumed

operational responsibility for eNet, but development and maintenance of the

software continue to be the responsibility of PCC.

       42.    Transferring eNet operations to the Secretary of State's office does not

mitigate the full range of issues that the State's experts identified, and there is no

evidence that the State has taken other steps to address them. Moreover, the 2018


29
  California Secretary of State, "Conditional Approval of Dominion Voting
Systems, Inc. Democracy Suite Version 5.10 Voting System" (Oct. 18, 2019),
https : / /votingsystems.cdn.sos.ca.gov/vendors /dominion/ds510- cert.pdf.

                                           17
   Case 1:17-cv-02989-AT Document 821-4 Filed 08/26/20 Page 25 of 175
       Case 1:18 -cv- 05391 -SCJ   Document 239    Filed 02/18/20 Page 19 of 70




security assessment was of limited scope, and a more thorough assessment,

including a source code review and penetration tests, would be necessary to ensure

that all relevant issues are discovered and corrected.

      43.    The Georgia My Voter Page (MVP) and Online Voter Registration

(OVR) websites that interface with eNet provide another avenue by which attackers

could attempt to infiltrate the voter registration system. Serious vulnerabilities in the

MVP website were discovered on the eve of the November 2018 election and

reported to the Secretary of State. Unauthorized parties could have exploited these

vulnerabilities to access sensitive system configuration files and voter registration

data. This information would have allowed attackers to fraudulently change voters'

registrations through the OVR system. Cursory security testing should have

uncovered the MVP vulnerabilities, and their existence calls into question the overall

security of the MVP and OVR websites.

       44.    Electronic _ poll books. The Poll Pads electronic poll books

communicate with an Internet -based administration system called ePulse. Election

workers use the ePulse website to upload lists of eligible voters for each precinct,

manage Poll Pad devices, and retrieve voter history data after an election. When

polls are open, Poll Pads can be configured in a fully connected mode, in which they

continuously communicate with ePulse over the Internet, or in a peer -to -peer


                                            18
     Case 1:17-cv-02989-AT Document 821-4 Filed 08/26/20 Page 26 of 175
           Case 1:18 -cv- 05391 -SCJ   Document 239 Filed 02/18/20   Page 20 of 70




communication mode, in which they exchange data with other Poll Pads in the

polling place over a Bluetooth or WiFi wireless network.

           45.   Internet access and wireless capabilities expose the Poll Pads to a large

variety of security risks. If attackers are able to infiltrate ePulse, they could remotely

alter voter registration data before it is downloaded by the Poll Pads, or they could

potentially spread malicious software to the Poll Pads. Attackers could also likely

exploit the devices' wireless capabilities to disable Poll Pads during voting.

           46.   To my knowledge, Georgia has not performed any security testing of

the Poll Pad electronic poll books. In contrast, the Secretary of State of California

commissioned source code review30 and penetration testing' of the PollPad in 2018.

Among several significant deficiencies found by California were: (i) cross -site

scripting vulnerabilities and insecure use of HTTP Cookies in the ePulse website,

which could allow attackers to hijack election officials' accounts; (ii) the ability of

the software to delete log files without this action itself being logged, which could




3o
   SLI Compliance, " KNOWiNK PollPad Plus 1.0 Electronic Poll Book System
Source Code Review Test Report for California" (May 6, 2018),
https / /votingsystems.cdn.sos.ca.gov/vendors /knowink /source- code -report.pdf.
       :


3' SLI Compliance, "KNOWiNK PollPad Plus 1.0 Electronic Poll Book System
Security and Telecommunications Test Report for California" (May 11, 2018),
https://votingsystems.cdn.sos.ca.gov/ vendors /knowink/security -report.pdf.

                                               19
     Case 1:17-cv-02989-AT Document 821-4 Filed 08/26/20 Page 27 of 175
          Case 1:18 -cv- 05391 -SCJ Document 239 Filed 02/18/20 Page 21 of 70




help attackers hide evidence of their activities; and (iii) improper programming

structures that apparently created the potential for inadvertent data loss.

          47.   Following these tests, California conditionally certified the Poll Pad

subject to 19 terms and limitations that reflect the findings of the security testing.32

Among the conditions is that Poll Pads may not be connected to smart card encoders,

which ensure that there is no path for an attack to spread from the Poll Pads to BMDs.

          48.   Pennsylvania also evaluated and conditionally certified the Poll Pad in

2018.33 The Pennsylvania certification is subject to 24 conditions and accompanied

by five additional security recommendations. The conditions include that Poll Pads

must not be configured to communicate with ePulse over the Internet during polling,

and that Poll Pads and their removable media must never be connected to other

voting system components, including a prohibition of using the Poll Pads to encode

voter access cards.




32
   California Secretary of State, "Conditional Approval of KnowInk, LLC PollPad
Plus Version 1.0 Electronic Poll Book System" (May 22, 2018),
https / /votingsystems.cdn.sos.ca.gov/vendors /knowink/cert.pdf.
      :

33
   Commonwealth of Pennsylvania Department of State, "Results of KnowInk
Electronic Poll Book Poll Pad 1.3.3 Evaluation" (Oct. 5, 2018),
https: // www.dos.pa.gov/VotingElections / Documents /Voting %20Systems/Knowink
%20PollPag% 201.3.3 /Knowink %20Poll %20Pad %201.3.3 %20Approval %20Repor
t.pdf.

                                           20
     Case 1:17-cv-02989-AT Document 821-4 Filed 08/26/20 Page 28 of 175
        Case 1:18 -cv- 05391 -SCJ   Document 239 Filed 02/18/20    Page 22 of 70




        49.   It is unclear what conditions, if any, Georgia imposes on the use of Poll

Pads. However, I understand that the Poll Pad will be used to encode voter activation

cards that voters use with the Dominion BMDs. California and Pennsylvania both

prohibit this functionality, as it creates a path by which an attack could spread from

the Poll Pads (which have Internet access) to the BMDs.

        50.   Supply chain threats. In addition to the risk that external attackers will

compromise Georgia election system components by exploiting                    software

vulnerabilities, there is also a risk that attackers could infiltrate the software

development process of Dominion, Knowlnk, PCC, or their suppliers. By doing so,

an adversary could steal source code or other secrets in order to more easily attack

the election components. An attacker could also insert vulnerabilities or malicious

functionality into the election system software during development.

        51.   Several critical components of the Dominion systems are designed and

produced overseas. Much of the election software is programmed in Serbia, a

country closely allied with Russia.34 The EMS runs antivirus software made by a

Czech company, which necessitates granting that software highly privileged access



34
  Patrick Thibodeau, "One election -system vendor uses developers in Serbia,"
Computer World (Oct. 5, 2016),
https: //www.computerworld.com/article /3126791 /one- election- system -vendor-
uses -developers -in- serbia.html.

                                            21
   Case 1:17-cv-02989-AT Document 821-4 Filed 08/26/20 Page 29 of 175
        Case 1:18 -cv- 05391 -SCJ   Document 239 Filed 02/18/20   Page 23 of 70




to the EMS server. The ICX BMD runs on an Android -based tablet produced by a

Taiwanese company. A hostile government might attempt to plant an agent at any

of these companies, blackmail honest employees, or hack into the software

development environments. Although multinational supply chains are common in

the technology industry, they represent a heightened threat in election contexts due

to foreign governments' military, diplomatic, and economic interests in U.S. election

outcomes.


Intended Safeguards Provide Insufficient Protection
       52.   I understand that Georgia applies or intends to apply a variety      of

defenses within the election system. However, even when taken together, these

defenses are insufficient to thwart attacks by sophisticated adversaries, such as

hostile governments.

       53.   AuditMark. When the ICP and ICC scanners process a ballot, they

generate a digital image of the ballot. A feature that Dominion calls "AuditMark"

appends to the image a record of the scanner's interpretation of the votes. Election

officials can later review the digital records of each ballot using the EMS.

      54.    Digital ballot images and the AuditMark feature do not secure the

electronic vote records against tampering by malicious software. My own peer-

reviewed research demonstrates how malware running on an optical scanner or EMS


                                          22
     Case 1:17-cv-02989-AT Document 821-4 Filed 08/26/20 Page 30 of 175
        Case 1:18 -cv- 05391 -SCJ   Document 239 Filed 02/18/20   Page 24 of 70




could automatically manipulate digital ballot images to make them appear to support

a different election result.35

        55.   For ballots that are marked by hand, malware can employ computer

vision techniques to manipulate ballot images while preserving the voter's original

marking style, so that the manipulated marks appear consistent with other marks on

the ballot. Manipulation is even more straightforward when ballots are marked by a

BMD, since the BMD prints all marks in a consistent style.

        56.   In either case, the tampering would not be detected by the election

software and would be not be apparent to a human operator reviewing the ballot

images and AuditMark data. The figure below shows an example of a Dominion -

style ballot image that has been manipulated using the algorithm from our research:




35
  Matthew Bernhard, Kartikeya Kandula, Jeremy Wink, and J. Alex Halderman,
"UnclearBallot: Automated Ballot Image Manipulation" in Proceedings of the
Fourth International Joint Conference on Electronic Voting (Oct. 2019),
https ://j halderm.com/pub/papers/unclear-evoteid19.pdf.

                                           23
  Case 1:17-cv-02989-AT Document 821-4 Filed 08/26/20 Page 31 of 175
      Case 1:18 -cv- 05391 -SCJ      Document 239                 Filed 02/18/20   Page 25 of 70




                          Original                                    Manipulated

       County                                       County

       Supervisor, District   1                     Supervisor, District    1




                                     Vote for One                                    Vote for One

       Alfred Hitchcock                     A       Alfred Hitchcock                         O
       Vincent Price                         O       Vincent Price

        Write In                             O       Write   In



         tate                                       State

       Governor                                     ¡Governor

                                     Vote for One                                    Vote for One

       Amelia Earhart                        O      Amelia Earhart

       Howard Hughes                        Yg      Howard Hughes                            O
       Charles Lindbergh                     O      Charles Lindbergh                        O
        Write In                             O       Write In                                O
            Left: Image of original Dominion -style voter -marked ballot.

     Right: Image manipulated by malware to show fraudulent selections.

      57.       Hash comparisons. I understand that Georgia may employ a method

know an "hash comparison" to attempt to confirm that the correct software is

installed on the EMS and polling place equipment. A "hash value" is a short numeric

code that is calculated based on the contents of a file. The calculation method is

designed so that it is difficult to figure out a way to modify the file without resulting

in a different hash value. Officials might attempt to detect malware by comparing



                                                    24
      Case 1:17-cv-02989-AT Document 821-4 Filed 08/26/20 Page 32 of 175
         Case 1:18 -cv- 05391 -SCJ   Document 239 Filed 02/18/20   Page 26 of 70




                                                                               hash
the hash values of the software running in the election system to "known good"
                                                                              attacker.
values calculated from a copy of the software that has not been altered by an

         58.    In response to Dominion's proposal for the election system, Georgia

                                                                          during
requested additional details about how a hash comparison can be performed
                                                                             and
initial acceptance testing of the equipment, during pre- election processes,
                                                                   a hash
immediately following an election. Dominion's responses36 describe

comparison process that cannot reliably detect malicious changes to the machines.

         59.    There are separate comparison procedures for the EMS, ICX, ICP, and
                                                                                for
ICC. In each case, software on the equipment being tested is either responsible
                                                                            to
calculating the hash value or for copying the files that are to be compared
                                                                      malware
removable media. If the equipment has been infected with malware, the
                                                                             system,
could cause the machines to falsely compute the hash values of an uninfected
                                                                   while actually
or it could copy the original program files to the removable media

running a modified version of the files.

          60.   Furthermore, the hash comparisons described by Dominion for the
                                                                            the
 cover only some of the software running on the devices. They fail to check
                                                                          systems,
 integrity of critical software such as the Windows and Android operating
                                                                      These
 as well as other programs and data files that could contain malware.


 36
      DOM -000143 -49, 170 -74, 210 -11, and 239 -42.

                                              25
     Case 1:17-cv-02989-AT Document 821-4 Filed 08/26/20 Page 33 of 175
          Case 1:18 -cv- 05391 -SCJ   Document 239   Filed 02/18/20   Page 27 of 70




 deficiencies provide multiple ways for a sophisticated attacker to conceal the

 presence of malware on the voting equipment even if officials practiced hash

 comparisons according to Dominion's instructions.

          61.   Antivirus software. As I have already described, California's security

tests found that the antivirus software used on the Dominion EMS server was unable

to detect some forms of malware, and that the ICP and ICX devices have no antivirus

protection at all. In general, antivirus software and end -point protection software

provide only a limited defense against sophisticated attackers like nation -states.

          62.   Physical security. I understand that one safeguard used in Georgia is

tamper-evident seals. These seals are designed to indicate whether someone has

opened the chassis of an optical scanner or BMD or accessed protected data ports or

switches. Tamper evident seals do not protect against remote electronic attackers,

and they provide only weak protection against attackers with physical access. The

types of seals typically used for voting equipment can be bypassed without detection

using readily available tools.37 For some seals, these tools include screwdrivers and

hair dryers. By bypassing the seals, an attacker with physical access to the polling

place equipment can modify their internal programming and add malicious software.


J7 Andrew W. Appel, "Security Seals on Voting Machines: A Case Study," in ACM

                                /
Transactions on Information and System Security (2011),
https / /www.cs.princeton.edu appel/voting /SealsOnVotingMachines.pdf.
      :




                                            26
   Case 1:17-cv-02989-AT Document 821-4 Filed 08/26/20 Page 34 of 175
        Case 1:18 -cv- 05391 -SCJ Document 239      Filed 02/18/20   Page 28 of 70




       63.    Logic and accuracy testing. I understand that Georgia employs so-

called "logic and accuracy" (L &A) testing. In L &A testing, officials cast a small

number of ballots with known selections, then check whether the system's output

reflects the correct votes. L &A testing is designed to detect errors in the ballot design

or counting logic. It provides little or no benefit against deliberate attacks.

       64.   Much as Volkswagen's emission systems were designed to detect that

they were being tested by the EPA and to only cheat while not under test, malware

that has infected an optical scanner or BMD can be programmed to detect and

circumvent L&A testing. For example, malware can be programmed to check the

machine's clock and cheat only in the middle of election day, so that testing

performed at an earlier or later time would show nothing amiss. Malware can also

be programmed to cheat only after hundreds of ballots have been cast, so that more

limited testing would not detect the fraud.

      65.    Parallel testing. I understand that Georgia has in the past employed a

testing technique known as "parallel testing ", and that the state might use this

technique in the future to check whether BMDs correctly print voters' choices. In

BMD parallel testing, poll workers periodically print test ballots during the election

and confirm that the printouts match their selections.




                                           27
     Case 1:17-cv-02989-AT Document 821-4 Filed 08/26/20 Page 35 of 175
        Case 1:18 -cv- 05391 -SCJ   Document 239 Filed 02/18/20     Page 29 of 70




        66.    Parallel testing cannot reliably determine that a BMD is working

 correctly. An attacker could program the BMD to modify the voter's selections on

 only certain printouts, and the selection could depend on a very large number of

 variables, including the time of day, the number of ballots cast, the voter's ballot

 selections, and whether the voter used options such as a large font size or an audio

 ballot. It is impossible for any practical amount of testing to examine all sets of

 conditions under which attackers might choose to cheat.38

        67.   In any event, investigation that occurs during the election is no help if

 the attacker's intention is to sabotage the voting process, such as by disabling the

 BMDs entirely. I am aware that Georgia's contingency plans call for having voters

 mark ballots by hand if BMDs are unavailable. However, an attacker might cause all

BMDs to fail simultaneously over a large geographic area. To my knowledge, the

 state does not maintain sufficient quantities of pre -printed ballots to allow voting to

continue under such a circumstance.

       68.    Post -election audits. Officials could potentially detect certain kinds of

attacks by conducting a rigorous post- election audit of the paper ballots. For an audit

to reliably detect vote -changing attacks, several requirements must be met. Among



38
 Philip B. Stark, "There is no Reliable Way to Detect Hacked Ballot- Marking
Devices" (2019), https://www.stat.berkeley.edui-stark/Preprintsibmd-p19.pdf.

                                           28
     Case 1:17-cv-02989-AT Document 821-4 Filed 08/26/20 Page 36 of 175
        Case 1:18 -cv- 05391 -SCJ   Document 239 Filed 02/18/20      Page 30 of 70




them are: (i) the paper ballots being audited must correctly reflect voters' selections,

(ii) the audit needs to be conducted manually, by having people inspect the ballots;

(iii) the auditors need to inspect sufficiently many ballots to ensure that the

probability that outcome-changing fraud could go undetected is low. In general, the

closer the election result, the more ballots need to be audited in order to rule out fraud.

Audits that limit the risk that outcome changing fraud will go undetected to no more

than a pre -defined limit are called "risk- limiting audits" (RLAs).39

       69.   I understand that Georgia statute requires a state -wide post -election

audit to be conducted no later than the November 2020 election.40 However, that audit

is not required to be risk -limiting. As a result,   if there are close races in which an

attacker changes the outcome by hacking the election equipment, there is a high

probability that the audit would fail to uncover the attack.

       70.   Although some Georgia counties recently conducted small -scale audit

pilots using risk -limiting techniques,41 these audits achieved a low risk-limit only in



39
   Mark Lindeman and Philip B. Stark, "A Gentle Introduction to Risk -limiting
Audits," in IEEE Security and Privacy (2012),
https://www.stat.berkeley.edu/-stark/Preprints/gentle12.pdf.
4o
   See O.C.G.A. § 21- 2- 498(b).
41
   Georgia Secretary of State's Office, "Risk- Limiting Audit Concludes Paper-
Ballot System Accurate," (https: / /sos.ga.gov/index.php /elections /risk-
limiting audit concludes paper-ballot system accurate (last visited Feb. 17,
2020).

                                            29
   Case 1:17-cv-02989-AT Document 821-4 Filed 08/26/20 Page 37 of 175
        Case 1:18 -cv- 05391 -SCJ Document 239 Filed 02/18/20       Page 31 of 70




specific local races. An attacker could choose to target any race in any election, and

an attack would likely not be detected in an RLA if it occurred in a race for which

the RLA had a high effective risk -limit. To my knowledge, the Georgia Secretary of

State has not announced plans to perform an RLA of any state -wide race.

       71.    No matter what auditing procedures Georgia applies, the state's

widespread use of BMDs makes it possible for an attacker to undermine the integrity

of the paper trail. Malware could cause the BMDs to print fraudulent selections, both

in the barcode and the human -readable text. Such an attack would be impossible to

detect by auditing the ballots, even with an RLA, because all records of the voter's

intent would be wrong.


BMDs Create Additional Risks
       72.    The ICX BMDs are computers, they run outdated and vulnerable

software, and they must be programmed using the State's election management

system before every election. Attackers could potentially infect Georgia's BMDs

with malware in several ways, including by spreading it from the election

management system (EMS).

       73.   An attacker who infected the BMDs with malware could change the

printed ballots. On a fraction of the ballots, the attacker could cause the human -

readable text, the barcode, or both to reflect fraudulent choices rather than the voter's


                                           30
   Case 1:17-cv-02989-AT Document 821-4 Filed 08/26/20 Page 38 of 175
       Case 1:18 -cv- 05391 -SCJ   Document 239 Filed 02/18/20    Page 32 of 70




selections. I will discuss two kinds of such misprinting attacks: attacks that change

only the barcode and attacks that change both the barcode and the text.

       74.    Misprinting only the barcode. One kind of misprinting attack        is a

barcode -only attack. In this attack, malware would change a fraction of the BMD

printouts so that they correctly showed the voter's selections in the human -readable

text but encoded a different, fraudulent set of selections in the barcode.

       75.   If an attacker changes only the barcode,     it would be impossible for

voters to detect the fraud. Voters cannot read the barcodes, so there is no practical

way for them to verify that the barcodes match their intended selections. Moreover,

when scanning BMD ballots, the optical scanners count only the votes encoded in

the barcodes and ignore the text entirely. This means that voters cannot verify the

portion of their ballots that gets counted.

      76.    Officials could potentially detect a mismatch between the barcodes and

the ballot text using a sufficiently rigorous post- election audit. However, to my

knowledge, Georgia has not announced plans to perform any kind of audit that would

compare the barcodes and the printed text, nor what specific measures would be

taken to render any potential audit sufficiently comprehensive and reliable.

      77.    Misprinting both the barcode and the text. Malware could also cause

the BMDs to print fraudulent selections in both the barcode and the human -readable


                                              31
   Case 1:17-cv-02989-AT Document 821-4 Filed 08/26/20 Page 39 of 175
       Case 1:18 -cv- 05391 -SCJ   Document 239   Filed 02/18/20   Page 33 of 70




text. This attack would be impossible to detect by auditing the ballots, even with an

RLA, because all records of the voter's intent would be wrong. Pre -election testing

and parallel testing also cannot reliably detect such cheating. The only practical way

to discover the attack would be if enough voters reviewed their ballots, noticed the

errors, and alerted election officials.

       78.   Even if some voters did notice that their ballots were misprinted, the

voters would have no way to prove that the BMDs were at fault. From an election

official's perspective, the voters who reported problems might be mistaken or lying.

Many voters would need to report that the BMDs misprinted their ballots before

officials could be sure there was a systemic problem. Even then, there are no

protocols or policies in Georgia that I have found that address how many voter

complaints or other conditions involving BMDs would be required to support a

finding-or even a robust investigation    -of a systemic problem.
      79.    If officials did suspect that the BMDs had been attacked, there would

be no straightforward way to respond or recover. The only recourse might be to rerun

the election, which could be statewide involving millions of voters across Georgia.

      80.    Voter verification provides insufficient protection. Research shows

that most voters do not review their BMD printouts, and that voters will likely fail




                                           32
     Case 1:17-cv-02989-AT Document 821-4 Filed 08/26/20 Page 40 of 175
        Case 1:18 -cv- 05391 -SCJ Document 239 Filed 02/18/20 Page 34 of 70




to detect a large majority of errors caused by a BMD attack. This means that a BMD

paper trail is not a reliable record of the votes expressed by the voters.

        81.   In one study, researchers observed voters in two polling places during

an election in Sevier County, Tennessee, which uses BMDs similar to Georgia's.42

Nearly half of voters did not review the BMD printout at all, and those who did

review it spent an average of only 4 seconds doing so. This suggests that voters are

likely to detect at most about half of misprinted ballots, and possibly far fewer.

        82.   A second study, conducted by my research group at the University of

Michigan, measured the rate at which voters detected errors during a realistic

simulated election.43 The voters used BMDs that my research assistants and I hacked

so that one selection on each printout was wrong. We recorded how many

participants reviewed their ballots and how many noticed the error and reported it to

a poll worker. The study was peer reviewed and published at the IEEE Symposium

on Security and Privacy in January 2020.



42
   Richard DeMillo, Robert Kadel, and Marilyn Marks, "What Voters are Asked to
Verify Affects Ballot Verification: A Quantitative Analysis of Voters' Memories
of Their Ballots" (Nov. 23, 2018), https: //ssrn.com/abstract=3292208.
43
   Matthew Bernhard, Allison McDonald, Henry Meng, Jensen Hwa, Nakul Bajaj,
Kevin Chang, and J. Alex Halderman, "Can Voters Detect Malicious Manipulation
of Ballot Marking Devices ?" in Proceedings of the 41st IEEE Symposium on
Security and Privacy (2020), https: / /jhalderm.com/pub /papers /bmd- verifiability-
sp20.pdf.

                                          33
   Case 1:17-cv-02989-AT Document 821-4 Filed 08/26/20 Page 41 of 175
       Case 1:18 -cv- 05391 -SCJ   Document 239 Filed 02/18/20    Page 35 of 70




       83.   In the first part of the study, subjects were not prompted to review their

ballots in any way. Under that condition, 60% of voters failed to review their ballots,

and voters only reported 6.6% of errors. Considering only prominent "top of the

ticket" races, voters reported only 14% of errors. These results imply that for every

voter who notices that their ballot is misprinted and corrects it, there will likely be

many more voters who fail to notice and have their votes stolen by the attacker.

      84.    In the second part of the study, we tested procedural changes to see

whether they improved verification. Signage instructing voters to verify their ballots

(as required in Georgia) did not increase error reporting. Other changes did help, but

only to a limited extent. For example, when a poll worker verbally prompted the

voter to review the ballot after it was printed, voters reported 15%   of errors. In my

opinion, it is unlikely that any purely procedural changes can enhance voters' error

detection rates sufficiently to stop outcome- changing fraud in close elections when

BMDs are used by all in-person voters.

      85.    My coauthors and I provide a mathematical model for estimating how

many voters will report problems if BMDs are attacked in a way that changes an

election outcome. The model illustrates how weak a defense voter verification

provides when all in-person voters use BMDs.




                                          34
   Case 1:17-cv-02989-AT Document 821-4 Filed 08/26/20 Page 42 of 175
       Case 1:18 -cv-05391 -SCJ   Document 239     Filed 02/18/20   Page 36 of 70




       86.    Suppose there is a close election with an apparent margin of victory of

 1% in favor of candidate A.   If there had been no cheating, the result would have

been a one -vote victory for candidate B, but an attacker hacked the BMDs so that

they misprinted a small fraction of the ballots. If voters report 14% of misprinted

ballots (the rate my study found for top -of-the- ticket contests), then only about   1   in

1200 BMD voters will report a problem- roughly one per precinct-even though

the election outcome is wrong due to fraud. This is likely far too few complaints to

alert officials or the public that there was a major, outcome - determinative problem.

       87.   Election officials are unlikely to take disruptive actions, like a

protracted and expensive forensic investigation or ordering a new election, unless a

much larger fraction of BMD voters report problems. Suppose officials would

launch an investigation if more than 1% of BMD voters reported a problem. Under

the scenario above, this condition would only be met if voters verified their ballots

so carefully that they reported 67% of errors. This is ten times greater than the rate

of error reporting my group observed in our study.

Georgia's Voting System was Vulnerable to Cyberattacks in 2018
      88.    Plaintiffs have asked me to opine on the security of Georgia's election

system as it was used in 2018. From 2002 until the end of 2019, Georgia's primary

polling place voting equipment was Diebold AccuVote TS and TSX direct -recording


                                          35
     Case 1:17-cv-02989-AT Document 821-4 Filed 08/26/20 Page 43 of 175
       Case 1:18 -cv- 05391 -SCJ   Document 239   Filed 02/18/20   Page 37 of 70




electronic (DRE) voting machines. Georgia's DREs were "paperless," in that they

did not create any kind of voter -verifiable paper record of individual votes. There
                                                                                     is


a broad scientific consensus that paperless DREs do not provide adequate security

against cyberattacks.44 Moreover, Georgia's DREs and election management

systems used outdated software with widely documented vulnerabilities. In my

opinion, Georgia's paperless DRE system was highly susceptible to cyberattacks

that could change votes, erase votes, or cast extra votes.

        89.   The AccuVote TS and TSX are probably the most well- studied by

security researchers of any voting machines in the world. Over the past 17 years, I,

and other experts have repeatedly documented serious security problems with these

machines and their election management system, as part of peer- reviewed and state -

sponsored research studies. The vulnerabilities that affected Georgia's DRE system

include numerous hardware and software security flaws, as well as architectural

weaknesses. In tests, I have demonstrated that, in just a few seconds, anyone can

install vote -stealing malware on these machines that will alter all records of every

vote.'

44
   National Academies of Sciences, Engineering, and Medicine, Securing the Vote:
Protecting American Democracy (2018), http: / /nap.edu/25120.
45
   Ariel J. Feldman, J. Alex Halderman & Edward W. Felten, Security Analysis of
the Diebold AccuVote-TS Voting Machine, Princeton University (2006),
http: / /usenix.org /events /evt07 /tech /full papers /feldman /feldman.pdf.

                                           36
   Case 1:17-cv-02989-AT Document 821-4 Filed 08/26/20 Page 44 of 175
        Case 1:18 -cv- 05391 -SCJ   Document 239      Filed 02/18/20   Page 38 of 70




       90.    In a 2006 study, collaborators and I demonstrated the vulnerabilities of

the AccuVote TS by developing malware that could infect the machines and steal

votes. The malware we created modifies all the vote records, audit logs, and

protective counters stored by the machine, so that even careful forensic examination

of the files would find nothing amiss. The malware was programmed to inspect each

ballot as it was cast and modify the minimum number of votes necessary to ensure

that the attacker's favored candidate always had at least a certain percentage of the

vote total.

       91.    We also developed     a   voting machine virus that could spread the vote -

stealing malware automatically from machine to machine during normal pre- and

post -election activities. The virus propagated via the removable memory cards that

election workers use to program the ballot design before every election and to

offload election results. By exploiting vulnerabilities in the AccuVote software,      an


infected memory card can spread the voting machine virus to the machine. Once

installed, the virus can copy itself to every memory card inserted into the infected

machine. If those cards are inserted into other machines, they too will become

infected.




                                             37
     Case 1:17-cv-02989-AT Document 821-4 Filed 08/26/20 Page 45 of 175
        Case 1:18 -cv- 05391 -SCJ    Document 239 Filed 02/18/20 Page 39 of 70




       92.    In 2007, the Secretary of State of California organized a comprehensive

election security examination, the California Top -to -Bottom Review (TTBR46),

which examined systems including the AccuVote TSX. I was part of a team of six

experts who spent approximately 30 days examining the source code to the

AccuVote system. Also in 2007, the Secretary of State of Ohio conducted a similar

security study and source code review (Project EVEREST47), which also covered

the AccuVote TSX system.

        93.   Both     studies      found   additional,   extremely   serious   security

vulnerabilities. The TTBR report documents 24 serious security issues in the

AccuVote TSX. These include software flaws, including buffer -overflow

vulnerabilities, that attackers could exploit to install malicious software on the voting

machines and on the election management back-end systems used to design and

tabulate ballots. These flaws could be exploited to spread a vote -stealing virus that

would propagate even more efficiently and be more difficult to detect than the virus

developed in my 2006 study.



46
   California Secretary of State, Top -to- Bottom Review of Electronic Voting
Systems (2007), https://www.sos.ca.gov / elections /ovsta/frequently- requested-
information/top-bottom -review/.
47
   Ohio Secretary of State, EVEREST: Evaluation and Validation of Election -
Related Equipment, Standards and Testing (Dec. 7, 2007),
http: / /www.patrickmcdaniel.org/pubs /everest.pdf.

                                              38
   Case 1:17-cv-02989-AT Document 821-4 Filed 08/26/20 Page 46 of 175
      Case 1:18 -cv- 05391 -SCJ   Document 239    Filed 02/18/20   Page 40 of 70




      94.    The software that performed election functions on the AccuVote TS

and TSX is called BallotStation. I understand that the machines used in Georgia used

BallotStation version 4.5.2, which was developed in 2005, and that Georgia did not

ever update the BallotStation software to a newer version, even though newer

versions were available. This software predates the California and Ohio studies,

which examined version 4.6 in 2007. In my opinion, the serious vulnerabilities

discovered in these studies almost certainly remained uncorrected in the software

used on Georgia's voting machines through the end of 2019.

      95.    The election management system that was used with the AccuVote

DREs is called the Global Election Management Environment                   ( "GEMS ").


Vulnerabilities in GEMS and BallotStation make it possible for an attacker who

infiltrates a GEMS installation or its data files to spread vote -stealing maiware to all

voting machines that are programmed from that installation.

       96.   I understand      that, for the November 2018           election, Georgia

programmed its DREs as follows. Individuals working as third -party contractors for

the Secretary of State prepared the initial ballot programming files for every Georgia

county. To do so, they used copies of GEMS installed on computers in their homes,

outside the physically secured environment of the Secretary of State's office. Once

an initial version of the programming for a county had been completed, it was copied


                                           39
     Case 1:17-cv-02989-AT Document 821-4 Filed 08/26/20 Page 47 of 175
         Case 1:18 -cv- 05391 -SCJ         Document 239      Filed 02/18/20   Page 41 of 70




 to a USB drive and delivered to Michael Barnes, Director of the Center for Election

 Systems, at the Secretary of State's office. Barnes used his Internet - connected

 computer to inspect the files. He then transferred them into the State's central GEMS

 server environment on another USB drive.48

        97.    As a consequence of this workflow, ballot programming files for every

 county passed through an Internet -connected computer. In my opinion, attackers

could have exploited this weakness to spread malware to the GEMS servers, and,

ultimately, to DREs across the state.

        98.    I   understand that, after workers at the SOS office finalized the ballot

programming files, they delivered them to each county on a CD. Each county

maintained its own GEMS server, to which workers copied files from the CD.

Workers then used the county GEMS server to prepare memory cards for each DRE

within the county.

       99.     In my opinion, an attacker who infiltrated the SOS GEMS system could

have spread malware to the county GEMS servers by infecting the CDs used to

distribute the files. Similarly, an attacker who infiltrated a county GEMS system




48Order at 28 -31, Curling   v.   Raffensperger, No. 1:17 -cv- 2989-AT (N.D. Ga. Aug. 15, 2019),
ECF No. 579.


                                                   40
  Case 1:17-cv-02989-AT Document 821-4 Filed 08/26/20 Page 48 of 175
      Case 1:18 -cv- 05391 -SCJ   Document 239   Filed 02/18/20   Page 42 of 70




could have spread vote -stealing malware to all DREs in the county by infecting the

memory cards.

      100.   I am familiar with several countermeasures that the Georgia election

system employed in 2018. These include parallel testing, logic and accuracy testing,

anti-virus and end -point protection, tamper- evident seals, and network isolation of

GEMS servers from the Internet. In my opinion, Georgia's election security

countermeasures were inadequate to stop a sophisticated attacker, such as a hostile

nation state, from infiltrating the election system, spreading malware to voting

machines, and altering election outcomes.

      101. In principle, it might be possible to detect whether Georgia's election

system was infiltrated by attackers by conducting detailed digital forensics of the

election equipment. As far as I can tell, nobody has ever performed a forensic

examination of even a single Georgia DRE or GEMS server.




                                        41
   Case 1:17-cv-02989-AT Document 821-4 Filed 08/26/20 Page 49 of 175
      Case 1:18 -cv- 05391 -SCJ    Document 239 Filed 02/18/20   Page 43 of 70




      I declare under penalty     of the perjury laws of the State of Georgia and the

United States that the foregoing is true and correct, and that this declaration was

executed this 18th day of February, 2020 in Philadelphia, Pennsylvania.




                                         J. ALEX HALDERMAN




                                           42
Case 1:17-cv-02989-AT Document 821-4 Filed 08/26/20 Page 50 of 175
   Case 1:18 -cv- 05391 -SCJ   Document 239   Filed 02/18/20   Page 44 of 70




                           EXHIBIT A
   Case 1:17-cv-02989-AT Document 821-4 Filed 08/26/20 Page 51 of 175
           Case 1:18 -cv- 05391 -SCJ        Document 239             Filed 02/18/20 Page 45 of 70




J. Alex          Halderman                                                                 226o Hayward Street
                                                                                         Ann Arbor, MI 48109 USA
Professor, Computer Science and Engineering                                             (office) +1 734 64718°6
University of Michigan                                                                jhalderm @eecs.umich.edu
February 17, 2020                                                                   J. Alex Halderman.com

Research Overview
    My research focuses on computer security and privacy, with an emphasis on problems that
    broadly impact society and public policy. Topics that interest me include software security,
    network security, data privacy, anonymity, surveillance, election cybersecurity, censorship
    resistance, computer forensics, ethics, and cybercrime. I'm also interested in the interaction of
    technology with politics and international affairs.
    Selected Projects
    '19:   Leading Michigan Election Security Taskforce    '12: Widespread weak keys in network devices
    '18:   Commercial launch of Censys, Inc.               '11: Anticensorship in the network infrastructure
    '17:   Testimony to U.S. Senate Russia investigation   'io: Hacking Washington D.C.'s Internet voting
    '17:   Weaknesses in TLS interception middleboxes      'io: Vulnerabilities in India's e-voting machines
    '16:   U.S. presidential election recounts             'io: Reshaping developers' security incentives
    '16:   Let's Encrypt HTTPS certificate authority        'o9:   Analysis of China's Green Dam censorware
    '16:   DROWN: Attacking TLS with SSLv2                  '09:   Fingerprinting paper with desktop scanners
    '15:   Weak Diffie- Hellman and the Logjam attack       'o8:   Cold -boot attacks on encryption keys
   '14:    Understanding Heartbleed's aftermath            '07:    California's "top -to-bottom" e-voting review
   '14:    Security problems in full -body scanners        'o7:    Machine -assisted election auditing
   '14:    Analysis of Estonia's Internet voting system    'o6:    The Sony rootkit: DRM's harmful side effects
   '13:    ZMap Internet -wide network scanner             '03:    Analysis of MediaMax "shift key" DRM

Positions
 - University of Michigan, Ann Arbor, MI
   Department of Electrical Engineering and Computer Science,
   Computer Science and Engineering Division
   Professor ... (2016- present)
   Associate Professor ... (2015 -2016)
   Assistant Professor ... (2009 -2015)
   Director, Center for Computer Security and Society (2014- present)
 - Censys; Co- founder and Chief Scientist (2017-present)
 - ISRG; Co- founder and Board Member (2013- present)
Education
 - Ph.D. in Computer Science, Princeton University, June 2009
   Advisor: Ed Felten        Committee: Andrew Appel, Adam Finkelstein, Brian Kernighan, Avi Rubin
   Thesis: Investigating Security Failures and their Causes: An Analytic Approach to Computer Security
 - A.B. in Computer Science, summa cum laude, Princeton University, June 2003

                                                                                                                   1
    Case 1:17-cv-02989-AT Document 821-4 Filed 08/26/20 Page 52 of 175
         Case 1:18 -cv- 05391 -SCJ          Document 239        Filed 02/18/20       Page 46 of 70




Honors and Awards
- President's Award for National and State Leadership, University of Michigan (2020)
-   Andrew Carnegie Fellowship (2019)
-   Merit Network's Eric Aupperle Innovation Award (201 7)
    ("named for Merit's first president, recognizes individuals that enhance their work by using networking
    and related technologies in exciting ways ")
-   Pwnie Award in the category of "Best Cryptographic Attack"
    for "DROWN: Breaking TLS using SSLv2," Black Hat 2016
-   Finalist for 2016 Facebook Internet Defense Prize
    for "DROWN: Breaking TLS using SSLv2"
-   Named one of Popular Science's "Brilliant      1o" (2015) ( "each year        Popular Science   honors the
    brightest young minds reshaping science, engineering, and the world ")
-   Best Paper Award of the 22nd ACM Conference on Computer and Communications Security
    for "Imperfect Forward Secrecy: How Diffie- Hellman Fails in Practice" (2015)
-   Pwnie Award in the category of "Most Innovative Research"
    for "Imperfect Forward Secrecy: How Diffie- Hellman Fails in Practice," Black Hat               2015
-   IRTF Applied Networking Research Prize for "Neither Snow Nor Rain Nor MITM... An Empiri-
    cal Analysis of Email Delivery Security" (2015)
- Alfred P. Sloan Research Fellowship (2015)
    University of Michigan College of Engineering 1938 E Award (2015) ( "recognizes an outstanding
    teacher in both elementary and advanced courses, an understanding counselor of students who seek
    guidance in their choice of a career, a contributor to the educational growth of the College, and a teacher
    whose scholarly integrity pervades his /her service and the profession of Engineering ")
-   Morris Wellman Faculty Development Assistant Professorship (2015)
    ( "awarded to a junior faculty member to recognize outstanding contributions to teaching and research")


-   Best Paper Award of the 14th ACM Internet Measurement Conference
    for "The Matter of Heartbleed" (2014)
-   Best Paper Award of the 21st USENIX Security Symposium
    for "Mining Your Ps and Qs: Detection of Widespread Weak Keys in Network Devices"                      (2012)

-   Runner-up for 2012 PET Award for Outstanding Research in Privacy Enhancing Technologies
    for "Telex: Anticensorship in the Network Infrastructure" (2012)
-   John Gideon Memorial Award from the Election Verification Network
    for contributions to election verification (2011)
-   Best Student Paper of the 17th USENIX Security Symposium
    for "Lest We Remember: Cold Boot Attacks on Encryption Keys" (2008)
- Pwnie Award in the category of "Most Innovative Research"
    for "Lest We Remember: Cold Boot Attacks on Encryption Keys," Black Hat 2008


                                                                                                                2
      Case 1:17-cv-02989-AT Document 821-4 Filed 08/26/20 Page 53 of 175
            Case 1:18 -cv- 05391 -SCJ     Document 239 Filed 02/18/20           Page 47 of 70




  -   Charlotte Elizabeth Procter Honorific Fellowship, Princeton University (2007)
      ("awarded in recognition of outstanding performance and professional promise, and represents high
      commendation from the Graduate School ")
 -    National Science Foundation Graduate Research Fellowship (2004 -2007)
 -    Best Paper Award of the 8th International Conference on 3D Web Technology
      for "Early Experiences with a 3D Model Search Engine" (2003)
 -    Princeton Computer Science Department Senior Award (2003)
 -    Accenture Prize in Computer Science, Princeton University (2002)
 -    Martin A. Dale Summer Award, Princeton University (2000)
 -    USA Computing Olympiad National Finalist (1996 and 1997)


Refereed Conference Publications
[1]   Can Voters Detect Malicious Manipulation of Ballot Marking Devices?
      Matthew Bernhard, Allison McDonald, Henry Meng, Jensen Hwa, Nakul Bajaj, Kevin Chang,
      and J. A. Halderman
      To appear in 41st IEEE Symposium on Security and Privacy ( "Oakland "), May 2020.

[2] Let's   Encrypt: An Automated Certificate Authority to Encrypt the Entire Web
      Josh Aas, Richard Barnes, Benton Case, Zakir Durumeric, Peter Eckersley, Alan Flores -López,
      J. A. Halderman, Jacob Hoffman-Andrews, James Kasten, Eric Rescorla, Seth Schoen, and Brad
      Warren
      26th ACM Conference on Computer and Communications Security (CCS), Nov. 2019.
      Acceptance rate: 16 %, 117 /722.
[3]   Conjure: Summoning Proxies from Unused Address Space
      Sergey Frolov, Jack Wampler, Sze Chuen Tan, J. A. Halderman, Nikita Borisov, and Eric Wustrow
      26th ACM Conference on Computer and Communications Security (CCS), Nov. 2019.
      Acceptance rate: 16 %, 117 /722.
[4]   UnclearBallot: Automated Ballot Image Manipulation
      Matthew Bernhard, Kartikeya Kandula, Jeremy Wink, and J. A. Halderman
      Proc. 4th International Joint Conference on Electronic Voting (E Vote -ID), October 2019.
      Acceptance rate: 29 %, 13/45.
[5] On   the Usability of HTTPS Deployment
      Matthew Bernhard, Jonathan Sharman, Claudia Ziegler Acemyan, Philip Kortum, Dan                S.
      Wallach, and J. A. Halderman
      Proc. ACM Conference on Human Factors in Computing Systems (CHI), May 2019.
      Acceptance rate: 24 %, 705/2958.




                                                                                                     3
       Case 1:17-cv-02989-AT Document 821-4 Filed 08/26/20 Page 54 of 175
          Case 1:18 -cv- 05391 -SCJ   Document 239      Filed 02/18/20 Page 48 of 70




 [6] 403 Forbidden: A Global View of Geoblocking
     Allison McDonald, Matthew Bernhard, Benjamin VanderSloot, Will Scott, J. A. Halderman, and
     Roya Ensafi
     Proc. 18th ACM Internet Measurement Conference (IMC), October 2018.
     Acceptance rate: 24 %, 43/174.
 [7] Quack: Scalable Remote Measurement of Application -Layer Censorship
     Benjamin VanderSloot, Allison McDonald, Will Scott, J. A. Halderman, and Roya Ensafi
     Proc. 27th USENIX Security Symposium, August 2018.
     Acceptance rate: 19 %, 100/524.
 [8] Tracking Certificate Misissuance in the Wild
     Deepak Kumar, Zhengping Wang, Matthew Hyder, Joseph Dickinson, Gabrielle Beck, David
     Adrian, Joshua Mason, Zakir Durumeric, J. A. Halderman, and Michael Bailey
     Proc. 39th IEEE Symposium on Security and Privacy ( "Oakland "), May 2018.
     Acceptance rate: 11 %, 63/549.
 [9]   Initial Measurements of the Cuban Street Network
     Eduardo Pujol, Will Scott, Eric Wustrow, and J. A. Halderman
     Proc. 17th ACM Internet Measurement Conference (IMC), London, November 2017.
     Acceptance rate: 23 %, 42/179.
[10] Public Evidence from Secret Ballots
     Matthew Bernhard, Josh Benaloh, J. A. Halderman, Ronald L. Rivest, Peter Y. A. Ryan, Philip B.
      Stark, Vanessa Teague, Poorvi L. Vora, and Dan S. Wallach
      Proc. 2nd International Joint Conference on Electronic Voting (E Vote -ID), Bregenz, Austria,
      October 2017.
[11] Understanding the Mirai Botnet
      Manos Antonakakis, Tim April, Michael Bailey, Matt Bernhard, Elie Bursztein, Jaime Cochran,
      Zakir Durumeric, J. A. Halderman, Luca Invernizzi, Michalis Kallitsis, Deepak Kumar, Chaz
      Lever, Zane Ma, Joshua Mason, Damian Menscher, Chad Seaman, Nick Sullivan, Kurt Thomas,
      and Yi Zhou
      Proc. 26th USENIX Security Symposium, Vancouver, BC, August 2017.
      Acceptance rate: 16 %, 85/522.
 [12] Security Challenges in an Increasingly Tangled Web
      Deepak Kumar, Zane Ma, Zakir Durumeric, Ariana Minim, Joshua Mason, J. A. Halderman,
      and Michael Bailey
      Proc. 26th World Wide Web Conference (WWW), April 2017.
      Acceptance rate: 17 %, 164/966.
[13] The Security   Impact of HTTPS Interception
       Zakir Durumeric, Zane Ma, Drew Springall, Richard Barnes, Nick Sullivan, Elie Bursztein,
       Michael Bailey, J. A. Halderman, and Vern Paxson
       Proc. 24th Network and Distributed Systems Symposium (NDSS), February 2017.
       Acceptance rate: 16 %, 68/423.

                                                                                                  4
       Case 1:17-cv-02989-AT Document 821-4 Filed 08/26/20 Page 55 of 175
           Case 1:18 -cv- 05391 -SCJ Document 239 Filed 02/18/20 Page 49 of 70



[14]   Measuring Small Subgroup Attacks Against Diffie- Hellman
       Luke Valenta, David Adrian, Antonio Sanso, Shaanan Cohney, Joshua Fried, Marcella Hastings,
       J. A. Halderman, and Nadia Heninger
       Proc. 24th Network and Distributed Systems Symposium (NDSS), February 2017.
       Acceptance rate: 16 %, 68/423.
[15] An    Internet -Wide View of ICS Devices
       Ariana Miriam, Zane Ma, David Adrian, Matthew Tischer, Thasphon Chuenchujit, Tim Yardley,
       Robin Berthier, Josh Mason, Zakir Durumeric, J. A. Halderman, and Michael Bailey
       Proc. 14th IEEE Conference on Privacy, Security, and Trust (PST), Auckland, NZ, December 2016.
[16]   Implementing Attestable Kiosks
       Matthew Bernhard, J. A. Halderman, and Gabe Stocco
       Proc. 14th IEEE Conference on Privacy, Security, and Trust (PST), Auckland, NZ, December 2016.
[17] A Security Analysis of Police Computer Systems
     Benjamin VanderSloot, Stuart Wheaton, and J. A. Halderman
     Proc. 14th IEEE Conference on Privacy, Security, and Trust (PST), Auckland, NZ, December 2016.
[18] Measuring the Security Harm of TLS Crypto Shortcuts
       Drew Springall, Zakir Durumeric, and J. A. Halderman
       Proc. 16th ACM Internet Measurement Conference (IMC), Santa Monica, November 2016.
       Acceptance rate: 25 %, 46/184.
[19] Towards      Complete        of   Certificate Ecosystem
       Benjamin VanderSloot, Johanna Amann, Matthew Bernhard, Zakir Durumeric, Michael Bailey,
       and J. A. Halderman
       Proc. 16th ACM Internet Measurement Conference (IMC), Santa Monica, November 2016.
       Acceptance rate: 25 %, 46/184.
[20] DROWN: Breaking TLS using SSLv2
       Nimrod Aviram, Sebastian Schinzel, Juraj Somorovsky, Nadia Heninger, Maik Dankel, Jens
       Steube, Luke Valenta, David Adrian, J. A. Halderman, Viktor Dukhovni, Emilia Käsper,
       Shaanan Cohney, Susanne Engels, Christof Paar, and Yuval Shavitt
       Proc. 25th USENIX Security Symposium, Austin, TX, August 2016.
       Acceptance rate: 16 %, 72/463.
       Tied for highest ranked submission.
       Pwnie award for best cryptographic attack.
       Facebook Internet Defense Prize finalist.
[21] FTP: The Forgotten Cloud
       Drew Springall, Zakir Durumeric, and J. A. Halderman
       Proc. 46th IEEE/IFIP International Conference on Dependable Systems and Networks (DSN),
       Toulouse, June 2016.
       Acceptance rate: 22 %, 58/259.



                                                                                                    5
    Case 1:17-cv-02989-AT Document 821-4 Filed 08/26/20 Page 56 of 175
            Case 1:18 -cv- 05391 -SCJ   Document 239 Filed 02/18/20 Page 50 of 70



 [22] Android UI Deception Revisited: Attacks and Defenses
     Earlence Fernandes, Qi Alfred Chen, Justin Paupore, Georg Essl, J. A. Halderman, Z. Morley
     Mao, and Atul Prakash
     Proc. loth International Conference on Financial Cryptography and Data Security (FC), Barbados,
     February 2016.
 [23] Imperfect Forward Secrecy: How Diffie- Hellman Fails in Practice
     David Adrian, Karthikeyan Bhargavan, Zakir Durumeric, Pierrick Gaudry, Matthew Green,
     J. A. Halderman, Nadia Heninger, Drew Springall, Emmanuel Thomé, Luke Valenta, Benjamin
     VanderSloot, Eric Wustrow, Santiago Zanella -Béguelin, and Paul Zimmermann
     Proc. 22nd ACM Conference on Computer and Communications Security (CCS), Denver, CO,
     October 2015.
     Acceptance rate: 19 %, 128/659.
     Best paper award. Perfect review score.
     Pwnie award for most innovative research.
     CALM Research Highlight.
[24] Censys: A Search Engine Backed by     Internet -Wide Scanning
    Zakir Durumeric, David Adrian, Ariana Minim, Michael Bailey, and J. A. Halderman
    Proc. 22nd ACM Conference on Computer and Communications Security (CCS), Denver, CO,
    October 2015.
    Acceptance rate: 19 %, 128/659.
[25] Neither Snow Nor Rain Nor MITM... An Empirical Analysis of Email Delivery Security
     Zakir Durumeric, David Adrian, Ariana Mirian, James Kasten, Elie Bursztein, Nicholas
     Lidzborski, Kurt Thomas, Vijay Eranti, Michael Bailey, and J. A. Halderman
     Proc. 15th ACM Internet Measurement Conference (IMC), Tokyo, October 2015.
     Acceptance rate: 26 %, 44/169.
    IRTF Applied Networking Research Prize winner.
[26] The New South Wales iVote System:
    Security Failures and Verification Flaws in a Live Online Election
    J. A.Halderman and Vanessa Teague
    Proc. 5th International Conference on E-Voting and Identity (VoteID), Bern, Switzerland, Septem-
    ber 2015.
[27] The Matter of Heartbleed
   Zakir Durumeric, Frank Li, James Kasten, Johanna Amann, Jethro Beekman, Mathias Payer,
   Nicolas Weaver, David Adrian, Vern Paxson, Michael Bailey, and J. A. Halderman
   Proc. 14th ACM Internet Measurement Conference (IMC), November 2014.
   Acceptance rate: 23 %, 43/188
   Best paper award.
   Honorable mention for Best dataset award.




                                                                                                  6
       Case 1:17-cv-02989-AT Document 821-4 Filed 08/26/20 Page 57 of 175
           Case 1:18 -cv- 05391 -SCJ     Document 239 Filed 02/18/20          Page 51 of 70




[28] Security Analysis of the Estonian  Internet Voting System
       Drew Springall, Travis Finkenauer, Zakir Durumeric, Jason Kitcat, Harri Hursti, Margaret
       MacAlpine, and J. A. Halderman
       Proc. 21st ACM Conference on Computer and Communications Security (CCS), Scottsdale, AZ,
       November 2014.
       Acceptance rate: 19 %, 114/585.
       Highest ranked submission.
[29] Efficiently Auditing Multi -Level Elections
     Joshua A. Kroll, Edward W. Felten, and J. A. Halderman
     Proc. 6th International Conference on Electronic Voting (EVOTE), Lochau, Austria, October 2014.
[30] Security Analysis of a Full -Body Scanner
       Keaton Mowery, Eric Wustrow, Tom Wypych, Corey Singleton, Chris Comfort, Eric Rescorla,
       Stephen Checkoway, J. A. Halderman, and Hovav Shacham
       Proc. 23rd USENIX Security Symposium, San Diego, CA, August 2014.
       Acceptance rate: 19 %, 67/350.
[31] TapDance: End -to- Middle   Anticensorship without Flow Blocking
       Eric Wustrow, Colleen Swanson, and J. A. Halderman
       Proc. 23rd USENIX Security Symposium, San Diego, CA, August 2014.
       Acceptance rate: 19 %, 67/350.
[32] An   Internet-Wide View of Internet -Wide Scanning
       Zakir Durumeric, Michael Bailey, and J. A. Halderman
       Proc. 23rd USENIX Security Symposium, San Diego, CA, August 2014.
       Acceptance rate: 19 %, 67/350.
[33] Elliptic Curve Cryptography in Practice
     Joppe W. Bos, J. A. Halderman, Nadia Heninger, Jonathan Moore, Michael Naehrig, and Eric
       Wustrow
       Proc. 18th Intl. Conference on Financial Cryptography and Data Security (FC), March 2014.
       Acceptance rate: 22 %, 31/138.
[34]   Outsmarting Proctors with Smartwatches: A Case Study on Wearable Computing Security
       Alex Migicovsky, Zakir Durumeric, Jeff Ringenberg, and J. A. Halderman
       Proc. 18th Intl. Conference on Financial Cryptography and Data Security (FC), March 2014.
       Acceptance rate: 22 %, 31/138.
[35] Analysis of the HTTPS Certificate Ecosystem
     Zakir Durumeric, James Kasten, Michael Bailey, and J. A. Halderman
     Proc. 13th ACM Internet Measurement Conference (IMC), Barcelona, Spain, October 2013.
     Acceptance rate: 24 %, 42/178.




                                                                                                   7
       Case 1:17-cv-02989-AT Document 821-4 Filed 08/26/20 Page 58 of 175
           Case 1:18 -cv- 05391 -SCJ      Document 239      Filed 02/18/20    Page 52 of 70




[36] ZMap: Fast    Internet -Wide Scanning and its Security Applications
       Zakir Durumeric, Eric Wustrow, and J. A. Halderman
       Proc. 22nd USENIX Security Symposium, Washington, D.C., August 2013.
       Acceptance rate: 16 %, 45/277.
[37] CAge: Taming Certificate Authorities by Inferring Restricted Scopes
     James Kasten, Eric Wustrow, and J. A. Halderman
     Proc. 17th Intl. Conference on Financial Cryptography and Data Security (FC), April 2013.
[38] Mining Your Ps and Qs: Detection of Widespread Weak Keys in Network Devices
     Nadia Heninger, Zakir Durumeric, Eric Wustrow, and J. A. Halderman
     Proc. 21st USENIX Security Symposium, pages 205 -220, Bellevue, WA, August 2012.
     Acceptance rate: 19 %, 43/222.
       Best paper award.
       Named one of Computing Reviews' Notable Computing Books and Articles of 2012.
[39]   Attacking the Washington, D.C. Internet Voting System
       Scott Wolchok, Eric Wustrow, Dawn Isabel, and J. A. Halderman
       In Angelos D. Keromytis, editor, Financial Cryptography and Data Security (FC), volume 7397 of
       Lecture Notes in Computer Science, pages 114 -128. Springer, 2012.
       Acceptance rate: 26 %, 23/88.
       Election Verification Network John Gideon Memorial Award.
[40] Telex:   Anticensorship in the Network Infrastructure
       Eric Wustrow, Scott Wolchok, Ian Goldberg, and J. A. Halderman
       Proc. loth USENIX Security Symposium, pages 459 -474, San Francisco, CA, August 2011.
       Acceptance rate: 17 %, 35/204.
       Runner-up for 2012 PET Award for Outstanding Research in Privacy Enhancing Technologies.
[41]   Internet Censorship in China: Where Does the Filtering Occur?
       Xueyang Xu, Z. Morley Mao, and J. A. Halderman
       In Neil Spring and George F. Riley, editors, Passive and Active Measurement, volume 6579 of
       Lecture Notes in Computer Science, pages 133 -142. Springer, 2011.
       Acceptance rate: 29 %, 23/79.
[42] Absolute Pwnage: Security Risks of Remote Administration Tools
     Jay Novak, Jonathan Stribley, Kenneth Meagher, and J. A. Halderman
     In George Danezis, editor, Financial Cryptography and Data Security (FC), volume 7035 of Lecture
     Notes in Computer Science, pages 77-84. Springer, 2011.
     Acceptance rate: 20 %, 15/74.
[43] Security Analysis of India's Electronic Voting Machines
       Scott Wolchok, Eric Wustrow, J. A. Halderman, Hari K. Prasad, Arun Kankipati, Sai Krishna
       Sakhamuri, Vasavya Yagati, and Rop Gonggrijp
       Proc. 17th ACM Conference on Computer and Communications Security (CCS), pages 1 -14. ACM,
       Chicago, IL, October 2010.


                                                                                                   8
    Case 1:17-cv-02989-AT Document 821-4 Filed 08/26/20 Page 59 of 175
        Case 1:18 -cv- 05391 -SCJ     Document 239      Filed 02/18/20   Page 53 of 70




    Acceptance rate: 17 %, 55/32o.
     Highest ranked submission.
[44] Sketcha: A Captcha Based on Line Drawings of 3D Models
     Steve Ross, J. A. Halderman, and Adam Finkelstein
    Proc. 19th International World Wide Web Conference (WWW), pages 821 -830. ACM, Raleigh, NC,
     April 2010.
     Acceptance rate: 12 %, 91/754.
[45] Defeating Vanish with Low -Cost Sybil Attacks Against Large DHTs
     Scott Wolchok, Owen S. Hofmann, Nadia Heninger, Edward W. Felten, J. A. Halderman,
     Christopher J. Rossbach, Brent Waters, and Emmett Witchel
     In Proc. 17th Network and Distributed System Security Symposium (NDSS). Internet Society, San
     Diego, CA, February-March 2010.
     Acceptance rate: 15 %, 24/156.
[46] Fingerprinting Blank Paper Using Commodity Scanners
     William Clarkson, Tim Weyrich, Adam Finkelstein, Nadia Heninger, J. A. Halderman, and
      Edward W. Felten
     IEEE Symposium on Security and Privacy ( "Oakland "), pages 301 -314. IEEE, May 2009.
     Acceptance rate: 10%, 26/254.
[47] Lest We Remember: Cold -Boot Attacks on Encryption Keys
      J. A. Halderman, Seth D. Schoen, Nadia Heninger, William Clarkson, William Paul, Joseph A.
      Calandrino, Ariel J. Feldman, Jacob Appelbaum, and Edward W. Felten
      Proc. 17th USENIX Security Symposium, pages 45 -6o, San Jose, CA, July 2008.
     Acceptance rate: 16%, 27/170.
      Best student paper award.
      Pwnie award for most innovative research.
      CACM Research Highlight.
[48] Harvesting Verifiable Challenges from Oblivious Online Sources
      J. A. Halderman and Brent Waters
      Proc. 14th ACM Conference on Computer and Communications Security (CCS), pages 330 -341.
      ACM, Washington, D.C., October 2007.
      Acceptance rate: 18 %, 55/302.
 [49] Lessons from the Sony CD DRM Episode
      J. A. Halderman and Edward W. Felten
      Proc. 15th USENIX Security Symposium, pages 77-92, Vancouver, BC, August 2006.
      Acceptance rate: 12 %, 22/179.
 [50] A Convenient Method for Securely Managing Passwords
      J. A. Halderman, Brent Waters, and Edward W. Felten
      Proc. 14th International World Wide Web Conference (WWW), pages 471 -479. ACM, Chiba, Japan,
    May 2005.
    Acceptance rate: 14 %, 77/550.

                                                                                                9
       Case 1:17-cv-02989-AT Document 821-4 Filed 08/26/20 Page 60 of 175
           Case 1:18 -cv- 05391 -SCJ   Document 239 Filed 02/18/20         Page 54 of 70




[51] New     Client Puzzle Outsourcing Techniques for DoS Resistance
       Brent Waters, Ari Juels, J. A. Halderman, and Edward W. Felten
       Proc. 1 ith ACM Conference on Computer and Communications Security (CCS), pages 246 -256.
       ACM, Washington, D.C., October 2004.
       Acceptance rate: 14 %, 35/251.
[52] Early Experiences with a 3D Model Search Engine
     Patrick Min, J. A. Halderman, Michael Kazhdan, and Thomas Funkhouser
     Proc. 8th International Conference on 3D Web Technology (Web3D), pages 7 -18. ACM, Saint Malo,
       France, March 2003.
       Best paper award.

 Book Chapters
[53] Practical Attacks on Real -world E- voting
     J. A. Halderman
     In Feng Hao and Peter Y. A. Ryan (Eds.), Real-World Electronic Voting: Design, Analysis and
     Deployment, pages 145 -171, CRC Press, December 2016.

Journal Publications
[54]   Imperfect Forward Secrecy: How Diffie- Hellman Fails in Practice
       David Adrian, Karthikeyan Bhargavan, Zakir Durumeric, Pierrick Gaudry, Matthew Green,
       J. A. Halderman, Nadia Heninger, Drew Springall, Emmanuel Thomé, Luke Valenta, Benjamin
       VanderSloot, Eric Wustrow, Santiago Zanella -Béguelin, and Paul Zimmermann
       Communications of the ACM, 61(1):106 -114, 2019.

[55] Lest We Remember: Cold -Boot Attacks on Encryption Keys
     J. A. Halderman, Seth D. Schoen, Nadia Heninger, William Clarkson, William Paul, Joseph A.
       Calandrino, Ariel J. Feldman, Jacob Appelbaum, and Edward W. Felten
       Communications of the ACM, 52(5):91-98,2009.
[56] A Search Engine for 3D Models
       Thomas Funkhouser, Patrick Min, Michael Kazhdan, Joyce Chen,     J. A.   Halderman, David   P.
       Dobkin, and David Jacobs
       ACM Transactions on Graphics (TOG), 22(1):83 -1o5, 2003.

Refereed Workshop Publications
[57] Bernoulli Ballot-Polling: A Manifest Improvement for Risk-Limiting Audits
     Kellie Ottoboni, Matthew Bernhard, J. A. Halderman, Ronald L. Rivest, and Philip B. Stark
     Proc. 4th Workshop on Advances in Secure Electronic Voting, Feb. 2019.




                                                                                                   10
       Case 1:17-cv-02989-AT Document 821-4 Filed 08/26/20 Page 61 of 175
           Case 1:18 -cv- 05391 -SCJ    Document 239       Filed 02/18/20   Page 55 of 70




[58]   An ISP -Scale Deployment of TapDance
       Sergey Frolov, Fred Douglas, Will Scott, Allison McDonald, Benjamin VanderSloot, Rod Hynes,
       Adam Kruger, Michalis Kallitsis, David G. Robinson, Nikita Borisov, J. A. Halderman, and Eric
       Wustrow
       Proc. 7th USENIX Workshop on Free and Open Communications on the Internet (FOCI), Aug. 2017.

[59] Content -Based Security for the Web
     Alexander Afanasyev, J. A Halderman, Scott Ruoti, Kent Seamons, Yingdi Yu, Daniel Zappala,
                                .


     and Lixia Zhang
     Proc. 2oi6New Security Paradigms Workshop (NSPW), September 2016.
[6o] Umbra: Embedded Web Security through Application -Layer Firewalls
     Travis Finkenauer and J. A. Halderman
     Proc. Ist Workshop on the Security of Cyberphysical Systems (WOS -CPS), Vienna, Austria, Septem-
     ber 2015.
[61] Replication Prohibited: Attacking Restricted Keyways with 3D Printing
     Ben Burgess, Eric Wustrow, and J. A. Halderman
       Proc. gth USENIX Workshop on Offensive Technologies (WOOT), Washington, DC, August 2015.
[62]   Green Lights Forever: Analyzing the Security of Traffic Infrastructure
       Branden Ghena, William Beyer, Allen Hillaker, Jonathan Pevarnek, and J. A. Halderman
       Proc. 8th USENIX Workshop on Offensive Technologies (WOOT), San Diego, CA, August 2014.
[63] Zippier ZMap: Internet -Wide Scanning at 1oGbps
       David Adrian, Zakir Durumeric, Gulshan Singh, and J. A. Halderman
       Proc. 8th USENIX Workshop on Offensive Technologies (WOOT), San Diego, CA, August     2014.

[64]   Internet Censorship in Iran:A First Look
     Simurgh   Aryan, Homa  Aryan, and J. A. Halderman
     Proc. 3rd USENIX Workshop on Free and Open Communications on the Internet (FOCI), Washing-
     ton, D.C., August 2013.
[65] Illuminating the Security Issues Surrounding Lights -Out Server Management
     Anthony Bonkoski, Russ Bielawski, and J. A. Halderman
     Proc. 7th USENIX Workshop on Offensive Technologies (WOOT), Washington, D.C., August 2013.
[66]   Crawling BitTorrent DHTs for Fun and Profit
       Scott Wolchok and J. A. Halderman
       Proc. 4th USENIX Workshop on Offensive Technologies (WOOT), Washington, D.C., August     2010.

[67] Can DREs Provide Long- Lasting Security?
       The Case of Return- Oriented Programming and the AVC Advantage
       Steve Checkoway, Ariel J. Feldman, Brian Kantor, J. A. Halderman, Edward W. Felten, and
       Hovav Shacham
       Proc. 2oog USENIX/ACCURATE /IAVoSS Electronic Voting Technology Workshop / Workshop on
       Trustworthy Elections (EVT/WOTE), Montreal, QC, August 2009.


                                                                                                     11
       Case 1:17-cv-02989-AT Document 821-4 Filed 08/26/20 Page 62 of 175
               Case 1:18 -cv- 05391 -SCJ   Document 239 Filed 02/18/20             Page 56 of 70




[68]   You Go to Elections  with the Voting System You Have:
       Stop -Gap Mitigations for Deployed Voting Systems                                                     in

       J. A. Halderman, Eric Rescorla, Hovav Shacham, and David Wagner
       In Proc. 2008 USENIX /ACCURATE Electronic Voting Technology Workshop (EVT), July         2008.

[69]   In Defense of Pseudorandom Sample Selection
       Joseph A. Calandrino, J. A. Halderman, and Edward W. Felten
       Proc. 2008 USENIX/ACCURATE Electronic Voting Technology Workshop (EVT), San Jose, CA, July
       2008.

[7o]   Security Analysis of the Diebold AccuVote -TS Voting Machine
       Ariel J. Feldman, J. A. Halderman, and Edward W. Felten
       Proc. 2007 USENIX /ACCURATE Electronic Voting Technology Workshop (EVT), Washington, D.C.,
       August 2007.
[71]   Machine -Assisted Election Auditing
       Joseph A. Calandrino, J. A. Halderman, and Edward   W.   Felten
       Proc. USENIX/ACCURATE Electronic Voting Technology Workshop (EVT), Washington, D.C.,
       August 2007.
[72]   Privacy Management for Portable Recording Devices
       J. A. Halderman, Brent Waters, and Edward W. Felten
       Proc. 2004 ACM Workshop on Privacy in the Electronic Society (WPES), pages          16 -24,   ACM,
       Washington, D.C., October 2004.
       Acceptance rate: 22 %, 10/45.
[73]   Evaluating New Copy- Prevention Techniques for Audio CDs
       J. A. Halderman
       In Joan Feigenbaum, editor, Digital Rights Management, volume       2696 of Lecture Notes in Com-
       puter Science, pages loi -117. Springer, 2003.

Selected Other Publications
[74]   U.S. House Testimony     Regarding Federal Funding for Election Cybersecurity
       J. A. Halderman
       Testimony before the U.S. House Appropriations Subcommittee on Financial Service and
       General Government, "Election Security: Ensuring the Integrity of U.S. Election Systems ",
       February 27, 2019.
[75]   IHacked an Election. So Can the Russians.
           Halderman
       J. A.
       Video op /ed in collaboration with The New York Times, April   5,   2018.

[76]   U.S. Senate Testimony Regarding Russian Interference in the 2016 U.S. Elections
       J. A. Halderman
       Testimony before the U.S. Senate Select Committee on Intelligence, June 21, 2017.


                                                                                                        12
        Case 1:17-cv-02989-AT Document 821-4 Filed 08/26/20 Page 63 of 175
          Case 1:18 -cv- 05391 -SCJ Document 239 Filed 02/18/20 Page 57 of 70



       Here's How to Keep Russian Hackers from Attacking the            2018   Elections
[77]
       J. A. Halderman and J. Talbot -Zorn
       The Washington Post, June   21, 2017.


[78]   Want to Know if the Election was Hacked? Look at the Ballots
       J. A.Halderman
       Posted on Medium, November       23, 2016.   (Read by over a million people.)

[79]   The Security Challenges of Online Voting Have Not Gone Away
       Robert Cunningham, Matthew Bernhard, and J. A. Halderman
       IEEE Spectrum, November 3, 2016.
[8o]    TIVOS: Trusted Visual I/O Paths for Android
        Earlence Fernandes, Qi Alfred Chen, Georg Essl,      J. A.   Halderman, Z. Morley Mao, and Atul
       Prakash
       Technical report, Computer Science and Engineering Division, University of Michigan, Ann
       Arbor, MI, May 2014.
[81]    Tales from the Crypto Community:
        The NSA Hurt Cybersecurity. Now It Should Come Clean
        Nadia Heninger and J. A. Halderman
        Foreign Affairs, October 23, 2013.
[82]    Ethical Issues in E- Voting Security Analysis
        David G. Robinson and J. A. Halderman
        In George Danezis, Sven Dietrich, and Kazue Sako, editors, Financial Cryptography and Data
        Security, volume 7126 of Lecture Notes in Computer Science, pages 119 -130. Springer, 2011.
        Invited paper.
[83]    To Strengthen Security, Change Developers' Incentives
        J. A. Halderman
        IEEE Security & Privacy, 8(2):79 -82, March /April 2010.
[84]    Analysis of the Green Dam Censorware System
        Scott Wolchok, Randy Yao, and J. A. Halderman
        Technical report, Computer Science and Engineering Division, University of Michigan, Ann
        Arbor, MI, June   2009.

[85]    AVC   Advantage: Hardware Functional Specifications
        J. A. Halderman and Ariel J. Feldman
        Technical report, TR- 816 -08, Princeton University Computer Science Department, Princeton,
        New Jersey, March 2008.
 [86]   Source Code Review of the Diebold Voting System
        J. A. Calandrino, A. J. Feldman, J. A. Halderman, D. Wagner, H. Yu, and W. Zeller
        Technical report, California Secretary of State's "Top -to- Bottom" Voting Systems Review (TTBR),
        July   2007.



                                                                                                      13
    Case 1:17-cv-02989-AT Document 821-4 Filed 08/26/20 Page 64 of 175
            Case 1:18 -cv- 05391 -SCJ   Document 239       Filed 02/18/20    Page 58 of 70




[87] Digital Rights Management, Spyware, and Security
     Edward W. Felten and J. A. Halderman
     IEEE Security & Privacy, 4(1):18-23, January /February 2006.
[88] Analysis of the MediaMax CD3 Copy- Prevention System
        Halderman
    J. A.
    Technical report, TR- 679 -o3, Princeton University Computer Science Department, Princeton,
    New Jersey, October 2003.

Selected Legal and Regulatory Filings
[89] Request for DMCA Exemption: Security Research
    Petition to the U.S. Copyright Office of Ed Felten and J. Alex Halderman, represented by
    Elizabeth Field, Justin Manusov, Brett Hildebrand, Alex Kimata, and Blake Reid, regarding the
    Seventh Triennial Section 1201 Proceeding, 2017 -18.
    (Outcome: Requested exemption granted in part.)
[9o] Request for DMCA Exemption: Security Research
     Petition to the Librarian of Congress of S. M. Bellovin, M. Blaze, E. W. Felten, J. A. Halderman,
     and N. Heninger, represented by Andrea Matwyshyn, regarding the U.S. Copyright Office
     2014 -2015 DMCA Anticircumvention Rulemaking, Nov. 2014.
    (Outcome: Requested exemption granted in part.)
              for DMCA Exemption: Games with Insecure DRM and Insecure DRM Generally
    Petition to the Librarian of Congress of J. A. Halderman, represented by B. Reid, P. Ohm, H.
    Surden, and J. B. Bernthal, regarding the U.S. Copyright Office 2008 -2010 DMCA Anticircum-
    vention Rulemaking, Dec. 2008.
    (Outcome: Requested exemption granted in part.)
[92] Request for DMCA Exemption for Audio CDs with Insecure DRM
     Petition to the Librarian of Congress of E. Felten and J. A. Halderman, represented by D.
     Mulligan and A. Perzanowski, regarding the U.S. Copyright Office 2005 -2006 DMCA Anticir-
     cumvention Rulemaking, Dec. 2005.
     (Outcome: Requested exemption granted in part.)

Patents
[93] Controlling Download and Playback of Media Content
     Wai Fun Lee, Marius P. Schilder, Jason D. Waddle, and J. A. Halderman
     U.S. Patent No. 8,074,083, issued Dec. 2011.

[94] System and Method for Machine -Assisted Election Auditing
     Edward W. Felten, Joseph A. Calandrino, and J. A. Halderman
     U.S. Patent No. 8,033,463, issued Oct. 2011.



                                                                                                    14
     Case 1:17-cv-02989-AT Document 821-4 Filed 08/26/20 Page 65 of 175
         Case 1:18 -cv- 05391 -SCJ Document 239         Filed 02/18/20    Page 59 of 70




Speaking
Major Invited Talks and Keynotes
 -   U.S. House Testimony Regarding Federal Funding for Election Cybersecurity
     Testimony before the U.S. House Appropriations Subcommittee on Financial Service and
     General Government, Feburary 27, 2019.
 - Election Cybersecurity Progress Report: Will the U.S. be Ready for 2020?
     35c3, Leipzig, December 27, 2018.
 -   Cyberattacks on Election Infrastructure
     Keynote speaker, DIMVA 2018, Paris, June 29, 2018.
 -   U.S. Senate Testimony Regarding Russian Interference in the 2016 U.S. Elections
     Testimony before the U.S. Senate Select Committee on Intelligence, June 21, 2017.
 -   Recount 2016:. A Security Audit of the U.S. Presidential Election
     Keynote talk, NDSS 2017, February 27, 2017.
 -   Recount 2016: An Uninvited Security Audit of the U.S. Presidential Election
     33c3, Hamburg, December 28, 2016.
 -   Elections and Cybersecurity: What Could Go Wrong?
     Keynote speaker, Merit Security Summit, Ypsilanti, MI, November 7, 2016.
 -   Let's Encrypt
     Invited speaker, TTI /Vanguard conference on Cybersecurity, Washington, D.C., Sept. 28, 2016.
     Elections and Cybersecurity: What Could Go Wrong?
     Keynote speaker, 19th Information Security Conference (ISC), Honolulu, September 9, 2016.
     Internet Voting: What Could Go Wrong?
     Invited speaker, USENIX Enigma, San Francisco, January 27, 2016.
     Logjam: Diffie- Hellman, Discrete Logs, the NSA, and You
     32c3, Hamburg, December 29, 2015.
 -   The Network Inside Out: New Vantage Points for Internet Security
     Invited talk, China Internet Security Conference (ISC), Beijing, September   30, 2015.


 -   The Network Inside Out: New Vantage Points for Internet Security
     Keynote speaker, ESCAR USA (Embedded Security in Cars), Ypsilanti, Michigan, May 27, 2015.
 -   Security Analysis of the Estonian Internet Voting System
     31c3, Hamburg, December 28, 2014.
 -   The Network Inside Out: New Vantage Points for Internet Security
     Keynote speaker, 14th Brazilian Symposium on Information Security and Computer Systems
     (SBSeg), Belo Horizonte, Brazil, November 4, 2014.




                                                                                                15
     Case 1:17-cv-02989-AT Document 821-4 Filed 08/26/20 Page 66 of 175
        Case 1:18 -cv- 05391 -SCJ Document 239           Filed 02/18/20   Page 60 of 70




 -   Empirical Cryptography: Measuring How Crypto is Used and Misused Online
     Keynote speaker, 3rd International Conference on Cryptography and Information Security in
     Latin America (Latincrypt), Florianópolis, Brazil, September 2014.
 -   Healing Heartbleed: Vulnerability Mitigation with Internet-wide Scanning
     Keynote speaker, 11th Conference on Detection of Intrusions and Malware and Vulnerability
     Assessment (DIMVA), London, July io, 2014.
 -   Fast Internet -wide Scanning and its Security Applications
     3oc3, Hamburg, December 28, 2013.
 -   Challenging Security Assumptions. Three -part tutorial. 2nd TCE Summer School on Corn -
     puter Security, Technion (Haifa, Israel), July 23, 2013.
 -   Verifiably Insecure: Perils and Prospects of Electronic Voting
     Invited talk, Computer Aided Verification (CAV) 2012 (Berkeley, CA), July 13, 2012.
 -   Deport on Arrival: Adventures in Technology, Politics, and Power
     Invited talk, loth USENIX Security Symposium (San Francisco, CA), Aug. 11, 2011.
 -   Electronic Voting: Danger and Opportunity
     Keynote speaker, ShmooCon 2008 (Washington, D.C.), Feb. 15, 2008.
Selected Talks (2009-present)
 -   Let's Encrypt: An Automated Certificate Authority to Encrypt the Entire Web
     Invited speaker, OWASP Copenhagen, November 25, 2019.
 -   Cybersecurity and U.S. Elections
     Invited speaker, CyberSec & AI Prague, October 25, 2019; Invited speaker, Indiana University
     Research, February 7, 2019; Invited speaker, Arizona State, January 16, 2019; Invited speaker,
     University of San Diego, November 16, 2018; Invited speaker, UMass Amherst, October 31,
     2018; Invited speaker, U -M Alumni Association, October 18, 2018; Invited speaker, MIT
     EmTech, August 13, 2018; Invited speaker, DEFCON Voting Village, August io, 2018; Invited
     speaker, U.S. Irvine Election Security Summit, Irvine, March 13, 2018; Invited speaker, Global
     Election Summit, San Francisco, May 17, 2017; Invited speaker, Wolverine Caucus Forum,
     Lansing, February 21, 2017; Invited speaker, CSE Science on Screen at Michigan Theater, Ann
     Arbor, January 25, 2017.
 -   Congressional Briefing on Election Cybersecurity.
     Hosted by Rep. Mike Quigley and Rep. John Katko; September 26, 2018.
 -   Congressional Briefing on Election Cybersecurity.
     Co- panelists: Harri Hursti, Tony Schaffer, Liz Howard, Shantiel Soeder, Dan Savickas; modera-
     tor: Trey Greyson. July 10, 2018.
 -   Congressional Briefing: Hacked Voting Machine Demonstration.
     Hosted by Senator Kamala Harris and Senator James Lankford. April 12, 2018.
 -   Congressional Briefing: Strengthening Election Cybersecurity.
     Co-panelists: Nicole Austin -Hillery, Tony Shaffer, Bruce Fein, Susan Greenhalgh, Shane
     Schoeller. October 19, 2017.

                                                                                                 16
    Case 1:17-cv-02989-AT Document 821-4 Filed 08/26/20 Page 67 of 175
        Case 1:18 -cv- 05391 -SCJ       Document 239       Filed 02/18/20    Page 61 of 70




-   The Security Impact of HTTPS Interception. Invited talk, GOTO Copenhagen, Oct. 2, 2017.
    Congressional Briefing: Free, Automated, and Open Web Encryption.
    August 8, 2017; hosted by Congressional Cybersecurity Caucus.
-   Let's Encrypt: A Certificate Authority to Encrypt the Entire Web. Invited talk, Summer
    school on real -world crypto and privacy, Croatia, June 9, 2017; Invited talk, Cubaconf, Havana,
    April 25, 2016.
    Congressional Briefing: Strengthening Election Cybersecurity. Co- panelists: James Woolsey,
    Tony Shaffer, Lawrence Norden, Susan Greenhalgh, James Scott; moderator: Karen Greenberg.
    May 15, 2017.
-   The Legacy of Export -grade Cryptography in the 21st Century. Invited talk, Summer school
    on real -world crypto and privacy, Croatia, June 9, 2016.
    Logjam: Diffie- Hellman, Discrete Logs, the NSA, and You. Invited talk, NYU Tandon School
    of Engineering, April 8, 2016 [host: Damon McCoy]; Invited talk, UIUC Science of Security
    seminar, February 9, 2016 [host: Michael Bailey].
-   The Network Inside Out: New Vantage Points for Internet Security. Invited talk, Qatar
    Computing Research Institute, Doha, May 24, 2015; Invited talk, University of Chile, Santiago,
    April 8, 2015; Invited talk, Princeton University, October 15, 2014; Invited talk, U.T. Austin,
    March 9, 2014.
    Decoy Routing: Internet Freedom in the Network's Core. Invited speaker, Internet Freedom
    Technology Showcase: The Future of Human Rights Online, New York, Sep. 26, 2015.
    The New South Wales iVote System: Security Failures and Verification Flaws in a Live On-
    line Election. 5th International Conference on E-Voting and Identity (VoteID), Bern, Switzer-
    land, Sep. 3, 2015; Invited talk, IT Univ. of Copenhagen, Sep. 1, 2015; Invited talk (with Vanessa
    Teague), USENIX Journal of Election Technologies and Systems Workshop (JETS), Washington,
    D.C., Aug. 11, 2015.
-   Security Analysis of the Estonian Internet Voting System. Invited talk, 5th International
    Conference on E-Voting and Identity (VoteID), Bern, Switzerland, Sep. 3, 2015; Invited talk,
    Google, Mountain View, CA, June 3, 2014; Invited talk, Copenhagen University, June 12, 2014.
-   Indiscreet Tweets. Rump session talk; 24th USENIX Security Symposium, Washington, D.C.,
    August 12, 2015.
-   How Diffie- Hellman Fails in Practice. Invited talk, IT Univ. of Copenhagen, May 22, 2015.
-   Influence on Democracy of Computers, Internet, and Social Media. Invited speaker, Osher
    Lifelong Learning Institute at the University of Michigan, March 26, 2015.
    E-Voting: Danger and Opportunity. Invited talk, University of Chile, Santiago, April 7, 2015;
    Keynote speaker, 14th Brazilian Symposium on Information Security and Computer Systems
    (SBSeg), Belo Horizonte, Brazil, November 3, 2014; Crypto seminar, University of Tartu, Estonia,
    October so, 2013; Invited speaker, US -Egypt Cyber Security Workshop, Cairo, May 28, 2013;
    Invited speaker, First DemTech Workshop on Voting Technology for Egypt, Copenhagen, May
    1, 2013; Invited keynote, 8th CyberWatch Mid -Atlantic CCDC, Baltimore, MD, Apr. so, 2013;


                                                                                                   17
    Case 1:17-cv-02989-AT Document 821-4 Filed 08/26/20 Page 68 of 175
        Case 1:18 -cv- 05391 -SCJ Document 239           Filed 02/18/20    Page 62 of 70




    Invited speaker, Verifiable Voting Schemes Workshop, University of Luxembourg, Mar. 21, 2013;
    Invited speaker, MHacks hackathon, Ann Arbor, MI, Feb. 2, 2013; Public lecture, U. Michigan,
    Nov 6, 2012.
-   Internet Censorship in Iran: A First Look. 3rd USENIX Workshop on Free and Open Com-
    munications on the Internet (FOCI), Aug. 13, 2013.
-   Mining Your Ps and Qs: Detection of Widespread Weak Keys in Network Devices. Invited
    talk, NSA, Aug. 8, 2013; Invited talk, Taiwan Information Security Center Workshop, National
    Chung -Hsing University (Taichung, Taiwan), Nov. 16, .2012
-   Securing Digital Democracy. U. Maryland, Apr. 8, 2013 [host: Jonathan Katz]; CMU, Apr. 1,
    2013 [host: Virgil Gligor]; Cornell, Feb. 28, 2013 [host: Andrew Myers].
-   Telex: Anticensorship in the Network Infrastructure. Invited speaker, Academia Sinica
    (Taipei), Nov. 14, 2012 [host: Bo Yin Yang]; TRUST Seminar, U.C., Berkeley, Dec. 1, 2011 [host:
    Galina Schwartz]; Think Conference, Nov. 5, 2011; Ideas Lunch, Information Society Project at
    Yale Law School, Oct. 26, 2011; Invited speaker, Committee to Protect Journalists Online Press
    Freedom Summit (San Francisco), Sept. 27, 2011.
-   Deport on Arrival: Adventures in Technology, Politics, and Power. Guest lecture, U -M
    School of Art and Design, Nov 5, 2012 [host: Osman Khan]; Invited speaker, CS4HS Workshop,
    U. Michigan, Aug. 21, 2012; Invited speaker, U. Michigan IEEE, Feb. 15, 2012.
- Attacking the Washington, D.C. Internet Voting System. Invited speaker, International Foun-
    dation for Election Systems (IFES), Nov. 2, 2012 [host: Michael Yard]; Invited speaker, IT
    University of Copenhagen, May 11, 2012 [host: Carsten Schürmann].
-   Voter IDon't. Rump session talk; 21st USENIX Security Symposium (Bellevue, WA), Aug. 8,
    2012; Rump session talk; EVT /WOTE '12 (Bellevue, WA), Aug. 6, 2012 [with Josh Benaloh].
-   Reed Smith's Evening with a Hacker. Keynote speaker (New Brunswick, NJ), Oct. 20, 2011.
-   Are DREs Toxic Waste? Rump session talk, 2oth USENIX Security Symposium (San Francisco),
    Aug. 10, 2011; Rump session talk, EVT /WOTE '11 (San Francisco), Aug. 8, 2011.
-   Security Problems in India's Electronic Voting Machines. Dagstuhl seminar on Verifiable
    Elections and the Public (Wadern, Germany), July 12, 2011; Harvard University, Center for
    Research on Computation and Society (CRCS) seminar, Jan. 24, 2011 [host: Ariel Procaccia];
    U. Michigan, CSE seminar, Nov. 18, 2010 [with Hari Prasad]; MIT, CSAIL CIS Seminar, Nov. 12,
    2010 [with Hari Prasad; host: Ron Rivest]; Distinguished lecture, U.C. San Diego, Department
    of Computer Science, Nov. 9, 2010 [with Hari Prasad; host: Hovav Shacham]; U.C. Berkeley,
    Center for Information Technology Research in the Interest of Society (CITRIS), Nov. 8, 2010
    [with Hari Prasad; host: Eric Brewer]; Google, Inc., Tech Talk (Mountain View, CA), Nov. 5,
    2010 [with Hari Prasad; host: Marius Schilder]; U.C., Berkeley TRUST Security Seminar, Nov.
    4, 2010 [with Hari Prasad; host: Shankar Sastry]; Stanford University, CS Department, Nov.
    3, 2010 [with Hari Prasad; host: David Dill]; Princeton University, Center for Information
    Technology Policy, Oct. 28, 2010 [with Hari Prasad, host: Ed Felten]; University of Texas at
    Austin, Department of Computer Science, Aug. 27, 2010 [host: Brent Waters].


                                                                                                18
     Case 1:17-cv-02989-AT Document 821-4 Filed 08/26/20 Page 69 of 175
          Case 1:18 -cv- 05391 -SCJ     Document 239        Filed 02/18/20   Page 63 of 70




 -   Ethical Issues in E-Voting Security Analysis. Invited talk, Workshop on Ethics in Computer
     Security Research (WECSR) (Castries, St. Lucia), Mar. 4, 2011 [with David Robinson].
 -   Electronic Voting: Danger and Opportunity. Invited speaker, "Interfaces 1o: Technology,
     Society and Innovation," Center for Technology and Society (CTS /FGV) (Rio de Janeiro), Dec.
     2, 2010 [host: Ronaldo Lemos]; Invited speaker, Conference on "EVMs: How Trustworthy?,"
     Centre for National Renaissance (Chennai, India), Feb. 13, 2010; Google, Inc., Tech Talk
     (Mountain View, CA), Jan. 1o, 2008; Star Camp (Cape Town, South Africa), Dec. 8, 2007; Lehigh
     University, Nov 27, 2007; Princeton OiT Lunch -'n- Learn, Oct. 24, 2007; University of Waterloo
     (Canada), Feb. 28, 2007.
 -A New Approach to Censorship Resistance. Think Conference, Nov. 7, 2010.
 -   Practical AVC -Edge CompactFlash Modifications can Amuse Nerds [PACMAN]. Rump ses-
     sion, 19th USENIX Security Symposium (Washington, D.C.), Aug. 11, 2oio; Rump session,
     EVT /WOTE    'io (Washington, D.C.), Aug.   9, 2010.
 -   Legal Challenges to Security Research. Guest lecture, Law 633: Copyright, U. Michigan Law
     School, Apr. 7, 201o; Invited talk, University of Florida Law School, Oct. 12, 2006.
 -   Adventures in Computer Security. Invited talk, Greenhills School, grades 6 -12 (Ann Arbor,
     MI), Mar. 8, 2010.
 - The Role of Designers' Incentives in Computer Security Failures. STIET Seminar, U. Michi-
     gan, Oct. 8, 2009.
 -   Cold -Boot Attacks Against Disk Encryption. Invited speaker, SUMIT 09 Security Symposium,
     U. Michigan, Oct. 20, 2009.
 -   On the Attack. Distinguished lecture, U.C. Berkeley EECS, Nov. 18, 2009.

Selected Other Speaking (2010-present)
 -   Panelist: How Adversaries Can Erode Public Trust in Democratic Institutions. Co- panelists:
     Hany Farid, Ron Rivest, Suzanne Spaulding; moderator: James E. Boasberg. D.C. Circuit
     Judicial Conference, Cambridge, Maryland, June 26, 2019.
 - Alumni -Faculty Forum:    Cold War 2.o: Russia, Cybersecurity and Hacking. Co-panelists:
     Walter Slocombe, Alexander Southwell, Ishani Sud; moderator: Jonathan Mayer. June 1, 2018.
 - Panelist: "Critical   Infrastructure" Designation for Election Operations: Risks, Mitigations,
     & Import for 2018. Election Verification Network Conference, Miami, March 16, 2018.
 -   Panelist: The Technology of Voting: Risks & Opportunities. U.C. Irvine Cybersecurity and
     Policy Research Institute, March 13, 2018.
 -   Panelist: Election Law Conflicts and the Vulnerability of our Election Systems. Co- panelists:
     Stephen Berzon, Holly Lake, Harvey Saferstein. Ninth Circuit Judicial Conference, July 18,
     2017.
 - Moderator:   Apple & the FBI: Encryption, Security, and Civil Liberties. Panelists: Nate
     Cardozo and Barbara McQuade. U -M Dissonance Speaker Series, April 12, 2016.



                                                                                                 19
    Case 1:17-cv-02989-AT Document 821-4 Filed 08/26/20 Page 70 of 175
       Case 1:18 -cv- 05391 -SCJ Document 239 Filed 02/18/20             Page 64 of 70




-   Moderator: Privacy, IT Security and Politics. Panelists: Ari Schwartz and David Sobel. U -M
    ITS SUMIT_2o15, Oct. 22, 2015.
-   Panelist: The Future of E-Voting Research. 5th International Conference on E-Voting and
    Identity (VoteID), Bern, Switzerland, Sep. 4, 2015.
-   Moderator: Panel on Research Ethics. 24th USENIX Security Symposium, Washington, D.C.,
    August 13, 2015.
-   Panelist: Theories of Privacy in Light of "Big Data." Michigan Telecommunications and Tech-
    nology Law Review Symposium on Privacy, Technology, and the Law, University of Michigan
    Law School, Feb. 21, 2015.
-   Panelist: Measuring Privacy. Big Privacy symposium, Princeton University CITP, Apr. 26,
    2013 [moderator: Ed Felten].
-   Panelist: Civil Society's Challenge in Preserving Civic Participation. The Public Voice work-
    shop: Privacy Rights are a Global Challenge, held in conjunction with the 34th International
    Conference of Data Protection and Privacy Commissioners, Punta del Este, Uruguay, Oct. 22,
    2012 [moderator: Lillie Coney].
-   Panelist: Election Technologies: Today and Tomorrow. Microsoft Faculty Summit (Redmond),
    July 17, 2012 [moderator: Josh Benaloh].
-   Panelist: Is America Ready to Vote on the Internet? CSPRI Seminar, George Washington
    University (Washington, D.C.), May 16, 2012 [moderator: Lance Hoffman].
-   Panelist: Technical Methods of Circumventing Censorship. Global Censorship Conference,
    Yale Law School, Mar. 31, 2012.
-   Panelist: Internet Voting. RSA Conference (San Francisco), Mar. 1, 2012 [moderator: Ron
    Rivest].
- Panelist:    The Law and Science of Trustworthy Elections. Association of American Law
    Schools (AALS) Annual Meeting, Jan. 5, 2012 [moderator: Ron Rivest].
-   Panelist: Connecticut Secretary of State's Online Voting Symposium (New Britain, CT), Oct.
    27, 2011 [moderator: John Dankosky].
-   Panelist: Cyber Security / Election Technology. Overseas Voting Foundation Summit, Feb. 1o,
    2011 [moderator: Candice Hoke].
    Tutorial spcakcr/organizcr: Security Issues in Electronic Voting, ICISS (Gandhinagar, India),
    Dec. 15, 2010 [canceled under threat of deportation].
-   Invited testimony: On D.C. Board of Elections and Ethics Readiness for the Nov. 2010 Gen-
    eral Election. D.C. Council Hearing, Oct. 8, 2010.
-   Panelist and organizer: India's Electronic Voting Machines. EVT /WOTE (Washington, D.C.),
    Aug. 9, 2010.
-   Panelist: Ethics in Networking and Security Research. ISOC Network and Distributed System
    Security Symposium (San Diego, CA), Mar. 2, 2010 [moderator: Michael Bailey].



                                                                                               20
     Case 1:17-cv-02989-AT Document 821-4 Filed 08/26/20 Page 71 of 175
          Case 1:18 -cv- 05391 -SCJ    Document 239 Filed 02/18/20        Page 65 of 70




Advising and Mentoring
Graduate Students
 -   Allison McDonald (Ph.D. in progress; Facebook Emerging Scholar Fellowship)
 -   Matthew Bernhard (Ph.D. in progress)
 -   Benjamin VanderSloot (Ph.D. in progress)
 -   David Adrian (Ph.D. 2019; went on to principal engineer at Censys)
 -   Andrew Springall (Ph.D. 2018; went on to tenure -track faculty position at Auburn)
 -   Zakir Durumeric (Ph.D. 2017; Google Ph.D. Fellowship in Computer Security; went on to
     tenure -track faculty position at Stanford)
 -   Eric Wustrow (Ph.D. 2016; went on to tenure -track faculty position at U. Colorado, Boulder)
 -   James Kasten (Ph.D. 2015; went on to software engineering position at Google)

 -   Rose Howell (M.S. 2018)
 -   Travis Finkenauer (M.S. 2016; went on to security position at Juniper Networks)
 -   Scott Wolchok (M.S. 2011; went on to software engineering position at Facebook)

Post Docs
 -   Will Scott (2017 -18)
 -   Colleen Swanson (2014-15)
Doctoral Committees
     Arunkumaar Ganesan (C.S. Ph.D. expected 2019)
     David Adrian (C.S. Ph.D. 2019, Michigan; chair)
 -   Andrew Springall (C.S. Ph.D. 2018, Michigan; chair)
 - Kyong Tak Cho (C.S. Ph.D. 2018, Michigan)
     Armin Sarabi (E.E. Ph.D. 2018, Michigan)
     Zakir Durumeric (C.S. Ph.D. 2017, Michigan; chair)
 -   Armin Sarabi (E.E. Ph.D. 2017, Michigan)
     Eric Crockett (C.S. Ph.D 2017, Georgia Tech)
 -   Kassem Fawaz (C.S. Ph.D. 2017, Michigan)
 -   Amir Rahmati (C.S. Ph.D. 2017, Michigan)
     Earlence Fernandez (C.S. Ph.D. 2017, Michigan)
 -   Huan Feng (C.S. Ph.D. 2016, Michigan)
     Jakub Czyz (C.S. Ph.D. 2016, Michigan)
     Denis Bueno (C.S. Ph.D. 2016, Michigan)
 -   Eric Wustrow (C.S. Ph.D. 2016, Michigan; chair)
-    James Kasten (C.S. Ph.D. 2015, Michigan; chair)
-    Jing Zhang (C.S. Ph.D. 2015, Michigan)
-    Katharine Cheng (C.S. Ph.D. 2012, Michigan)

                                                                                              21
  Case 1:17-cv-02989-AT Document 821-4 Filed 08/26/20 Page 72 of 175
       Case 1:18 -cv- 05391 -SCJ        Document 239         Filed 02/18/20     Page 66 of 70




  Matt Knysz (C.S. Ph.D. 2012, Michigan)
  Zhiyun Qian (C.S. Ph.D. 2012, Michigan)
  Xin Hu (C.S. Ph.D. 2011, Michigan)
  Ellick Chan (C.S. Ph.D. 2011, UIUC)
Undergraduate Independent Work
 - 2019:   Scott Bays, Kevin Chang, Jensen Hwa, Nicholas Matton, Henry Meng, Ellen Tsao, Hassaan
           Ali Watoo
   2018:   Jensen Hwa, Henry Meng, Armando Ruvalcaba
   2017:   Gabrielle Beck, Alex Holland
   2016:   Ben Burgess, Noah Duchan, Mayank Patke
   2015:   Ben Burgess, Rose Howell, Vikas Kumar, Ariana Milian, Zhi Qian Seah
   2014:   Christopher Jeakle, Andrew Modell, Kollin Purcell
   2013:   David Adrian, Anthony Bonkoski, Alex Migicovsky, Andrew Modell, Jennifer O'Neil
 - 2011: Yilun Cui, Alexander Motalleb
 - 2010: Arun Ganesan, Neha Gupta, Kenneth Meagher, Jay Novak, Dhritiman Sagar,
         Samantha Schumacher, Jonathan Stribley
   2009: Mark Griffin, Randy Yao

Teaching
  Introduction to Computer Security, EECS 388, University of Michigan
  Terms: Winter 2020, Fall 2019, Winter 2019, Winter 2017, Fall 2016, Fall 2015, Fall 2014,
   Fall 2013, Fall 2011, Fall 2010, Fall 2009
   Created new undergrad security elective that has grown to reach >750 students/year. An accessible intro,
   teaches the security mindset and practical skills for building and analyzing security -critical systems.
  Surveillance Law and Technology (with Margo Schlanger), EECS 598 -007 / LAW 441 -1, Uni-
  versity of Michigan, Fall 2019.
  Election Cybersecurity, EECS 498, University of Michigan, Fall 2018.
  Computer and Network Security, EECS 588, University of Michigan
  Terms: Winter 2016, Winter 2015, Winter 2014, Winter 2013, Winter 2012, Winter 2011,
  Winter 2010, Winter 2009
   Redesigned core grad -level security course. Based around discussing classic and current research papers
   and performing novel independent work. Provides an intro. to systems research for many students.
   Securing Digital Democracy, Coursera (MOOC)
   Designed and taught a massive, open online course that explored the security risks -and future
   potential -of electronic voting and Internet voting technologies; over 20,000 enrolled students.




                                                                                                        22
     Case 1:17-cv-02989-AT Document 821-4 Filed 08/26/20 Page 73 of 175
        Case 1:18 -cv- 05391 -SCJ   Document 239 Filed 02/18/20      Page 67 of 70




Professional Service
Program Committees
 - 2019 ACM Internet Measurement Conference (IMC '19)
 - 2017 ACM Conference on Computer and Communications Security (CCS '17)
 - 2017 ISOC Network and Distributed Systems Security Symposium (NDSS '17)
 - 2016 ACM Internet Measurement Conference (IMC '16)
 - 2016 USENIX Security Symposium (Sec '16)
 - 2016 International Joint Conference on Electronic Voting (E-VOTE-ID '16)
 - 2016 Workshop on Advances in Secure Electronic Voting (Voting '16)
 - 2015 ACM Conference on Computer and Communications Security (CCS '15)
 -   2015 ACM Internet Measurement Conference (IMC '15)
 -   2015 USENIX Security Symposium (Sec '15)
 -   2014 ACM Conference on Computer and Communications Security (CCS '14)
 -   2014 USENIX Security Symposium (Sec '14)
 -   2013 ACM Conference on Computer and Communications Security (CCS '13)
 -   Program co- chair, 2012 Electronic Voting Technology Workshop /Workshop on Trustworthy
     Elections (EVT /WOTE '12)
 -   2012 Workshop on Free and Open Communications on the Internet (FOCI '12)
 -   2012 IEEE Symposium on Security and Privacy ( "Oakland" '12)
 -   2012 International Conference on Financial Cryptography and Data Security (FC '12)
 -   2011 Workshop on Free and Open Communications on the Internet (FOCI '11)
 -   2011 Electronic Voting Technology Workshop (EVT /WOTE '11)
 -   2010 ACM Conference on Computer and Communications Security (CCS '10)
 -   2010 USENIX /ACCURATE /IAVOSS Electronic Voting Technology Workshop (EVT '10)
 - 2010 USENIX Security Symposium (Sec '10)
 - 2010 IEEE Symposium on Security and Privacy (Oakland '10)
 - 2010 International World Wide Web Conference (WWW '1o)
 - 2009 ACM Conference on Computer and Communications Security (CCS '09)
 - 2009 ACM Workshop on Digital Rights Management (DRM '09)
 - 2009 ACM Workshop on Multimedia Security (MMS '09)
 -   2009 USENIX Workshop on Offensive Technologies (WOOT '09)
 -   2009 International World Wide Web Conference (WWW '09)
 -   2008 ACM Conference on Computer and Communications Security (CCS 'o8)
 -   2008 ACM Workshop on Privacy in the Electronic Society (WPES 'o8)
 -   2008 USENIX /ACCURATE Electronic Voting Technology Workshop (EVT 'o8)
 -   2008 International World Wide Web Conference (WWW 'o8)



                                                                                         23
     Case 1:17-cv-02989-AT Document 821-4 Filed 08/26/20 Page 74 of 175
         Case 1:18 -cv- 05391 -SCJ     Document 239 Filed 02/18/20 Page 68 of 70




Boards
 -   Board of Directors of Internet Security Research Group (2014- present)
 -   Board of Advisors for the Verified Voting Foundation (2012- present)
 -   External Advisory Board for the DemTech Project, IT University of Copenhagen (2011 -2016)
 -   Advisory Council for the Princeton University Department of Computer Science (2012 -2014)

Government Service
 -   Michigan Secretary of State's Election Security Advisory Commission (co- chair, 2019 -)

Department and University Service
 -   Lab Director, CSE Systems Lab (2018- present)
 -   CSE Hiring Committee (member, 2018- present)
 -   Faculty Advisor for Michigan Hackers student group (2012- present)
 -   CSE Graduate Affairs Committee (member, 2014 -2017)
 -   CSE Undergraduate Program Advising (CS /ENG) (2011 -2017)
 -   Faculty Senate, Rules Committee of the Senate Assembly (member, 2011 -12)
 -   CSE Graduate Admissions Committee (member, 201 0 -11)
 -   CSE Graduate Committee (member, 2009-lo)




                                                                                               24
  Case 1:17-cv-02989-AT Document 821-4 Filed 08/26/20 Page 75 of 175
       Case 1:18 -cv- 05391 -SCJ Document 239    Filed 02/18/20   Page 69 of 70




                         CERTIFICATE OF SERVICE

      I hereby certify that, on February 18, 2020, I caused to be served the

foregoing REPORT OF PLAINTIFFS' EXPERT WITNESS J. ALEX

HALDERMAN by filing it through the Court's ECF system, which will serve the

following counsel:

      Chris Carr, Esq.
      Attorney General
      Dennis Dunn, Esq.
     Deputy Attorney General
     Russell Willard, Esq.
      Senior Assistant Attorney General
     Georgia Office of the Attorney General
     40 Capitol Square
     Atlanta, GA 30334
     ccarr @law.ga.gov
     ddunn @law.ga.gov
     rwillard @law.ga.gov

     Joshua Barrett Belinfante, Esq.
     Vincent Robert Russo, Jr., Esq.
     Brian Edward Lake, Esq.
     Carey Allen Miller, Esq.
     Alexander Denton, Esq.
     Special Assistant Attorneys General
     Robbins Ross Alloy Belinfante Littlefield, LLC
     500 Fourteenth St., N.W.
     Atlanta, GA 30318
     Telephone: (678) 701 -9381
    Fax: (404) 856-3250
    jbelinfante @robbinsfirm.com
    blake @robbinsfirm.com
    vrusso @robbinsfirm.com
    cmiller@robbinsfirm.com
    adenton@robbinsfirm.com
Case 1:17-cv-02989-AT Document 821-4 Filed 08/26/20 Page 76 of 175
   Case 1:18 -cv- 05391 -SCJ   Document 239   Filed 02/18/20 Page 70 of 70




   Bryan P. Tyson, Esq.
   Bryan F. Jacoutot, Esq.
   Diana LaRoss, Esq.
   Special Assistant Attorneys General
   Taylor English Duma LLP
   1600 Parkwood Circle
   Suite 200
   Atlanta, GA 30339
   Telephone: (678) 336 -7249
   btyson @taylorenglish.com
   bjacoutout@taylorenglish.com
   dlaross @taylorenglish.com



                                   /s/ Leslie J Bryan
                                    Leslie J. Bryan
                                    Georgia Bar No. 091175
   Case 1:17-cv-02989-AT Document 821-4 Filed 08/26/20 Page 77 of 175
        Case 1:18 -cv- 05391 -SCJ Document 242 Filed 02/19/20     Page   1   of 8




               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION


FAIR FIGHT ACTION, INC, et al.,
       Plaintiffs,
       v.                                            Civ. Act. No. 18 -cv -5391 (SCJ)

BRAD RAFFENSPERGER, et al.,
   Defendants.



 SUPPLEMENT TO THE EXPERT REPORT OF J. ALEX HALDERMAN

      Plaintiffs hereby supplement the Expert Report of J. Alex Halderman by

supplying signature pages. When Dr. Halderman sent the final report to counsel,

he inadvertently omitted the signature pages. Those pages are attached hereto.

      This, thel9th day of February, 2020.

                               /s/ Leslie J. Bryan
                                Allegra J. Lawrence (GA Bar No. 439797)
                                Leslie J. Bryan (GA Bar No. 091175)
                                Maia Cogen (GA Bar No. 832438)
                                Suzanne Smith Williams (GA Bar No. 526105)
                                LAWRENCE & BUNDY LLC
                                1180 West Peachtree Street
                                Suite 1650
                                Atlanta, GA 30309
                                Telephone: (404) 400 -3350
                                Fax: (404) 609 -2504
                                allegra.lawrence -hardy @lawrencebundy.com
                                leslie.bryan @lawrencebundy.com
                                maia.cogen@lawrencebundy.com
                                suzanne .williams @lawrencebundy.com
Case 1:17-cv-02989-AT Document 821-4 Filed 08/26/20 Page 78 of 175
    Case 1:18 -cv- 05391 -SCJ    Document 242 Filed 02/19/20   Page 2 of 8




                                Thomas R. Bundy (Admitted pro hac vice)
                                LAWRENCE & BUNDY LLC
                                8115 Maple Lawn Boulevard
                                Suite 350
                                Fulton, MD 20789
                                Telephone: (240) 786 -4998
                                Fax: (240) 786 -4501
                                thomas.bundy @lawrencebundy.com

                                Dara Lindenbaum (Admitted pro hac vice)
                                SANDLER REIFF LAMB ROSENSTEIN &
                                BIRKENSTOCK, P.C.
                                1090 Vermont Avenue, NW
                                Suite 750
                                Washington, DC 20005
                                Telephone: (202) 479 -1111
                                Fax: 202 -479 -1115
                                lindenbaum @sandlerreiff.com

                                Elizabeth Tanis (GA Bar No. 697415)
                                John Chandler (GA Bar No. 120600)
                                957 Springdale Road, NE
                                Atlanta, GA 30306
                                Telephone: (404) 771 -2275
                                beth.tanis @gmail.com
                                jachandler@gmail.com

                                Kurt G. Kastorf (GA Bar No. 315315)
                                THE SUMMERVILLE FIRM, LLC
                                1226 Ponce de Leon Avenue, NE
                                Atlanta, GA 30306
                                Telephone: (770) 635 -0030
                                Fax: (770) 635 -0029
                                kurt @summervillefirm.com
Case 1:17-cv-02989-AT Document 821-4 Filed 08/26/20 Page 79 of 175
    Case 1:18 -cv- 05391 -SCJ Document 242 Filed 02/19/20 Page   3 of 8




                          Matthew G. Kaiser (Admitted pro hac vice)
                          Sarah R. Fink (Admitted pro hac vice)
                          Scott S. Bernstein (Admitted pro hac vice)
                          Norman G. Anderson (Admitted pro hac vice)
                          KAISERDILLON PLLC
                          1099 Fourteenth Street, NW
                          Eighth Floor West
                          Washington, DC 20005
                          Telephone: (202) 640-2850
                          Fax: (202) 280-1034
                          mkaiser @kaiserdillon.com
                          sfink @kaiserdillon.com
                          sbernstein@kaiserdillon.com
                          nanderson @kaiserdillion.com

                          Andrew D. Herman (Admitted pro hac vice)
                          Nina C. Gupta (Admitted pro hac vice)
                          MILLER & CHEVALIER CHARTERED
                          900 Sixteenth Street, NW

                          Telephone: (202) 626 -5800
                          Fax: (202) 626 -5801
                          aherman @milchev.com
                          ngupta@milchev.com

                         Kali Bracey (Admitted pro hac vice)
                         JENNER & BLOCK LLP
                         1099 New York Avenue, NW
                         Suite 900
                         Washington, DC 20001
                         Telephone: (202) 639 -6000
                         Fax: (202) 639 -6066
                         kbracey @jenner.com
Case 1:17-cv-02989-AT Document 821-4 Filed 08/26/20 Page 80 of 175
    Case 1:18 -cv- 05391 -SCJ    Document 242 Filed 02/19/20   Page 4 of 8




                             Jeremy M. Creelan (Admitted pro hac vice)
                             Jeremy H. Ershow (Admitted pro hac vice)
                             JENNER & BLOCK LLP
                             919 Third Avenue
                            New York, New York 10022
                             Telephone: (212) 891 -1600
                            Fax: (212) 891 -1699
                            jcreelan @jenner.com
                            jershow @jenner.com

                            Von A. DuBose
                            DUBOSE MILLER LLC
                            75 14th Street N.E., Suite 2110
                            Atlanta, GA 30309
                            Telephone: (404) 720 -8111
                            Fax: (404) 921 -9557
                            dubose @dubosemiller.com

                                Johnathan Diaz (Admitted pro hac vice)
                                Paul M. Smith (Admitted pro hac vice)
                                CAMPAIGN LEGAL CENTER
                                1101 14 St. NW Suite 400
                             Washington, DC 20005
                            Telephone: (202)736 -2200
                            psmith @campaignlegal.org
                            jdiaz@campaignlegal.org


                            Counsel for Fair Fight Action, Inc.; Care in
                            Action, Inc.; Ebenezer Baptist Church of Atlanta,
                            Georgia, Inc.; Baconton Missionary Baptist
                            Church, Inc.; Virginia- Highland Church, Inc.; and
                            The Sixth Episcopal District, Inc.
     Case 1:17-cv-02989-AT Document 821-4 Filed 08/26/20 Page 81 of 175
         Case 1:18 -cv- 05391 -SCJ Document 242 Filed 02/19/20 Page    5 of 8




                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF GEORGIA
                            ATLANTA DIVISION


FAIR FIGHT ACTION, et al.,

       Plaintiffs,

v.                                    Civ. Action No.   1:18 -cv- 05391 -SCJ


BRAD RAFFENSPERGER,
in his official capacity as
Secretary of State of the
State of Georgia, et al.,

       Defendants.



                  EXPERT REPORT OF J. ALEX HALDERMAN

                   Professor of Computer Science & Engineering
     Director, University of Michigan Center for Computer Security and Society
                               University of Michigan
                            Beyster Building, Room 4717
                                2260 Hayward Street
                             Ann Arbor, MI 48109 -2121


When Dr. Halderman sent the final report to counsel, he inadvertently omitted the
signature pages. Those pages are attached hereto.


February   18,   2020.
                                                 J.   Alex   alderman, Ph.D.
   Case 1:17-cv-02989-AT Document 821-4 Filed 08/26/20 Page 82 of 175
      Case 1:18 -cv- 05391 -SCJ Document 242 Filed 02/19/20 Page 6 of 8




      I declare   under penalty of the perjury laws of the State of Georgia and the

United States that the foregoing is true and correct, and that this declaration was

executed this 18th day of February, 2020 in Philadelphia, Pennsylvania.




                                          42
  Case 1:17-cv-02989-AT Document 821-4 Filed 08/26/20 Page 83 of 175
         Case 1:18 -cv- 05391 -SCJ Document 242 Filed 02/19/20 Page      7 of 8




                           CERTIFICATE OF SERVICE
   I   hereby certify that on this, the 19th day of February 2020, I electronically

filed the foregoing SUPPLEMENT TO THE EXPERT REPORT OF J.

ALEX HALDERMAN with the Clerk of Court using the CM/ECF system,

which will automatically send notification of such filing to Counsel of Record:


Chris Carr, Esq.
Attorney General
Dennis Dunn, Esq.
Deputy Attorney General
Russell Willard, Esq.
Senior Assistant Attorneys General
Georgia Office of the Attorney General
40 Capitol Square
Atlanta, GA 30334
Telephone: (404) 656 -3300
Fax: (404) 657 -8733
ccarr @law.ga.gov
ddunn @law.ga.gov
rwillard @law.ga.gov

Bryan Tyson, Esq.
Bryan Jacoutot, Esq.
Diane F. LaRoss, Esq.
Taylor English Duma LLP
1600 Parkwood Circle
Suite 200
Atlanta, GA 30339
Telephone: (678) 336 -7249
Fax: (404) 856 -3250
btyson @taylorenglish.com
bjacoutot@taylorenglish.com
dlaross @taylorenglish.com
  Case 1:17-cv-02989-AT Document 821-4 Filed 08/26/20 Page 84 of 175
      Case 1:18 -cv- 05391 -SCJ   Document 242   Filed 02/19/20   Page 8 of 8




Joshua Barrett Belinfante, Esq.
Brian Edward Lake, Esq.
Carey Allen Miller, Esq.
Vincent Robert Russo, Jr., Esq.
Alexander Denton, Esq.
Robbins Ross Alloy Belinfante Littlefield, LLC -Atl
500 Fourteenth Street, NW
Atlanta, GA 30318
Telephone: (678) 701 -9381
Fax: (404) 856 -3250
jelinfante@robbinsfirm.com
blake @robbinsfirm.com
 cmiller@robbinsfirm.com
vrusso @robbinsfirm.com
 adenton @robbinsfirm.com




                                      /s/ Leslie J. Bryan
                                      Leslie J. Bryan
                                      Georgia Bar No. 091175
                   Case 1:17-cv-02989-AT Document 821-4 Filed 08/26/20 Page 85 of 175
  2/18/2020                                                                    EVN 2019 Conference     - EVN

                                   ELECTION

                SIN                VERIFICATION
                                   NETWORK




                  HOME             OUR STORY                HOW WE WORK                  ASK AN ELECTIONS EXPERT

                  RESOURCES AND EVENTS

               DONATE
                                                     aI a   v r as sC7           VP.a   av    a. v v vra r. v v v v. a, a.a aCI,
          and Auditing Our Elections
          The Election Verification Network 2019 Annual Conference will be held March 13 -15 in
          Washington          DC at George         Washington University.


          Join us for a stimulating and timely conference that will also feature keynote speeches on the
         top election security issues. Attendance at EVN 2019                                is by   invitation. Please contact us for more
          information.


         Session topics will include: Federal legislation on election security, election integrity litigation

         in the states, cyber infrastructure and election security, audit experiences- 2018, WSG and

         standards, second generation election technology.


         The conference will be held Thursday March 14                            - Friday, March 15 8:30am to 5:30pm at the
         George Washington University School of Engineering and Applied Science, 800 22nd Street,

         NW, Washington, DC 20052 (Google Maps)


         Welcome reception: Wednesday March 13 at 5pm at the Churchill Hotel Kalorama Room, 914
         Connecticut Avenue NW, Washington                          DC      (Google Maps).




         Agenda
         This program may be subject to change

         Download the program agenda (Word)
         List of attendees with bios (PDF)                                                                 EXHIBIT


                                                                                                     -25 -Z       -1,
https //electionverification.org /resources -events/evn-2019 -conference/
     :
                                                                                                                                              1/8
                     Case 1:17-cv-02989-AT Document 821-4 Filed 08/26/20 Page 86 of 175
2/18/2020                                         EVN 2019 Conference - EVN


         The entire program will be live- streamed and recorded.

         Join the live stream starting at 8:15am March 14




         Wednesday, March                                               13

         5pm     -   7pm Welcome Reception (at the Churchill Hotel, open to all conference registrants)




         Thursday, March 14
         7:45am Check-in and Breakfast


         8:15am Welcome and Introductions
         Liz Howard, The Brennan Center for Justice

         Poorvi Vora, George Washington University


         8:30am Opening Remarks by U.S. Senator Ron Wyden, D- Oregon
         Introduced by Greg Miller, Open Source Election Technology (OSET) Institute
         Senator Wyden's biography (PDF)


         9:00am Break


         9:15am Remarks by David Sanger, National Security Correspondent, The New York Times
         and author of "The Perfect Weapon: War, Sabotage and Fear in the Cyber Age."
         Introduced by Poorvi Vora, George Washington University
         David Sanger's biography (PDF)


         10:00am Break


         10:15am Federal Legislation on Election Security
         Election security continues to garner much attention in the 116th Congress. Staff for the
         lawmakers leading the way on federal election security reform will discuss the aims and options
         key lawmakers are weighing as they try to improve election security through federal legislation.




https / /electionverification.org /resources -events /evn- 2019- conference/
     :
                                                                                                            2/8
                  Case 1:17-cv-02989-AT Document 821-4 Filed 08/26/20 Page 87 of 175
2/18/2020                                                                      EVN 2019 Conference   - EVN
         Moderator: Susan Greenhalgh, National Election Defense Coalition
         Panelists: Jacob Barton, Senate Intelligence Committee (majority); Moira Bergen, House

         Homeland Security Committee (majority); Lindsey Kerr, Senate Rules Committee (minority)


         11:30am Break


         11:45am Election Integrity Litigation in the States
         What's at stake nationally for election integrity in the litigation pending in Georgia and South

         Carolina, and why every EVNer will want to follow it closely.
         Moderator: Candice Hoke, Cleveland -Marshall College of Law and Center for
         Cybersecurity & Privacy Protection
         Panelists: Bruce Brown, Esq., Bruce                       P.   Brown, Law, LLC; Max Feldman, Brennan Center for

         Justice; Larry Schwartztol, Protect Democracy


         1:00pm Lunch
         Announcement by Joe Kiniry and Dan Zimmerman, Galois and Free & Fair


         1:45pm Usability and Voter Verification
         Security often comes with a usability price. What are the issues arising from usability and
         accessibility that are pertinent to the ability of voters to verify their paper records?
         Moderator: Matt Bernhard, University of Michigan, Ann Arbor
         Panelists: Josh Benaloh, Microsoft Research; Michelle Bishop, National Disability Rights
         Network;       J. Alex     Halderman, University of Michigan, Ann Arbor


         3:00pm Break


         3:15pm Next Generation Voting Systems
         This panel will discuss the current landscape                         of voting technology, discussing aspects of the
         security, accessibility, and usability of newer systems. The goal is to understand how
         recommendations made by the verifiable election community impact voting technology in
         practice, so we can better tailor our security and verifiability recommendations to make them
         more likely to be adopted and meaningfully deployed in practice.




https //electionverification.org / resources -events /evn- 2019- conference/
     :
                                                                                                                                 3/8
                     Case 1:17-cv-02989-AT Document 821-4 Filed 08/26/20 Page 88 of 175
     2/18/2020                                                                 EVN 2019 Conference   - EVN
              Moderator: Matt Bernhard, University of Michigan, Ann Arbor
             Panelists: Tina Barton, City of Rochester Hills, MI; Dana DeBeauvoir, Travis
                                                                                          County, TX;
             Eddie Perez, Open Source Election Technology (OSET) Institute


             4:30pm Break

            4:45pm Annual EVN Awards
            Chairperson: Susannah Goodman, Common Cause
            Committee: Eddie Hailes, Advancement Project; Mark Lindeman, Verified Voting;
            Noel Runyan, Personal Data Systems; Poorvi Vora, George Washington
                                                                               University
            Award descriptions
            Previous award winners


            2019 award winners


                 Public Service for Improved Elections Award
                 Neal Kelley

                 John Gideon Memorial Election Advocacy Award
                 Neal McBurnett

                 Innovation Award
                 Mayuri Sridhar and Kettle Ottoboni

                 Election Integrity Research Excellence Award
                 Rebecca Mercuri

                 Journalism Award
                 Eric Geller

                 Full Tilt Advocacy Achievement Award

                 Luther Weeks

               Long -Term Contributor Award

               Susan Dzieduszcka -Suinat


         5:45pm Buffet Dinner


         8:00pm Bus departs from George Washington University                               SEAS to The      Churchill Hotel
https ://electionverification.org/ resources -events /evn -2019- conference/
                                                                                                                               4/8
                     Case 1:17-cv-02989-AT Document 821-4 Filed 08/26/20 Page 89 of 175
     2/18/2020
                                                                               EVN 2019 Conference   - EVN




             Friday, March 15
             8:15am Check-in and Continental Breakfast


             8:45am Announcements


             9:00am Opening Keynote -                      U.S. Congressman         Jamie Raskin, Maryland 8th Congressional
             District
            Election Vendor Security Act
            Introduced by Senator William                     C.   Smith, Jr., MD
            Representative Raskin's biography. (PDF)


            9:45am Break


           10:00am Keynote- Suzanne Spaulding, Senior Adviser for Homeland
                                                                                 Security and Director of
           the Defending Democratic Institutions Project, International Security
                                                                                 Program, Center for
           Strategic and International Studies (CSIS)
           Introduced by Poorvi Vora, George Washington University
           Suzanne Spaulding's biography. (PDF)


           10:30am Break


          10:45am The Role of the Election Assistance Commission in Election
                                                                             Integrity
          Moderator: Liz Howard, The Brennan Center for Justice
          Panelists: EAC Commissioner Thomas Hicks; EAC Commissioner
                                                                     Benjamin Hovland; EAC
          Commissioner Donald Palmer
          EAC    slides


         11:30am Break




https / /electionverification.org /resources -events /evn- 2019-
     :
                                                                 conference/
                                                                                                                               5/8
                     Case 1:17-cv-02989-AT Document 821-4 Filed 08/26/20 Page 90 of 175
    2/18/2020                                                                   EVN 2019 Conference   - EVN
               11:45am WSG Standards and Certification
               This panel will discuss the Voluntary Voting Systems Guidelines (WSG),
                                                                                      Common Data Formats
               (CDF's), and other standards for election systems and data, as well as federal and
                                                                                                  state
             certification for standards compliance.
             Moderator: John McCarthy, Verified Voting
            Panelists: Joe Kiniry, Free & Fair and Galois; Sindhu Ramachandran, Pennsylvania Dept. of
            State; John Wack, NIST


            12:45 pm Lunch


            1:25pm Milestones in Post-Election Tabulation Audits
           In the last year, several states broke new ground in post- election auditing                         - more than fit on one
           panel! We'll hear about risk-limiting audit pilots in Virginia, Michigan, and Rhode Island, plus
           Wisconsin's first-ever pre- certification audit. What was learned, and how can we build on
                                                                                                       the
           progress?

           Moderator: Mark Lindeman, Verified Voting
           Panelists:                                  City of Fairfax, VA; Karen McKim, Wisconsin Election Integrity;
           Miguel Nunez, Rhode Island Board of Elections; Ronald                             L.   Rivest, Massachusetts Institute of
           Technology (MIT)
           Karen McKim's slides


          2:25pm Break


          2:35pm Voter Registration Databases and the Security of Voter Registration
          US voter registration systems have been actively targeted by foreign
                                                                               adversaries in recent
          elections. This panel explores threats related to voter registration systems and defensive
                                                                                                     controls
          that can be used to strengthen VRDB security.
          Moderator: Josh Franklin, Outstack Technologies
          Panelists: Dr. Beata Martin -Rozumilowicz, International Foundation for Electoral Systems
         (IFES); John Dziurlaj, Turnout LLC

         Josh Franklin's slides
         John Dziurlaj's slides
         Dr.    Martin -Rozumilowicz' slides


https / /electionverification.org / resources -events /evn- 2019- conference/
     :



                                                                                                                                         6/8
                   Case 1:17-cv-02989-AT Document 821-4 Filed 08/26/20 Page 91 of 175
  2/18/2020                                                                   EVN 2019 Conference   - EVN
           3:35pm Break


          3:45pm Partnerships and Progress
           This panel will discuss the progress made in the effort to make our elections more secure and the

          various partnerships between election security experts and advocates, election officials and
          national security officials.
          Moderator: Doug Kellner, New York State Board of Elections
          Panelists: Monica Childers; Matt Masterson, U.S. Department of Homeland Security; Maurice
          Turner, Center for Democracy and Technology


          5:00pm Close and toast
          Eddie Hailes, Jr., Advancement Project


          5:45pm Bus departs for The Churchill Near Embassy Row




         Travel
         The Churchill Hotel near Embassy Row is the official hotel of the 2019 EVN conference and will

         offer rooms to attendees at the conference rate of $199 plus tax until the room block                                is   full or
         Friday February 15. Please follow this link:                         EVN DC- Web      Link Churchill Hotel   DC   or call 800-
         424 -2464 or 201- 797 -2000 ask for group reservations and request the EVN Conference rate.


         The University is approximately                     1   mile from the hotel. EVN will provide a bus once in the
         morning from the hotel to the conference and once in the afternoon from the conference to the
         hotel. Attendees also may secure their own transportation to and from the University.




         This conference is sponsored in part by




https //electionverification.org /resources -events /evn- 2019- conference/
     :
                                                                                                                                             7/8
                   Case 1:17-cv-02989-AT Document 821-4 Filed 08/26/20 Page 92 of 175




                 r
 2/18/2020                                                                     EVN 2019 Conference   - EVN



                                Microsoft

                    t eti fiedvotin g
             Our Goal: A truly secure election system




                              OOSET
                                     INSTITUTE




         I    Search EVN


              Enter Keywords                                               Q




                                                      Email Us: info @electionverification.org



                                        Copyright © Election Verification Network 2019. All Rights Reserved.

                            Home      / Our Story /          How we work       / Ask an Elections Expert / Resources and Events




https //electionverification.org / resources -events /evn- 2019- conference/
     :                                                                                                                            8/8
                   Case 1:17-cv-02989-AT Document 821-4 Filed 08/26/20 Page 93 of 175
2/18/2020                                           Our Story - EVN

                                              HOME    OUR STORY       HOW WE WORK     ASK AN ELECTIONS EXPERT   RESOURCES AND EVENTS
                          EI.ECrwN
                         VER rICA Ti ON
                         NETWORK          DONATE




          Just over a decade ago, a small group of election -related professionals concerned with the integrity
          and improvement of U.S. voting systems considered the potential of a gathering place for leaders,
          experts and policy makers...one where they could exchange information, collaborate on ideas, share
          challenges and solutions, and serve as a trusted advisory resource for those responsible for local,
          statewide, and national elections. Out of that concept, the Election Verification Network (EVN) was
          born. Our mission includes two interwoven goals: to support and maintain voting that is accessible,
          private, reliable, and secure; and elections that are transparent, accurate, and verifiable.




                 Who We Are & What We Do

                 Over time, we have grown to include over 200 participants, including computer scientists,
                 election officials, voting activists, political scientists, attorneys, and others whose expertise
                 reflects the many facets of contemporary voting. EVN involvement is invitation -only, and our
                 participants are rigorously nonpartisan, working effectively together across disciplines and
                 opinions, unraveling the complexities that a sometimes divisive and increasingly tech -
                 enabled and tech-vulnerable world presents.




                 Participants             no Jurisdictions        2    University Affiliations     ® Organizations



              EVN participants are associated with a wide range of organizations *.
              *These institutions do not directly participate in EVN, and no endorsement is implied.

                  Advancement Project

                  Brennan Center for Justice at NYU School of Law

                  California Voter Foundation

                  Center for Voting Technology Research (VoTeR Center)

                  Citizens' Alliance for Secure Elections, Ohio

                  Citizens for Election Integrity Minnesota

                  Coalition for Peace Action

                  Coalition for Voting Integrity, Pennsylvania

                  Coloradans for Voting Integrity

                  Common Cause


https://electionverification.org/our-story/                                                                                            1/3
                    Case 1:17-cv-02989-AT Document 821-4 Filed 08/26/20 Page 94 of 175
 2/18/2020                                                                             Our Story   - EVN
                    Common Cause New Mexico

                    CTVotersCount

                    E   -Voter Education Project

                    Elections By the People

                    Electronic Frontier Foundation

                    Florida Voters Foundation

                    Galois

                    Helios Voting

                    Humboldt County Election Transparency Project

                    Humphrey School of Public Affairs Program For Excellence in Election Administration

                   International Foundation for Electoral Systems

                   Lawyers' Committee for Civil Rights Under Law

                   Mary Berryman Agard & Associates

                   Microsoft Research

                   National Coalition on Black Civic Participation

                   National Conference of State Legislatures

                   National Institute of Standards and Technology

                   North Carolina Coalition for Verified Voting

                   Open Source Digital Voting Foundation

                   Overseas Vote Foundation

                   Public Interest Pictures

                   SAVE    Our Votes: Secure, Accessible, Verifiable Elections for Maryland

                   South Carolina Progressive Network

                   Texas Safe Voting Coalition

                   United Voters of New Mexico

                   Usability in Civic Life

                  Verified Voting Foundation

                  VotePA

                  Voter Action

                  VotersUnite




                          Election Integrity
                         Election integrity is at the root of every conversation we have, every question we discuss, e\
                         concern that an official or administrator brings to Ask Our Election Experts. We are working
                         toward a future of maximum voter participation, unimpeded by practices or systems that d
                         any voter or group of voters from exercising their right to weigh in on elections and issues.

https://electionverification.org/our-story/                                                                          2/3
                       Case 1:17-cv-02989-AT Document 821-4 Filed 08/26/20 Page 95 of 175
 2/18/2020                                                                                       Our Story       - EVN
                "I have not seen a more diverse, dedicated, passionate, nor capable group of people committed to protecting that mo
                basic right of democracy, the right of the people to vote"

                    Mark Earley,

                    Supervisor of Elections, Leon County Florida




             Funding
             The Election Verification Network is self- funded, largely from donations received during our annual
             "Twelve Days of Giving" campaign, which runs from "Giving Tuesday" to mid -December. Significant
             donors from the campaign are recognized through our "Champions of Giving" program.
             (Donations are welcome at any time during the year.)




         I    Search EVN



                                                                                       Q




                                                                          Email Us: info @electionverification.org



               Copyright © Election Verification Network 2019. All Rights Reserved.   Home   /   Our Story   /   How we work   /   Ask an Elections Expert /   Resources and Events




https://electionverification.org/our-story/                                                                                                                                           3/3
         Case 1:17-cv-02989-AT Document 821-4 Filed 08/26/20 Page 96 of 175




         U.S. House Appropriations Subcommittee on Financial Service and General Government
                "Election Security: Ensuring the Integrity of U.S. Election Systems"
                                         February 27, 2019

                                    Statement of Dr. J. Alex Halderman
                Professor of Computer Science and Engineering, University of Michigan
                     Director, Michigan Center for Computer Security and Society

 Chairman Quigley, Ranking Member Graves, and distinguished members, thank you for the
 opportunity to testify about this urgent matter of national security.

 Three years ago, the United States Presidential election was attacked. Hackers penetrated
 political campaigns and leaked internal communications online, they manipulated social media in
 an effort order to sow discord, and they targeted our election infrastructure, including voter
 registration systems in at least 18 states. These attacks were about more than undermining voter
 confidence. In the assessment of the Director of National Intelligence, they marked a "significant
 escalation" of foreign "efforts to undermine the U.S. -led liberal democratic order")

 After two years of investigation by Congress and the intelligence community, we know that the
 attackers had the capability to do even more damage than they did. The Senate Select Committee
 on Intelligence has concluded that in some states, attackers "were in a position to, at a minimum,
 alter or delete voter registration data. "2 Had they done so (and had it gone undetected), there
 would have been widespread chaos on Election Day, as voters across the vulnerable states
 showed up to the polls only to be told they weren't registered. We were spared such a blow to the
 foundations of American democracy only because Russia chose not to pull the trigger.

Next time, things could be much worse, and it's not just voter registration systems that are at
risk: the nation's voting machines are stunningly vulnerable to attacks that could sabotage the
voting process or even invisibly alter tallies and change election outcomes. I know because I
have developed such attacks myself as part of over a decade of research into election security
threats and defenses.' Last fall, Chairman Quigley and Representative Katko invited me to
demonstrate such an attack at a briefing on Capitol Hill. I brought a touch -screen voting machine
used in 18 states, and we held a small mock election. I remotely hacked the voting machine to
steal both Congressmen's votes and changed the election winner.'




  Office of the Director of National Intelligence, "Assessing Russian Activities and Intentions in Recent US
Elections ", January 2017. https: //www.dni.gov /files/documents/ICA_2017_01.pdf
2 U.S. Senate Select Committee on Intelligence, "Russian Targeting of Election Infrastructure During the 2016

Election: Summary of Initial Findings and Recommendations", 2018.
https: / /www. burr. senate. gov /imo/media /doc/RussRptlnstlmt l- %20ElecSec%20Findings,Recs2.pdf
3 My curriculum vitae and research publications are available online at https: / /alexhalderman.com.
4
  I demonstrated a similar attack for The New York Times, as shown in this video:
https //www.nytimes. com/video /opinion/100000005790489/i-hacke d-an-electi on-so-can-the-rus s i an s.html
     :




                                                                                                          EXHIBIT
                                                         1


                                                                                                    hat
                                                                                                     L2 N
         Case 1:17-cv-02989-AT Document 821-4 Filed 08/26/20 Page 97 of 175




     This level of vulnerability is endemic throughout our election system. Cybersecurity
                                                                                          experts
     have studied a wide range of U.S. voting machines, and in every case, we've found
                                                                                        problems that
     would allow attackers to sabotage machines and alter vote tallies.'

     Some people think that the decentralized nature of the U.S. voting system and the fact
                                                                                              that voting
     machines aren't directly connected to the Internet make interfering in a state or national
                                                                                                election
     impossible. Unfortunately, that isn't true. Some election functions are actually quite centralized,
     and our election infrastructure is not as distant from the Internet as it may seem.

    Before every election, voting machines and optical scanners need to be programmed with
                                                                                               the
    design of the ballot, the races, and candidates. Election workers create this programming
                                                                                              on a
    central computer called an election management system, then transfer it to voting
                                                                                        machines using
    USB sticks or memory cards. Hackers who compromise an election management system
                                                                                              can
    hijack the ballot programming process to spread a voter -stealing attack to large numbers of
    machines.

    Election management systems are often not adequately protected, and they are not always
    properly isolated from the Internet. Moreover, a small number of election technology vendors
    and support contractors program and operate election management systems used by many
                                                                                                local
    governments. The largest of these services over 2000 jurisdictions spread across 34 states.
    Attackers could target one or a few of these companies and spread an attack to election
    equipment that serves millions of voters.

    Furthermore, in close elections, decentralization can work against us. An attacker can probe the
    most important swing states or swing districts for vulnerabilities, find the areas that have the
    weakest protection, and strike there. In a close election, changing a few votes may be enough
                                                                                                     to
    tip the result, and attackers can choose where-and on which equipment -to steal
                                                                                          those votes.
    Fortunately, we know how to better defend election infrastructure and protect it from
    cyberattacks in 2020 and beyond. There are three essential measures:

        1.   First, we need to replace obsolete and vulnerable voting equipment, such as paperless
             systems, with optical scanners and paper ballots     -atechnology that 30 states already use
             statewide. Paper ballots provide a resilient physical record of the vote that simply can't
             be compromised by a cyberattack.

       2.    Second, we need to consistently check that our election results are accurate, by inspecting
             enough paper ballots to tell whether the computer results from the optical scanners are
             right. This can be done with what's known as a risk -limiting audit (RLA). Such audits
                                                                                                       are
             a common -sense quality control. By manually checking a random sample
                                                                                         of the ballots,
             officials can quickly and affordably provide high assurance that the election outcome is
             correct.


5 For an accessible introduction to election cybersecurity, see my online course,
                                                                                  Securing Digital Democracy, which
is available for free on Coursera: https:// www.coursera.org/learn/digital-
                                                                       democracy.


                                                         2
        Case 1:17-cv-02989-AT Document 821-4 Filed 08/26/20 Page 98 of 175




        3.   Lastly, we need to raise the bar for attacks of all sorts -including both vote tampering
             and sabotage-by applying cybersecurity best practices to the design of voting equipment
             and registration systems and to the operation of computer systems at election offices.

    These are not simply my recommendations.' Paper ballots, manual audits, and security best
    practices are a prescription endorsed by the overwhelming majority of election security experts,
    and by the National Academies of Science, Engineering, and Medicine.7'8 These measures are
    also widely favored by election officials.

    Many states have begun to implement these improvements using the $380 million in election
    cybersecurity funding that Congress appropriated last year. According to the Election Assistance
    Commission, states intend to use 36% of this funding ($136 million) for cybersecurity
    improvements, 28% ($103 million) for purchasing new voting equipment, and 6% ($21 million)
    for improving election audits.' These are necessary, appropriate, and urgent priorities.

    However, much more needs to be done before Americans go to the polls in 2020. Although some
    states have made significant progress towards securing their election infrastructure, other have
    barely gotten started, and the nation as whole remains a patchwork of strength and weakness.

 In 2018, 41 states used voting machines that were at least a decade old, and some, including parts
 of Pennsylvania and New Jersey, used machines dating from around 1990. Forty -three states
 used machines that are no longer manufactured, forcing election officials to cannibalize old
 machines for spare parts or even turn to eBay. Twelve states10 still make widespread use of
 paperless direct -recording electronic (DRE) voting machines, which are impossible to reliably
 audit to detect potential errors or malfeasance. All of Georgia, for example, voted in November
 using the same model of vulnerable paperless DRE that I hacked in front of Chairman Quigley
 last fall. After years of underinvestment, America's election infrastructure is crumbling, and the
 $380 million can only serve as a down payment towards fixing it.

Many states would like to replace vulnerable and obsolete voting equipment before 2020, but
they are struggling to figure out how to pay for it. Pennsylvania, for instance, plans to switch
from insecure paperless machines to paper ballots, but the state's share of last year's HAVA

6  President Trump himself has consistently endorsed the use of paper ballots, both as a candidate and since taking
 office. He made the point well in 2016: "There's something really nice about the old paper -ballot system.
                                                                                                                      You don't
worry about hacking." http: //www.businessinsider.com/donald- trump- election- day- fox-news -2016 -11
  National Academies of Science, Engineering, and Medicine, "Securing the Vote: Protecting American
Democracy ", 2018. https: //www.nap.edu/catalog/25120/ securing-the- vote -protecting-american- democracy
6
  Additionally, the National Institute of Standards and Technology (NIST) has concluded that it is not possible to
effectively audit a voting system to detect and correct potential hacking without a voter -verified paper ballot.
9 U.S. Election Assistance Commission, "EAC Releases
                                                                 48 HAVA Grants State Plans, Budgets," August 2018.
https://www. eac. gov/ news/ 2018 /08/21 /state -- territories -plan-to- spend -maj ority -of-hava-grant -funds-on- election-sec
urity- system -upgrades/
10 The twelve states with large numbers of paperless DRE voting
                                                                          machines are: Delaware, Georgia, Indiana, Kansas,
Kentucky, Louisiana, Mississippi, New Jersey, Pennsylvania, South Carolina, Tennessee, and Texas. Eight
additional states use DREs with a voter -verifiable paper audit trail (VVPAT), an obsolete kind of paper backup:
Arkansas, California, Illinois, Ohio, North Carolina, Utah, West Virginia, and Wyoming. Verified Voting
                                                                                                                      maintains
an online database of the equipment in use in each locality: https: / /www.verifiedvoting.org /verifier /.


                                                               3
     Case 1:17-cv-02989-AT Document 821-4 Filed 08/26/20 Page 99 of 175




 funds was $13.5 million, only about 25% of the cost of implementing hand -marked paper ballots
 across the state. Georgia's share was $10 3 million, less than a third of what it needs just to
 replace its paperless machines. Without further federal assistance, we risk that new equipment
 and other critical improvements won't be in place for many years. With the 2020 election on the
 horizon-the next major target for foreign cyberattacks-we need to act before it's too late.

 What will it cost to fix the problem? The highest priority should be to replace DRE voting
 equipment nationwide with robustly auditable paper ballots.» This would cost about $370
 million, assuming an average of $7500 per precinct to acquire one ballot scanner and one
 accessible voting device.12 Under HAVA, funds are allocated to states mainly in proportion to
 voting -age population, rather than by type of existing equipment. If future funding were provided
 under the existing HAVA formula, I estimate that about $900 million in further appropriations
 would be needed to ensure that every state with DREs received at least 50% of the funds needed
 to replace them with hand-marked paper ballots and accessibility devices.

It's important to understand that states can choose from several kinds of voting equipment, and
that these choices greatly affect the overall cost and the security achieved. Fortunately, the most
cost effective approach is also the most secure: hand-marked paper ballots counted using optical
scanners.13 Some localities are opting instead to purchase ballot- marking devices (BMDs),
touchscreen computers that voters use to mark and print their ballots. Equipping a precinct with
BMDs for all voters costs about three times as much as using hand-marked paper ballots and
providing a dedicated accessibility device for voters with disabilities, and it's also less robust to
cyberattacks that render the equipment inoperable. Moreover, it has yet to be established whether
voters can reliably detect errors on BMD-printed ballots-which means that fraud could go
undetected if the BMDs are hacked to cause them to sometimes print the wrong selections.

In many states, there are no rules in place to prevent local governments from spending federal
funds on insecure and unauditable kinds of voting equipment. Some voting machine vendors
continue to market paperless DREs, as well as DREs with so- called "voter- verifiable paper audit
trails" (VVPATs)     -aroll of paper behind a pane of glass that briefly shows the voter's
selections. VVPATs are badly inferior to paper ballots, because the printouts are difficult for
voters to read and challenging for election officials to effectively audit. Localities purchasing
new DREs, whether or not they are equipped with VVPATs, will make it more difficult for states
to implement risk-limiting audits statewide. To ensure that taxpayer money is well spent,
Congress should prohibit federal funds from being used to purchase voting equipment that does
not provide a robustly auditable paper ballot.



 " Once paper ballots are in place, other vital security measures, such as performing risk -limiting audits, are
relatively inexpensive to implement. I estimate that performing risk-limiting audits in all federal races nationally
would cost less than $25 million per year on average.
12 For additional cost estimate data, see: Brennan Center and Verified Voting, "Federal Funds for Election Security:

Will They Cover the Cost of Voter Marked Paper Ballots ? ", March 2018. https / /www.brennancenter.org/sites/
                                                                               :

default/files/analysis/Federal_ Funds_ for_Election_Security_analysis.pdf
13
   Under HAVA, each polling place must also be equipped with an accessible device to assist voters with disabilities
in filling out their ballots.


                                                         4
   Case 1:17-cv-02989-AT Document 821-4 Filed 08/26/20 Page 100 of 175




Election cybersecurity is an urgent matter of national security. Under our time- honored system,
implementing the necessary defenses falls to states and local governments. We must not leave
them to face the threat of powerful foreign adversaries unaided. Congress should provide for the
common defense by equipping states with the resources they need to deploy robustly auditiable
paper ballots, risk-limiting audits, and other cybersecurity improvements. With your leadership,
elections in 2020 and beyond can be well secured, and voters will have good reason to have
confidence in the results. But if we delay action, I fear it is only a matter of time until a national
election result is disrupted or stolen in a cyberattack.




                                                  5
    Case 1:17-cv-02989-AT Document 821-4 Filed 08/26/20 Page 101 of 175




                    U.S. Senate Select Committee on Intelligence

                          Russian Interference in the 2016 U.S. Elections



                            Expert Testimony by
                             J. Alex Halderman
            Professor of Computer Science, University of Michigan


                                            June 21, 2017

Chairman Burr, Vice Chairman Warner, and members of the Committee, thank you for
 inviting me to speak today about the security of U.S. elections. I'm here to tell you not
just what think, but about concerns shared by hundreds of experts from across
            I



cybersecurity research and industry. Such expertise is relevant because elections -the
bedrock of our democracy-are now on the front lines of cybersecurity, and they face
increasingly serious threats. Our interest in this matter is decidedly non -partisan; our
focus is on the integrity of the democratic process, and the ability of the voting system to
record, tabulate, and report the results of elections accurately.

My research in computer science and cybersecurity tackles a broad range of security
challenges.' I study attacks and defenses for the Internet protocols we all rely on every
day to keep our personal and financial information safe. I also study the capabilities and
limitations of the world's most powerful attackers, including sophisticated criminal gangs
and hostile nation states. A large part of my work over the last ten years has been
studying the computer technology that our election system relies on.2 In this work,                    I



often lead the "red team," playing the role of a potential attacker to find where systems
and practices are vulnerable and learn how to make them stronger.

Iknow firsthand how easy it can be to manipulate computerized voting machines. As
part of security testing, I've performed attacks on widely used voting machines, and I've
had students successfully attack machines under my supervision.




' My  curriculum vitae and research publications are available online at https: / /jhalderm.com.
2 For  an accessible introduction to the security risks and future potential of computer voting technologies,
see my online course, Securing Digital Democracy, which is available for free on Coursera:
httbs: / /www. coursera.orq /learn /digital- democracy.

                                                                                    EXHIBIT
                                                                                                                1



                                                                               I} aatrtrtün-7
                                                                                             ACV
     Case 1:17-cv-02989-AT Document 821-4 Filed 08/26/20 Page 102 of 175




U.S. Voting Machines Are Vulnerable
As you know, states choose their own voting technology.' Today, the vast majority of
votes are cast using one of two computerized methods. Most states and most voters
use the first type, called optical scan ballots, in which the voter fills out a paper ballot
that is then scanned and counted by a computer. The other widely used approach has
voters interact directly with a computer, rather than marking a choice on paper. It's
called DRE, or direct-recording electronic, voting. With DRE voting machines, the
primary records of the vote are stored in computer memory.4

Both optical scanners and DRE voting machines are computers. Under the hood,
they're not so different from your laptop or smartphone, although they tend to use much
older technology-sometimes decades out of date.' Fundamentally, they suffer from
security weaknesses similar to those of other computer devices. know because I've         I




developed ways to attack many of them myself as part of my research into election
security threats.

Ten years ago,      was part of the first academic team to conduct a comprehensive
                     I


security analysis of a DRE voting machine. We examined what was at that time the
most widely used touch -screen DRE in the country,' and spent several months probing
it for vulnerabilities. What we found was disturbing: we could reprogram the machine to
invisibly cause any candidate to win. We also created malicious software- vote -stealing



3    many states, the technology in use even differs from county to county. Verified Voting maintains an
    In
online database of the equipment in use in each locality: https: //www.verifiedvoting.org /verifier
                                                                                                                /.

4 Some DREs also produce a printed record of
                                                   the vote and show        it briefly  to the  voter, using   a
mechanism called a voter-verifiable paper audit trail, or WPAT. While WPAT records provide a physical
record of the vote that is a valuable safeguard against cyberattacks, research has shown that
                                                                                                                WPAT
records are difficult to accurately audit and that  voters  often   fail to notice   if the  printed  record   doesn't
match their votes. For these reasons, most election security experts favor optical scan paper ballots.
See: S. Goggin and M. Byrne, "An Examination of the Auditability of Voter Verified Paper Audit
                                                                                                                   Trail
(WPAT) Ballots." In Proceedings of the 2007 USENIX/ACCURATE                    Electronic    Voting  Technology
Workshop, August 2007. Available at: http: / /www. accurate-voting.org /wp- content /uploads/2007/08/
evt07- goggin.pdf. See also: B. Campbell and M. Byrne, "Now Do Voters Notice Review Screen
Anomalies ?" In Proceedings of the 2009 USENIX/ACCURATE/IAVoSS Electronic Voting Technology
                                                                                                              (2009).pdf.
Workshop, August 2009. Available at: http: //chil. rice .edu/research /pdf/CampbellByrne EVT
5 In 2016, 43 states used computer voting machines
                                                         that were at least       10    years  old -close   to  the end of
                                                                        lacks  defenses     that  guard   against    more
their design lifespans. Older hardware and software generally
                                              and      Famighetti,     "America's      Voting   Machines    at  Risk,"
modern attack techniques. See: L. Norden            C.
Brennan Center, 2015. https: //www.brennancenter.org /publication /americas-voting- machines-risk.
See also: S. Checkoway, A. Feldman, B. Kantor, J. A. Halderman, E. W. Felten, and
 H. Shacham, "Can DREs Provide Long- Lasting Security? The Case of Return -Oriented
                                                                                                         Programming
                                                                                                     Electronic    Voting
and the AVC Advantage." In Proceedings of the 2009 USENIX/ACCURATE/IAVoSS
 Technology Workshop, August 2009. Available at: https:       / /jhalderm.com      /pub   /papers  /avc- evt09.pdf.
6 The machine was the Diebold AccuVote TS, which
                                                          is still used statewide in Georgia in 2017.


                                                                                                                             2
         Case 1:17-cv-02989-AT Document 821-4 Filed 08/26/20 Page 103 of 175




        code -that could spread from machine -to- machine like a computer virus, and silently
        change the election outcome.'

        Vulnerabilities like these are endemic throughout our election system. Cybersecurity
        experts have studied a wide range of U.S. voting machines -including both DREs and
        optical scanners -and in every single case, they've found severe vulnerabilities that
        would allow attackers to sabotage machines and to alter votes.' That's why there is
        overwhelming consensus in the cybersecurity and election integrity research
        communities that our elections are at risk.

    Cyberattacks Could Compromise Elections
    Of course, interfering ina state or national election is a bigger job than just attacking a
    single machine. Some say the decentralized nature of the U.S. voting system and the
    fact that voting machines aren't directly connected to the Internet make changing a state
    or national election outcome impossible. Unfortunately, that is not true.'

    Some election functions are actually quite centralized. A small number of election
    technology vendors and support contractors service the systems used by many local
    governments. Attackers could target one or a few of these companies and spread
    malicious code to election equipment that serves millions of voters.

Furthermore, in close elections, decentralization can actually work against us. An
attacker can probe different areas of the most important "swing states" for
vulnerabilities, find the areas that have the weakest protection, and strike there.10 In a
close election, changing a few votes may be enough to tip the result, and an attacker
can choose where -and on which equipment-to steal those votes. State and local
elections are also at risk.



7 A. J. Feldman, J. A. Halderman, and E. W. Felten, "Security Analysis of the Diebold AccuVote
                                                                                                        -TS Voting
Machine." In Proceedings of the 2007 USENIX/ACCURATE Electronic Voting Technology Workshop
(EVT), August 2007. The research paper and an explanatory video are available at: https: / /citp.princeton.
edu /research /voting /.
8
  For a partial bibliography of voting machine attack research, see: J. A Halderman, "Practical Attacks on
Real -world E- voting." In F. Hao and P. Y. A. Ryan (eds.), Real-World Electronic Voting: Design, Analysis
and Deployment, CRC Press, December 2016. Available at: https: / /jhalderm.com /pub /papers /ch7-
evoti ng- attacks -2016. pdf.
9  explained how attackers can bypass these obstacles in a recent congressional briefing: Strengthening
    I


Election Cybersecurity, May 15, 2017. The video is available at https //www.electiondefense.org /
                                                                          :


congressional-briefings- cvber- security /.
19 For a more detailed description of how adversaries
                                                          might select targets, see J. A. Halderman, "Want to
Know if the Election was Hacked? Look at the Ballots," November 2016, available at:
medi um.com /@j halderm/ want -to- know -if-the -election-was -hacked -look -at- the -ballots -c61
                                                                                                   a6113bOba.


                                                                                                                3
     Case 1:17-cv-02989-AT Document 821-4 Filed 08/26/20 Page 104 of 175




Our election infrastructure is not as distant from the Internet as it may seem." Before
every election, voting machines need to be programmed with the design of the ballot,
the races, and candidates. This programming is created on a desktop computer called
an election management system, or EMS, and then transferred to voting machines
using USB sticks or memory cards. These systems are generally run by county IT
personnel or by private contractors.12 Unfortunately, election management systems are
not adequately protected, and they are not always properly isolated from the Internet.
Attackers who compromise an election management system can spread vote -stealing
malware to large numbers of machines.13

Russian Attack Attempts: The Threats Are Real
The key lesson from 2016 is that hacking threats are real.

This month, we've seen reports detailing Russian efforts to target voter registration
systems in up to 39 states14 and to develop a capability to spread an attack from an
election technology vendor to local election offices.15 Attacking the IT systems of

11
    Fortunately, the U.S. has resisted widespread use of Internet voting-a      development that would paint a
 fresh bull's eye on our democratic system. I myself have demonstrated attacks against Internet voting
 systems in Washington, D.C., Estonia, and Australia. See:
 S. Wolchok, E. Wustrow, D. Isabel, and J. A. Halderman, "Attacking the Washington, D.C. Internet Voting
 System." In Proceedings of the 16th Intl. Conference on Financial Cryptography and Data Security,
 February 2012. Available at: https://jhalderm.com/pub/papers/dcvoting-fc12.pdf.
 D. Springall, T. Finkenauer, Z. Durumeric, J. Kitcat, H. Hursti, M. MacAlpine, and J. A. Halderman,
 "Security Analysis of the Estonian Internet Voting System." In Proceedings of the 21st ACM Conference
on Computer and Communications Security (CCS), November 2014. Available at: https://jhalderm.com/
pub/papers /ivoting- ccsl4.odf.
J. A. Halderman and V. Teague, "The New South Wales iVote System: Security Failures and Verification
Flaws in a Live Online Election." In Proceedings of the 5th International Conference on E- voting and
Identity, September 2015. Available at: https: //arxiv.org /pdf/1504.05646v2.pdf.
For a broader discussion of why secure Internet voting systems are likely decades away, see:
R. Cunningham, M. Bernhard, and J. A. Halderman, "The Security Challenges of Online Voting Have Not
Gone Away." IEEE Spectrum, November 3, 2016. http://spectrum .ieee.org /tech-talk/telecom /security /the-
securitv- challenges -of-online- voting- have -not -pone -away.
12 In my own state, Michigan, about 75% of counties outsource pre -election programming to a pair of

independent service providers. These are small companies with 10 -20 employees that are primarily in the
business of selling election supplies, including ballot boxes and "I Voted" stickers.
13 See, for example, J. Calandrino, et al., "Source Code Review of the Diebold Voting System," part of the

California Secretary of State's "Top -to- Bottom" Voting Systems Review, July 2007. Available at:
https://1halderm. com /pub /papers /diebold- ttbrO7. pdf.
14 M. Riley and J. Robertson, "Russian Cyber Hacks on U.S. Electoral System Far Wider Than Previously

Known." Bloomberg, June 13, 2017. https://www.bloomberg.com/ politics /articles /2017 -06-13 /russian-
breach- of-39- states -th reatens -futu re -u -s- elections.
15 M. Cole, R. Esposito, S. Biddle, and R. Grim, "Top- secret NSA Report Details Russian Hacking Efforts

Days Before 2016 Election." The Intercept, June 5, 2017. https: / /theintercept.com /2017/06/05 /top -secret-
nsa- report- details -russian -hacking- effort- days- before -2016- election /.


                                                                                                            4
     Case 1:17-cv-02989-AT Document 821-4 Filed 08/26/20 Page 105 of 175




vendors and municipalities could put the Russians in a position to sabotage equipment
on election day, causing voting machines or electronic poll books to fail, resulting in long
lines or other disruptions. The Russians could even have engineered this chaos to have
a partisan effect, by targeting localities that lean heavily towards one candidate or
another.

Successful infiltration of election IT systems also could have put the Russians in a
position to spread an attack to the voting machines and potentially steal votes. Although
the registration systems involved were generally maintained at the state level, and most
pre -election programming is performed by counties or outside vendors, counties tend to
be even less well defended than state governments. They typically have few IT support
staff and little, if any, cybersecurity expertise.

Another approach that the Russians might have been planning is to tamper with the
voting system in an obvious, easily discovered way, such as causing reporting systems
to send the news media incorrect initial results on election night. Even if the problem
was corrected and no actual votes were changed, this would cause uncertainty in the
results and widespread distrust of the system, which would injure our democratic
processes. If voters cannot trust that their votes are counted honestly, they will have
reason to doubt the validity of elections.16

I don't know how far the Russians got in their effort to penetrate our election
infrastructure, nor whether they interfered with equipment on election day. (As far as the
public knows, no voting equipment has been forensically examined to check whether it
was successfully attacked.) But there is no doubt that Russia has the technical ability to
commit widescale attacks against our voting system, as do other hostile nations. As
James Comey testified here two weeks ago, we know "They're coming after America,"
and "They'll be back. ""


Practical Steps to Defend Election Infrastructure
We must start preparing now to better defend our election infrastructure and protect it
from cyberattacks before the elections in 2018 and 2020. The good news is, we know
how to accomplish this. Paper ballots, audits, and other straightforward steps can make
elections much harder to attack.




16
   See, as one example, E. H. Spafford, "Voter Assurance." NAE The Bridge, December 2008.
https: / /www. nae.edu/ 19582/ BridgeNotingTechnologiesNoterAssurance .aspx.
17 Testimony of former FBI Director James B. Comey before the Senate Select Committee on Intelligence,

June 8, 2017.

                                                                                                     5
     Case 1:17-cv-02989-AT Document 821-4 Filed 08/26/20 Page 106 of 175




Ihave entered into the record a letter from over 100 computer scientists, security
experts, and election officials. This letter recommends three essential measures that
can safeguard U.S. elections:

        First, we need to replace obsolete and vulnerable voting machines, such as
        paperless systems, with optical scanners and paper ballots                     -a
                                                                         technology that
        36 states already use. Paper provides a resilient physical record of the vote' that
        simply can't be compromised by a cyberattack. President Trump made this point
        well shortly before the election in an interview with Fox News. "There's something
        really nice about the old paper -ballot system," he said. "You don't worry about
         hacking. You don't worry about all the problems that you're seeing. "19

        Second, we need to consistently and routinely check that our election results are
        accurate, by inspecting enough of the paper ballots to tell whether the computer
        results are right.2D This can be done with what's known as risk -limiting audits.21
        Such audits are a common -sense quality control.22 By manually checking a
        relatively small random sample of the ballots, officials can quickly and affordably
        provide high assurance that the election outcome was correct.

Optical scan ballots paired with risk -limiting audits provide a practical way to detect and
correct vote -changing cyberattacks. They may seem low -tech, but they are a reliable,
cost-effective defense.23

18 Of course, paper ballots can be tampered with too, by people handling them. Optical scan tabulation
                                                                                                             that both
has the advantage that it produces both paper and electronic records. As long as officials check
sets of records agree, it would be very difficult for criminals to alter the election outcome        without being
detected, whether by a cyberattack or by old- fashioned ballot manipulation.
19 See: http:// www.businessinsider.com /donald- trump- election-day-
                                                                              fox -news- 2016-11.
20 At least 29 states already require      some    form of post -election audit.  However, since the procedures in
most states are    not designed   as  a cyber    defense,  the  number   of ballots that are audited may be much too
low or geographically localized to reliably detect an attack. Some states also allow auditing by rescanning
paper ballots through the same potentially compromised machines. Results from paperless DRE voting
machines cannot be strongly audited, since there is no physical record to check. For state-by -state
details, see National Conference of State Legislatures, "Post- election Audits," June 2017. Available
                                                                                                                 at:
http: //www. ncsl.org/ research  /elections-   and  -campaigns/  post -election- audits635926066.aspx.
21 For a detailed explanation of risk -limiting audits,
                                                            see J. Bretschneider et al., "Risk- Limiting Post-Election
Audits:   Why   and How."   Available  at:  https: //www.stat. berkeley. edu /stark /Preprints/RLAwhitepaperl2.pdf.
New Mexico already requires something similar to a risk -limiting audit, and Colorado is implementing
risk -limiting audits starting in 2017. Risk -limiting audits have been tested in real elections in California,
Colorado, and Ohio.
22
   One of the reasons why post-election audits are essential is that pre -election "logic and accuracy"
testing can be defeated by malicious software running on voting machines. Vote -stealing code can be
designed to detect when it's being tested and refuse to cheat while under test. Volkswagen's
emission -control software did something similar to hide the fact that it was cheating during EPA tests.
23
   Former CIA director James Woolsey and Lt. Col. Tony Shaffer call for paper ballots and auditing in a
 May 12, 2017 op -ed in Fox News: "Ultimately, we believe the solution to election insecurity lies in

                                                                                                                     6
  Case 1:17-cv-02989-AT Document 821-4 Filed 08/26/20 Page 107 of 175




        Lastly, we need to raise the bar for attacks of all sorts- including both vote
        tampering and sabotage-by conducting comprehensive threat assessments and
        by applying cybersecurity best practices to the design of voting equipment24 and
        the management of elections.
                                                                                   would
These fixes aren't expensive. Replacing insecure paperless systems nationwide
                                                                            nationally for
cost between $130 million and $400 million.25 Running risk -limiting audits
federal elections would cost less than $20 million a year.26 These amounts are
vanishingly small compared to the national security improvement the investment buys.
                                                                                       and
Yet such measures could address a prime cyber challenge, boost voter confidence,
                                                                                     send
significantly strengthen a crucial element of our national security. They would also
a firm response to any adversaries contemplating interfering with our
                                                                        election system.

Election officials have an extremely difficult job, even without having to worry about
                                                                                    and
cyberattacks by hostile governments. The federal government can make prudent
cost -effective investments to help them defend our election infrastructure and uphold
voters' confidence. With leadership from across the aisle, and action in partnership with
the states, our elections can be well protected in time for 2018 and 2020.

Thank you for the opportunity to testify. look forward to answering any questions.
                                                       I




                                                                                                /opinion /2017/05/12/
President Reagan's famous old adage: `trust but verify'." http: //www.foxnews.com
                                                            -s- time  -to- beef-up- cybersecurity.   html.
america -s- voting -systems- need -security- upgrades -it
                                           voting  equipment       is  STAR  -Vote,  a collaboration     between security
24
   One notable effort to develop secure
                               County, Texas   elections    office.   STAR  -Vote integrates    a range    of modern
researchers and the Travis
                      end -to -end cryptography   and   risk  limiting   audits. See   S. Bell et  al., "STAR  -Vote: A
defenses, including
                                                                                              of  Election  Technology
Secure, Transparent, Auditable, and Reliable Voting System." USENIX Journal
                                                                                                         /evtwotel3 /Lets-
and Systems (JETS) 1(1), August 2013. https://www.usenix.org/ system /files/conference
0101-bell.pdf.
                                                                                                Voting Machines," June
25
   Brennan Center, "Estimate for the Cost of Replacing Paperless, Computerized
                                         sites /default /files /analysis   /New   Machines     Cost     Across Paperless
2017. https://www.brennancenter.org/
                                                                                                         voting equipment
Jurisdictions %20 %282 %29.pdf. This cost might be significantly reduced by developing
 based on open- source software and commercial off-the -shelf (COTS) hardware.
                                                                                                        to manually
26
   This estimate assumes that auditing a federal race will have an average cost similar
                                                            the   actual   number   of ballots that  must   be checked
 recounting 10% of precincts. In a risk -limiting audit,
 varies with, among other factors, the   margin   of victory.

                                                                                                                             7
Case 1:17-cv-02989-AT Document 821-4 Filed 08/26/20 Page 108 of 175




          COMMITTEE SENSITIVE - RUSSIA INVESTIGATION ONLY



          116TH CONGRESS        SENATE            REPORT
           1st Session                            116 -XX




                            REPORT
                               OF THE

          SELECT COMMITTEE ON INTELLIGENCE

                     UNITED STATES SENATE

                                ON

RUSSIAN ACTIVE MEASURES CAMPAIGNS AND JNTERFERENCE

                     IN THE 2016 U.S. ELECTION

      VOLUME    1:   RUSSIAN EFFORTS AGAINST ELECTION

                        INFRASTRUCTURE

                     WITH ADDITIONAL VIEWS




                                                                  EXHIBIT

                                 1

         COMMITTEE SENSITIVE - RUSSIA INVESTIGATION ONLY
  Case 1:17-cv-02989-AT Document 821-4 Filed 08/26/20 Page 109 of 175




               COMMITTEE SENSITIVE - RUSSIA INVESTIGATION ONLY


                                        CONTENTS

I. (U) INTRODUCTION                                                                            3
II. (U) FINDINGS                                                                               3
 III. (U) THE ARC OF RUSSIAN ACTIVITIES                                                         5
 IV. (U) ELEMENTS OF RUSSIAN ACTIVITIES                                                        10
    A. (U) Targeting Activity                                                                  10
    B. (U)'Russian Access to Election Infrastructure                                           21
       1. U Russian Access to Election Infrastructure: Illinois                                22
       2         Russian Access to Election Infrastructure:                                   24
    C.          Russian Efforts to Research U.S. Voting Systems, Processes, and Other Elements of
    Voting nfrastructure                                                                      28
    D.         Russian Activity Directed at Voting Machine Companies                          29
    E.          Russian Efforts to Observe Pollin Places                                      30
    F.                                                                                        32
    G.          Russian Activity Possibly Related to a Misinformation Campaign on Vot
                                                                                              32
    H. (U) Two Unexplained Events                                                             33
       1. (U) Cyber Activity in State 22                                                     33
       2. (U) Cyber Activity in State 4                                                      34
V. (U) RUSSIAN INTENTIONS                                                                    35
VI. (U) NO EVIDENCE OF CHANGED VOTES OR MANIPULATED VOTE TALLIES                             38
VII. (U) SECURITY OF VOTING MACHINES                                                         40
VIII. (U) THE ROLE OF DHS AND INTERACTIONS WITH THE STATES                                    46
   A. (U) DHS's Evolution                                                                     46
   B. (U) The View From the States                                                            49
   C. (U) Taking Advantage of DHS Resources                                                   52
IX. (U) RECOMMENDATIONS                                                                       54




                                               2
               COMMITTEE SENSITIVE - RUSSIA INVESTIGATION ONLY
     Case 1:17-cv-02989-AT Document 821-4 Filed 08/26/20 Page 110 of 175




                    COMMITTEE SENSITIVE - RUSSIA INVESTIGATION ONLY
                                Russian Efforts Against Election Infrastructure

       (U) INTRODUCTION

             (U) From 2017 to 2019, the Committee held hearings, conducted interviews, and
    reviewed intelligence related to Russian attempts in 2016 to access election infrastructure. The
    Committee sought to determine the extent of Russian activities, identify the response of the U.S.
    Government at the state, local, and federal level to the threat, and make recommendations on
    how to better prepare for such threats in the future. Ube Committee received testimony from
    state election officials, Obama administration officials, and those in the Intelligence Community
    and elsewhere in the U.S. Government responsible for evaluating threats to elections.

    II. (U) FINDINGS

                   The Russian government directed extensive activity, beginning in at least 2014
             d      n into at least 2017 a:ajnst U.S. election infrastructure' at the state and local
             VCL



                                          e ommittee has seen no evidence t at any votes were
            hanged or that any voting machines were manipulated.2

       2.




1 (U) The Department of Homeland Security (OHS) defines election infrastructure as "storage facilities, polling
places, and centralized vote tabulation locations used to support the election process, and information and
communications technology to include voter registration databases, voting machines, and other systems to manage
the election process and report and display results on behalf of state and local governments, according to the
January 6, 2017 statement issued by Secretary of Homeland Security Jeh Johnson on the Designation of Election
Infrastructure as a Critical Infrastructure Subsector, available at https://www.dhs.govinews/2017/10/06/statement-
secretary-johnson-designation-election-infrastructure-critical. Similarly, the Help America Vote Act (HAVA), Pub.
L. No. 107-252, Section 301(b)(1) refers to a functionally similar set of equipment as "voting systems," although the
definition excludes physical polling places themselves, among other differences, 52 U.S.C. §21081(b). This report
uses the term election infrastructure broadly, to refer to the equipment, processes, and systems related to voting,
tabulatin re ortin , and registration.
                              The Committee has reviewed the intelli ence re ortin underl ina the De artment of
     e an. ecurit            assessment from earl 2017

                                                                          T e Committee Inds it cre e.
  (U) ' e names o t e states t e Committee spo e to ave been replaced with numbers. OHS and some states
asked the Committee to protect state names before providing the Committee with information. The Committee's
goal was to get the most information possible, so state names are anonymized throughout this report. Where the
report refers to public testimony by Illinois state election officials, that state is identified.
                                                         3
                   COMMITTEE SENSITIVE - RUSSIA INVESTIGATION ONLY
Case 1:17-cv-02989-AT Document 821-4 Filed 08/26/20 Page 111 of 175




               CO      I`   'EE SENSITIVE   -   RUSSIA INVESTIGATION ONLY

  3. (U) While the Committee does not know with confidence what Moscow's intentions
     were, Russia may have been probing vulnerabilities in voting systems to exploit later.
     Alternatively, Moscow may have sought to undermine confidence in the 2016 U.S.
     elections simply through the discovery of their activity.

      (U) Russian efforts exploited the seams between federal authorities and capabilities, and
      protections for the states. The U.S. intelligence apparatus is, by design, foreign-facing,
      with limited domestic cybersecurity authorities except where the Federal Bureau of
      Investigation (FBI) and the Department nf8amcbnd8eouöty(DR8)cunwoc with state
      and local partners. State election officials, who have primacy inruoningc|ecik`nn,wrrc
      not sufficiently warned or prepared to handle an attack from a hostile nation-state actor.

 (U) DHS and FBI alerted states to the threat of cyber attacks in the late summer and fall
      of 2016, but the warnings did not provide enough information or go to the right people.
      Alerts were actionable, in that they phovided malicious Internet Protocol (IP) addresses to
      information technology (iT) professionals, but they provided no clear reason for states to
      take this threat more seriously than any other alert received.

 6. (U) In 2016, officials at all levels oygovcrnnent debated p/hnthcrpublicly
    acknowledging this foreign activity was the right course. Some were deeply concerned
    that public warnings might promote the very impression they were trying to dispel-that
    the voting systems were insecure.

 7.   (U) Russian activities demand renewed attention to vulnerabilities in U.O. voting
      infrastructure. In 2016, cybersecurity forc|cotora infrastructure at the state and local
      level was sorely lacking; for example, voter registration datmbuscawcrcnotauxeoun:uo
      they could have been, Aging voting equipment, particularly voting machines that had no
      paper record of votes, were vulnerable to exploitation by a committed adversary. Despite
      the focus on this issue since 2016, some of these vulnerabilities remain.

8.    (U) In the face of this threat and these security gaps, DHS has redoubled its efforts to
      build trust with states and deploy resources to assist in securing elections. Since 2016,
      DB3 has made great strides in learning how election procedures vary across states and
      how federal entities can he ofmost help to states. The U.S. Election Assistance
      Commission (BáC), the National Association of Secretaries nf State (NASS), the
      National Association of State Election Directors (NASED), and other groups have helped
      [)}{Q in this effort. DHS's work to bolster states' cybersecurity has likely been effective,
      in particular for those xrute$. that have leveraged Úll9`x            iiy assessments tor
      election infrastructure, but much more needs to be done to coordinate state, local, and
      federal knowledge and efforts in order to harden states' electoral infrastructure against
      foreign meddling.

9. (U) To assist in addressing these vulnerabilities, Congress in2U|8 appropriated S380
   million in grant money for the states to bolster cybersecurity and replace vulnerable


                                                4
             COMM           EB3EN8IT f\/E- RUSSIA INVESTIGATION ONLY
     Case 1:17-cv-02989-AT Document 821-4 Filed 08/26/20 Page 112 of 175



                        111.1111111.11111
                      COMMI I 1EE SENSITIVE                -   RUSSIA INVESTIGATION ONLY
            voting machines.4 When those funds are spent, Congress should evaluate the results and
            consider an additional appropriation to address remaining insecure voting machines and
            systems.

        10. (U) OHS and other federal government entities remain respectful of the limits of federal
            involvement in state election systems. States should be firmly in the lead for running
            elections. The country's decentralized election system can be a strength from a
            cybersecurity perspective, but each operator should be keenly aware of the limitations of
            their cybersecurity capabilities and know how to quickly and properly obtain assistance.

    III. (U) THE ARC OF RUSSIAN ACTIVITIES

                      In its review of the 2016 elections, the Committee found no evidence that vote
    tallies were altered or that voter registry files were deleted or modified, though the Committee
    and IC's insight into this is limited. Russian government-affiliated cyber actors conducted an
    unprecedented level of activity against state election infrastructure in the run-up to the 2016 U.S.
    elections

                                  Throughout 2016 and for several years before, Russian intelligence
    services and government personnel conducted a number of intelli ence-related activities
    targeting the voting process.
                                                 the Committee found ample evidence to suggest
    that the Russian government was developing and implementing capabilities to interfere in the
    2016 elections, including undermining confidence in U.S. democratic institutions and voting
    processes.5




  (U) Consolidated Appropriations Act, 2018, Pub. L. No. 115-141, 132 Stat. 348, 561-562.
5 (U) The Committee has limited information on the extent to which state and local election authorities carried out
forensic evaluation of registration databases. These activities are routinely can-led out in the context of private sector
breaches.
          FBI LI1M,
7
          FBI LHM,
                 OHS Homeland Intel ence Brie

           FBI LHM,
                                                               5
                   COMMITTEE SENSIT                    -   RUSSIA INVESTIGATION ONLY
     Case 1:17-cv-02989-AT Document 821-4 Filed 08/26/20 Page 113 of 175




                     COMMI1 I EE SENSITIVE - RUSSIA INVESTIGATION ONI..X




        IIIEvidence of scanning of state election systems first appeared in the summer
prior to the 2016 election. In mid-July 2016, Illinois discovered anomalous network activity,
specifically a large increase in outbound data, on a Illinois Board of Elections' voter re istry
website.I2 Workin with Illinois, the FBI commenced an investi ation.I3

                                                                      attack resulted in data exfiltration from
the voter egistration database.

        (U) On Au ust 18, 2016, FBI issued an unclassified FLASH" to state technical-level
experts on a set of     suspect IP addresses identified from the attack on Illinois's voter
registration databases.


                                                                                                   The FLASH
product did not attribute the attack to Russia or any o her particular actor.



10
               ) FBI Electronic Communication,
             FBI LE-1M,
     (U) DHS briefing for ssa staff, March 5, 2018.
13
     (U) SSC1 Transcript of the Open Hearing on Russian Interference in the 2016 U.S. Elections, held on Wednesday,
June 21,2017, p. 113.
14
     (11..)technique
is ' a
             According to the United         Computer Emergency Readiness Team (US-CERT),
                                         States
                     that attempts to subvert the relationship-between webpage
                                                                        a
                                                                                                SQL injection
                                                                                                   an
                                                                                 its supporting database,
                                                                                   and
typically in order to trick the database into executing malicious code,"
15 (U) DE-IS BR 4 0050006 17, An IP Address Targeted Multiple U.S. State Government's to Include Election




16

17
     (1.)
systealLetober 4, 2016
                DE-IS briefing for SSO staff, March 5, 2018.
  (U) FBI FLASH alerts are notifications of potential cyber threats sent to local law enforcement and private
industry so that administrators are able to guard their systems against the described threat. FLASEls marked TLP:
AMBER are considered sharable with members of the recipients own organization and those with direct need to
know.
                             umber T-LE) I004-TT,   TLP-AMBER,111111.111111111111.11111111111111
                             (U) Ibid.
     (U)
2t
R                                                                                                              wne cl

                                                          6
                    COMMITTEE SENSITIVE - RUSSIA INVESTIGATION ONLY
       Case 1:17-cv-02989-AT Document 821-4 Filed 08/26/20 Page 114 of 175




                       COMMI*1 FEE SENSITIVE - RUSS A
                                                      INVESTIGATION ON ,Y

               (            After the issuance ofthe August FLASH, the Department
      Security (DHS) and the Multi-State-Information Sharing &                            of Homeland
                                                                      Analysis Center (MS-ISAC)22 asked
      states to review their log fi)cotodetermine if the IP addresses
                                                                         described in the FLASH had
      touched their infrastructure. This request for voluntary
                                                                 self-reporting, in conjunction with DH8
      analysis ofNctF|ovvactivity on MS-ISAC internet sensors,
                                                                      identified another 20 states whose
      networks had made connections to at least one IP address
                                                                   listed on the PLASB.23 0B8 was
      almost entirely reliant on states to self-report scanning activity.




                                                                         Former Special Assistant to
   the President and Cybersecurity Coordinato Mi hael Daniel
                                                                  said, "eventually we get enough of
   a picture that we becomc confident over the course of
                                                          August of 2016 that we're seeing the
   Russians probe a whole bunch ofdifferent state election
                                                             infrastructure, voter registration
  databases, and other related infrastructure on u regular bouiu.° zx Dr.
                                                                          Samuel Liles, Acting
  Director of the Cyber Analysis Division within DHS's Office of
                                                                      Intelligence and Analysis
  (l&8),teotificdio the Committee on June 2],20l7, that "by late September, `ve determined that
  internet-connected election-related networks in 21 states were potentially
                                                                                targeted by Russian
  government oybcruutom.`` zo




      0)Tcx48-I 'ACwwDH                                  cu    to shartng information between state, locas, tribal, and
territorial (SLTT)              entities. It serves as the central cybersecurity resource for SLTT
Entities join to receive cybersecurity advisories and alerts, vulnerability                          governments.
                                                                             assessments, incident response assistance,
and other services.
"{                    |/m4nO5OVO6.An0" Address Targeted Multiple US. Sutie Govern,,wnrs to Include
Systems, cmhrr4,2Ol6¡D88 briefing for SSC|staff, March 5,2V|8.                                                  Election
 4
   (U) SSCI Transcript ofthe Interview with John Brennan, Former
                                                                        Director. CIA, held on Friday, June 23. 2017,
4].                                                                                                                     p.
25(U) SSCI Transcript of the Interview with Michael Daniel, Former
                                                                   Special Assistant to the President and
Cybersecurity Coordinator. National Security Council. held on Auzust 3|.20
                                                                            17,p.39.
16(U) SSCI Transcript ofthe Open Hearing on Russian Interference in
                                                                     the 2016 U.S. Elections, held on Wednesday.

                                                            7
                   COMMITITE SENSITIVE - RUSSIA INVESTIGATION ONLY
         Case 1:17-cv-02989-AT Document 821-4 Filed 08/26/20 Page 115 of 175




                       l             EE SENSITIVE   RUSSIA INVESTIGATION ONLY
              U   D8    ^Qd FBI   issued a second FI ASH andJoint
                                                               a                 in October that
flagged                    suspect IP addresses, many unrelate to Russia.27 DHS briefers told the
Committee that they were intentionally over-reporting out of an abundance of caution, given
their concern about the seriousness ofthe threat. DHS representatives told the Committee, "We
were very much at that point in a sort of duty-to-warn type of attitude . .. where maybe a specific
incident like this, which was unattributed at the time, wouldn't have necessarily risen to that
level. But . . . we were seeing concurrent targeting of other election-related and political figures
and political institutions      [which] led to what would probably be more sharing than we would
                                     .

                        ` zv
normally think todo.        °




                                DFIS assessed tha the searches, done alphabetically, probably
included all 50 states, and consisted of research on "general election-related web pages, voter ID
information, election system software and election service companies."3'




m
  U        8SCl interview with DHS and CT(IC Febr                  o'
m             F B(¿8
     |




m
`


                                SA                        May 5, 2017. '[his inlòrrnation was noi available to the

33




                                                      8
                       CO   mr TE SENSITIVE - RUSSIA INVESTIGATION ONLY
                                          11.111111110111111111111111
      Case 1:17-cv-02989-AT Document 821-4 Filed 08/26/20 Page 116 of 175




                     CO            ,E SENSITIVE      -   RUSSIA INVESTIGATION ONLY




                                                                                                   The
      Russian Embassy placed a formal request to observe the elections with the Department of State,
     but also reached outside diplomatic channels in an attempt to secure permission directly from
     state and local election officials. 37 In objecting to these tactics, then-Assistant Secretary of State
     for European and Eurasian Affairs Victoria Nuland reminded the Russian Ambassador that
     Russia had refused invitations to participate in the official OSCE mission that was to observe
     the U.S. elections.38




35
   (U) FBI IIR
36 (U) Ibid.
33-(U) DTS 2018-2152, SSC! Interview with Andrew McCabe, Former Deputy Director of the FBI, February 14.
2018. pp. 221-222.
38     Email, sent November 4, 2016; from         ; to:


                               . Su eject: Ks ya Protest o FBI Tactics.
     (U)                      DIRNSA, May 5, 2017.
40    LI   Ibid.
41




43


                                                         9
                    COMMITTEE SENSITIVE - RUSSIA INVESTIGATION ONLY
                                                111.111111111111111111111111111
      Case 1:17-cv-02989-AT Document 821-4 Filed 08/26/20 Page 117 of 175




                      COMMITTEE SENS
              (U) The Committee found rio cvdence ofRussian etors
                                                                      attempting to manipulate vote
     tallies on Election Day, though again the Committee and
                                                             IC's insight into this is limited.
                     In the years since the 2016 election, awareness
                                                                       ofthe threat, activity by DIIS, and
      measures at the state and local level to better secure
                                                             election infrastructure have all shown
      considerable improvement. The threat, however, remains
                                                                    imperfectly understood. In a briefing
      before Senators on August 22, 2018, DNI Daniel Coats,
                                                                 FBI Director Christopher Wray, then-
      DHS Secretary Kirstjen Nielsen, and then-DHS
                                                         Undersecretary for the National Protection and
     Programs Division Christopher Krebs told Senators that there
                                                                        were no known threats to election
     infrastructure. However, Mr. Krebs also said that top election
                                                                        vulnerabilities remain, including
     the administration of the voter databases and the
                                                         tabulation of the data, with the latter being a
     much more difficult target to attack,44 Relatedly, several
                                                                  weeks prior 1w the 2O\8mid-term
     election, DHS assessed that "numerous actors are regularly
                                                                     targeting election infrastructure,
     likely for different purposes, including to cause disruptive
                                                                   effects, steal sensitive data, and
     undermine confidence in the election."45




 IV. (U) ELEMENTS OF RUSSIAN ACTIVITIESS

       A. (U) Targeting Activity

                        Scanning of election-related state infrastructure by Moscow was the most
 widespread activity t e IC and DHS elements observed in the run up to the
                                                                              2016 election."
                     n an interview with the Committee, Mr. Daniel stated:
                                                                             "What it mostly looked
           \i  to us was reconnaissance. .    I would have characterized it
                                              .   .
                                                                            at the time as sort of
           conducting the reconnaissance to do the network mapping, to do the
                                                                                 topology mapping so




44
              18-3275, Summary of 8/22/2018 All Senators Election Security
°W            Homeland Security Intelligence Assessment: Cyber Actors
                                                                           Brief-ma, August 28. 2018.
                                                                       Continue to Engage in Influence
Actkìtìes and Targeting ofElection Infrastructure, October I, 2018.
                                                          I

^^{0}DT82O|9'|]ú8,MC2O}9'V|. Intelligence Community
                                                             Assessment: A Summary or the Intelligence
Community Reporton Foreign Interfèrenceas Directed by Executive Order
                                                                         13848. March 29, 2019. p. 2'3.
47 (U) Ibid.
^«(0)SSC| interview
                    u[np,eoentuhveshnmD8SundCl]{C,F*hmvryZ7.2OlV.p.               12.
                                             10
                  COMMITTEE SENSITIVE - RUSSIA INVESTIGATION ONLY
     Case 1:17-cv-02989-AT Document 821-4 Filed 08/26/20 Page 118 of 175




                     COMMITTEE SENSITIVE                -   RUSSIA INVESTIGATION ONLY
          that you could actually understand the network, establish a presence so you could conic.
          back later and actually execute an operation."'"

         (U) Testifying before the Committee, Dr. Liles characterized the activity as "simple
         scanning for vulnerabilities, analogous to somebody walking down the street and looking
         to see if you are home. A small number of systems were unsuccessfully exploited, as
         though somebody had rattled the doorknob but was unable to get in ... [however] a small
         number of the networks were successfully exploited. They made it through the door."50

                         DHS and FBI assessments on the number of affected states evolved since
 2016. In a joint FBI/DHS intelligence product published in March 2018, and coordinated with
 the Central Intelligence Agency (CIA), the Defense Intelligence Agency (DIA), the Department
 of State, the National Intelligence Council, the National Security Agency (NSA), and the
 Department of Treasury, DHS and FBI assessed                           that Russian intelligence
 services conducted activity




                  DHS arrived at their initial assessment by evaluating whether the tactics,
         techniques, and procedures (TTPs) observed were consistent with previously observed
         Russian TTPs, whether the actors used known Russian-affiliated malicious infrastructure,
         and whether a state or local election system was the target.53

         (U) The majority of information examined by DI-IS was provided by the states
         themselves. The MS-ISAC gathered information from states that noticed the suspect IPs
         pinging their systems. In addition, FBI was working with some states in local field
         offices and reporting back FBI's findings.

         (U) If some states evaluated their logs incompletely or inaccurately, then DNS might
         have no indication of whether they were scanned or attacked. As former-Homeland
         Security Adviser Lisa Monaco told the Committee, "Of course, the law enforcement and
         the intelligence community is going to be significantly reliant on what the holders and




49
   (U) SSCI Transcript of the Interview of Michael Darnel, Former Assistant to the President and Cybersecurìty
Coordinator, National Security Council, August 31, 2017, p. 44.
50 (U) SSCI Transcript of the Open Hearing on Russian Interference in the 2016 U.S. Elections, held on Wednesday,
June 21 2017    .13.
SI
                DHS/FBI Homeland Intelligence Brief,


 -     See c art, in ra. for information on successful breaches.
53(U) DHS did not count attacks on political parties, political organizations, or NGOs. For example, the compromise
of an email affiliated with a partisan State 13 voter registration organization was not included in DHS's count.
                                                            li
                    COMMITTEE SENSITIVE             -   RUSSIA INVESTIGATION ONLY
       Case 1:17-cv-02989-AT Document 821-4 Filed 08/26/20 Page 119 of 175




                       COMMI 1EE SENSITIVE
                                  I                      -   RUSSIA INVESTIGATION ONLY
             owners and operators of the infrastructure sees on its systm [sic] and deoidea to raise
             their hand."'4


                            However, both the IC and the Corn                    tee in its own review were unable to
    discern a pattern in the affected states,

            (U) Mr. Daniel told the Committee that by late August 2016, he had already personally
    concluded that the Russians had attempted to intrude in all 50 states, based on the extent of the
    activity and the apparent randomness of the attempts. "My professional judgment was we have
    to work under the assumption that they've tried to go everywhere, because they're thorough,
    they're competent, they're good."55

             EMIIntelligence developed later in 2018 bolstered Mr. Daniel's assessment
    that all 50 states were targeted.




54    (U) SSCI Transcript of the Interview with of Lisa Monaco, Former Homeland Security Advisor. August 10, 2017,
p. 38.
 (U) SSCI Transcript of the Interview with Michael Daniel, Former Assistant to the President and Cybersecurity
55

Coordinator, National Security Council, August 31, 2017   40.      .


          DHS/FBI Homeland Intelli ence Bulletin,

N     (t
58    (U )DHS briefing. for SSCI staff. March 5, 2018.
      (U) SSCI interview of representatives from DHS and     criic, February 2     20 18, pp. 11-12.
61)   (U) DHS briefing for SSCI staff, March 5, 2018.
                                                              12
                      COMMITTEE SENSITIVE - RUSSIA INVESTIGATION ONLY
     Case 1:17-cv-02989-AT Document 821-4 Filed 08/26/20 Page 120 of 175




                        COMMITTEE SENSITIVE - RUSSIA INVESTIGATION ONLY




         (U) However, IP addresses associated with the August IS, 2016 FLASH provided some
 indications the activity might be attributable to the Russian government, particularly the GRU:




               (U.        ) One of the Netherlands-based 11111111111111.11111111.11
               "exhibited the same behavior from the same node over a period of time. . It was
               behaving like  .  the same user or group of users was using this to direct activity against
               the same type of targets," according to DHS staff.69




61   (U) Ibid.
62   (U) Ibid.
" (U)Ibid.
64   U   lb'


                     FBI hR


     U) Cy er TreatInte ligence Integration Center (CTIIC) Cyber Threat Intelligence Summary, October 7, 2016.
68   U) Ibid.
G9
     U) SSCI interview of representatives from DliS and CTI IC, February 27, 2018, p. 13.
                                                         13
                      COMMITTEE SENSITIVE - RUSSIA INVESTIGATION ONLY
     Case 1:17-cv-02989-AT Document 821-4 Filed 08/26/20 Page 121 of 175




                    COMML ITEE SENSITIVE - RUSSIA INVESIIGA-1101                            ONLY




                            The IC's confidence level about the attribution of the attacks evolved over




                 The Committee reached out to the 21 states that DHS first identified as targets of
scanning activity to learn about their experiences. Election officials provided the Committee



     U   DHS Electron' Communication, December 9, 2016, email from: DHS/NCCIC; to: CIA.
7




 3
         DI-IS lnte igence Assessment, Hosti e Russian y er Targeting o Election In r                     201&
Pro aø e Non-State Actors Attempt Disruption, May 3, 2017.
" (U) MO.
75 (U) SSCI interview of representatives from DI-IS and CTIIC, February 27, 2018, p. 13.
          DHS arrived at their initial assessment of 21 states affected by adding the eleven plus seven states, plus
the      where scanning activity appeared directed at less specifically election-focused infrastructure.
77 (U) SSCI conference call with DHS and FBI, March 29, 2018.

                                                          14
                   COMMITTEE SENSITIVE - RUSSIA INVEST 'AT ON ONLY
       Case 1:17-cv-02989-AT Document 821-4 Filed 08/26/20 Page 122 of 175




                      COMMFITEE SENS rrivE - RUSSIA INVESTIGATION
                                                                                  ONLY
      details about the activity they saw on their
                                                   networks, and the Comniittcc compared that
      ucwunú ntoHS'xrcportioânfevo'Lx.m
                     U                              Where those accounts differed is noted below
      scanning activity took place from approximately                                            The
                                                        J une through           September 2016.

          STATE                                        OBSERVED
                           (U) See infra, "Russian Access to

                           ' -"-
          Illinois                                           Election-Related |nfru^ ruc[une` for
                           detailed description.
          State          ` WS6u"iuncB
                         detailed
                                                           Election-Related Infrastructure"       ^




                        (U) According to State 3 officials, cyber actors using infrastructure
                        the August FLASH conducted                                            identified in
                                                       onunniogacdvity.«« State 3 officials noticed
          Stmhc]
                        "abnormal behavior" and took action to block the related                m
                                                                                   |P           uddn:xoes

                                 DU8 reported GRU scanning attempts against two
                                                                                separate domains
                        related to election infrastructure. 82
          State 4      (U) See infra, "Two Unexplained Svcots" for a
                                                                         detailed description.
                       (U) Cyber actors using infrastructure identified in
                                                                           the August FLASH scanned
                       "an old website and non-relevant archives,"
                                                                    according to the State 5 Secretary
                       of State's nO5co. 83 The following day, State 5 took action to
                                                                                      block the |P
                       address. 84
         State 5
                                DI-IS, however, reported GRU scanning activity
                                                                                  on two separate State
                       5Sc\aryo1vvchsi1cu,                p|uuartino[u   District Attorney's        s
                                                                                                      in a
                                       »^
                       pmrticu|urcit9.    Both the wcbsites appear to be current addresses for
                                                                                               the State
                       5Secretary olState's office.
                      (U) According to State 6 officials, cyber actors using
                                                                              infrastructure identified in
        State 6       the August FLASH ocunncd87 the entire state IT
                                                                        infrastructure, including by
                      using the Acunetix tool, but the "affected systems"
                                                                           were the Secretary of State's



 78   ((J) DUS briefed Committee staff three times on the
                                                          attacks, and staff reviewed hundreds of pages   of intelligence
 assessments.
 '~(U) Slight variation
                        between what states and DHS reported to the
                                                                    Committee       is an indication of one of the
challenges in election cybersecurity. The system owners in
best position to carry out comprehensive cyber
                                                            -   this case, state and loca adminIstrators--are in the
                                                 reviews, but they often lack the expertise or resources to
federal government has resources and expertise, but the                                                      do so. The
                                                          IC can see only limited information about inbound
because of legal restrictions on operations inside the                                                           attacks
                                                       United States.
   (U) Memorandum for the Record, SSCI Staff,
`/(0)Ibid.                                         Conference Call with [State 3], December 8, 2017.

82(0)D8S briefing for Committee staff nn March 5.2O|8.
m(})   Memorandum for the Record. 88C{ Staff, Conference Call
m (U) Ibid.                                                          with [State 5], December \.lV{7.
m
                Briefers suggested the "most wanted" list housed on the District
some way een connected to voter registration. The                                   Anorney's website may have ìn
                                                       exact nature of this connection, including whether it
technical network connection or whether databases                                                            was a
                                                      ofindividuals with felony convictions held by the District
Attorney's office had voting registration implications, is unclear.
m(0)DHS briefing for Committee
                                     staff on March 5.2V|8.
87 (U) State 6 officiaIs did not speci,
                                        but in light ofthe DEIS*acsonont, they likely
                                                                                          meant SQL injection.
                                                           15
                     COMMITTEE SENSITIVE - RUSSIA INVESTIGATION ONLY
       Case 1:17-cv-02989-AT Document 821-4 Filed 08/26/20 Page 123 of 175




                            aiw*ou|b
                            COMMITITE SENSITIVE - RUSSIA INVESTIGATION ONLY

                                                                               If flu: putt:Italic) i | tad been
                            successful, actors could have mani lated the unofficial display
                            ta\Ucu." State officials befleved they would have caught any
                                                                                               of the election
                                                                                            inconsistency
                            quickly." State 6 became aware nfthis malicious activity and alerted
                                     v1
                            pwnncrs.

                        1111      Dì-IS reported that GRU actors scanned State 6, then
                                                                                         unsuccessfully
                        attempted many SQL i jection attacks. State 6 saw the
                                                                                  highest number of SQL
                        attempts u[ any state.
                         U) Accordim2 to State 7 officials, cyber actors using
                                                                                infrastructure dentified in
                        the August FLASH scanned public-facing websites,
                                                                              including the "static"
                        election site.92 It seemed the actors were "cataloging holes to
                                                                                         come back later,"
                        according to state election offioiu|o m State 7 became aware
                   7                                                                   ofthis malicious
                        activity atìer receiving an FBI a/cÓ. v

                                  DHS reported GRU scanning attempts against
                                                                                   tv/ooepuro/rdornninu
                        r          election infrastructure.',
                                    o
                        (U) According to State 8 officials, cyber actors using
                                                                                 infrastructure identified in
                        the August FLASH scanned a State 8 public election
                                                                                website on one day.
                        State 8 officials described the activity as heightened but not
                                                                                       particularly out of
                        the ordinary.97 State 8 became aware of this malicious
                                                                                  activity after receiving
                        an alert.98
         State 8




                        (U) According to State 9 officials, cyber actors using infrastructure
         State 9                                                                              identified in
                       an October MS-ISAC advisory" scanned the statewide voter registration



 8$
      (U) Memorandum for the Record, SSCI Staff. Conference Cafi with
                                                                      [State 6]. November         17, 2017.
89(0)Ibid.
"(0)'bid
`'(Q)8>úí
m(0) Memorandum             for the Record, SS[l Staff, Conference Call with [State 7]'
                                                                                        January ]j,2OlD.
93    (U) Ibid.
94(W)     úl
^`{N}DH8 briefing for Committee
q,
                                staff on March 5^Z0\8.
  (U) Memorandum for the Record, SSCI Staft Conference Call with [State
                                                                                   8J, February 2, 20 IS.
  (U) Mid.
""(U)0úí
      (U) DHS briefing for Committee staff oo March 5.20i8.
'oo(0)/hi/
"II (N)While the Committee was unable to review
                                                   the specific indicators shared with State 9 by the MS-ISAC in
October, the Committee believes at least one of the relevant iPs was
                                                                      originally named in the August FLASH because
of technical data held by DHS which was briefed to the Committee.
                                                               16
                       COMMITTEE SENSITIVE - RUSSIA INVESTIGATION ONLY
     Case 1:17-cv-02989-AT Document 821-4 Filed 08/26/20 Page 124 of 175




                      COMMITTEE SENSITIVE - RUSSIA INVESTIGATION ONLY
                       system .102 Officials used the analogy of a thief casing a parking lot: they said
                       the car thief "didn't go in, but we don't know why."1°3 State 9 became aware of
                       this malicious activity after receiving an alert.1°4

                                DHS reported GRU scanning activity on the Secretary of State
                      domain.'05
                      (U) According to State 10 officials, cyber actors using infrastructure identified
                      in the August FLASH conducted activity that was "very loud," with a three-
                      pronged attack: a Netherlands-based II) address attempted SQL injection on all
                      fields 1,500 times, a U.S.-based IP address attempted SQL injection on several
                      fields, and a Poland-based IP address attempted SQL injection on one field 6-7
                      times.16 State 10 received relevant cybersecurity indictors from MS-ISAC in
                      early August, around the same time that the attacks occurred.1°7 State 10's IT
                      contractor attributed the attack to Russia and suggested that the activity was
                      reminiscent of other attacks where attackers distract with lots of noise and then
                      "sneak in the back."I°8
       State 10
                      (U) State 10, through its firewall, blocked attempted malicious activity against
                      the online voter registration system and provided logs to the National
                      Cybersecurity and Communications Integration Center (NCC1C)1°9 and the U.S.
                      Computer Emergency Readiness Team (US-CERT).11° State 10 also brought in
                      an outside contractor to assist.111

                      111111    DEIS confirmed GRU SQL injection attempts against State 10's voter
                      services website on August 5 and said that the attack was blocked after one day
                      by State 10's firewal1.112
                      (U) According to State l officials, they have seen no evidence of scanning or
                                               1


                      attack attempts related to election infrastructure in 2016:13 While State 11
                      officials noted an IP address "probing" state systems, activity which was
      St at      11
                      "broader than state election systems," State 11 election officials did not provide
                      specifics on which systems. 114




Io
     (U) Memorandum for the Record, SSCI Staff, Conference Call with [State 9], November 17, 2017.
     (U) Ibid.
     (U) Ibid.
 ws (U) DUS briefing for Committee staff on March 5, 2018.
     (U) Memorandum for the Record, SSCI Staff, Conference Call with [State 10 , November 29, 2017.
 1°7 (U) Ibid.

 1" (U) Ibid.
'"   (U) NCCIC, is DI-IS's cyber watch center.
'10 (U) Ibid.
u(U)Ibid,
112(U) DHS briefing for Committee staff on March 5, 2018.
'43(U) Memorandum for the Record, SSCI Staff, Conference Call with [State   I   I],   December 8, 2017.
w    (U)   Aid
                                                      17
                      CO        FEE SENSITIVE - RUSSIA INVESTIGATION ONLY
  Case 1:17-cv-02989-AT Document 821-4 Filed 08/26/20 Page 125 of 175




                            COMMI              I   SENSITIVE - RUSSIA INVESTIGATION              Y

                                              DHS reported                          Secretary of State
                                 omain."5
                            (U) Cyber actors using infrastructure identified in the August FLASH
                            conducted scanning activity1be1^`|oxiod|cumtbunaoecoudundnonecurity
                            breach occurred," accordinglo State \Zofficiub. //a State 12 became aware of
                                                                              /17
                            this malicious activity aller being alerted to it
      State 12
                                      DHS reported that because ofa lack ofsensor data related to this
                            incidint, they relied on NetFiow data, which provided less granular
                            infüonu1ion. //» DHS's only clear indication ofGRU scanning on State 12`u
                            Secretary of State website came from State 12 self-reporting information to MS-
                            lS/\CuDertheiyyouncc"ftbc&ugustFLA8Hnotifiouúinn. //»
                            (U) According 10 State l3 officials, they have seen nm evidence nfmcanninor
                            kamp\ndstu-widne|u(ouiym:tuio20)ó. »

      State   13




                                         8'|GAC passed DI IS reports of communications between a suspect
      State 14
                                webpage, but noindication ofaoonopromiso.  /
                                lPu"»ncsx used hvdG5UuóthcónouodhcStu{4ccóononnnruiyoiun
                                                  '
                                                                                   In addition, D88 was
                                informed   f activit relatino to se arate IP addresses in               B




«5(Q)DRS briefing for Committee staff om March 5,200.
316
    (V) Memorandum forthe Record, SSC! Staf1 Conference Call with [State 12j. !)ecember |.2O|7.
x7(D)/bid.
x»(Q)DHSbriefing for Committee staff on March 5,28|8.
«»(U) /bid
/m(U) Memorandum        Record, SSCI StatZ Conference Call with [State 3], December |.2O(7.
                                                                               I



121 U FBI IIR             DHS briefin for Committee staff on March 5, 2018.
122




                                                                                        ; OHS °r ling
                                                                                                         'nm'ommkmc
  a   o            h   5,   -   lore in on
                                 1   .   Fo   on on decisions by DYIS to exclude certain activity in its count of 21
states,       ext box, infra, -DHS Methodology for Identifyin States Touched b Russian C ber Actors."
123
                    DHS/FB1 Homeland Intelligence Brief,
                                           ; DHS briefing for Cot mitt        n March 5, 2018.

                                                            18
                            CO                TTES SENSITIVE 'RUSSIA INVESTIGATION ONLY
  Case 1:17-cv-02989-AT Document 821-4 Filed 08/26/20 Page 126 of 175




                  COMMITTEE SENSITIVE - RUSSIA INVESTIGATION ONLY
                                                              '--               ^   -
                  including attempted DommnName System (DNS) lookups and poten ially
                  malicious emails, some dating back to Januar 2016.'24
                  (U) State 5 officiaIs were not aware that the state was among those targeted
                                I


                  until they were notified.'25 State 15's current lead election official was not in
                  place during the 2016 election so they had little insight into any scannima or
                  attempted intrusion on their systems. State I 5 officials said that generally they
    State   15    viewed 20 6 as a success story because the attempted intiltration never got past
                                I


                  the state's four layers of security.

                           DHS reported broad GRU scanning activity on State 5 government
                                                                                        I

                  domains. z o
                            /




                   U) According to State 16 officials, cyber actors using infrastructure identified
                  in the October FLASH conducted scanning activity against a state government
                  nnúwnrk ' /zr
    State 16
                 MI
                 eort
                             DHS reported information on GRU scanning activity based on a self-
                                                           ofthe October FLASH. 28
                          from State 16 after the issuance of
                  (U)   State 17 officials reported nothing "irregular, inconsistent, or suspicious"
                  leading up to the election.129 While State 17 }7` staff received an MS-ISAC
    State 17      notification, that notification was not shared within the state government)"

                           DHS reported GRU scanning activity on an election-related domain.                 '


                  (U) State 18 election officials said      observed
                  addresses listed in the election-related notiticuúnns. 132
    State 18
                 _-___- [}8Srcpoúcdindicudonxu[(3}lB scanning ucóvityooa State |8
                 government domain.
                 (0) According to State 19 officials, cyber actors using infrastructure identified
                 in October by k4S'iD/\C conducted scanning andvity State 19 claimed this
    State 19
                 activity was "blocked," but did not elaborate on why or how it was blocked. 134




                              oOo 17, Cyber Activity Targeting [State N7 Government Networks from Internet
Protoco A 'esses Associated with Targeting State Elections Systems, October 3l.20|6.
/o(U) Memorandum for the Record, OSCl Staff, Conference Call with [State }5], March |Z,Z0i8.
/2^(U)DHSbriefing for Committee statron March 5, 2018.
127
    (U) Memorandum t'orthe Record, SSC! StafT Conference Call with [State |6]` December i,2V|7.
/z^(U) DHS briefing for Committee staff on March 5,%Oi8.
129(U) Memorandum for the Record. SSCI Staffl Conference Call 't State |7], January 25,2V|8.
/w(@)@id
/3/(U) DEIS briefing for Committee staff on March 5.2V}V.
U2
    (U) Memorandum for the Record, SSCI Staff Conference Call wIth [State i8], December 8,2O|7.
/»<V>DFIS briefing for Committee staff nn March 5.2O18.
`^^(0) Memorandum for the Record, S3ClStaff, Conference Call with [State 19], December {.JOi7.
                                                     19
                 [8M/0DTEB SENSITIVE -RUSSIA INVESTIGATION ONLY
      Case 1:17-cv-02989-AT Document 821-4 Filed 08/26/20 Page 127 of 175




                        COMMITTEE SENSITIVE - RUSSIA INVESTIGATION ONLY

                                  DI IS repot ted indications of GRU scanning activity on two separate
                          ta e 19 government domains.I35
                        (U) According to State 20 officials, cyber actors using infrastructure identified
                        in October by MS-ISAC were "knocking" on the state's network, but no
          State 20
                        successful intrusion occurred.136

                                  DHS reported GRU scanning activity on the Secretary of State
                                 137
                         o am.
                        (U) State 21 officials received indicators from MS-ISAC in October 2016.
                        They said they were not aware the state was among those targeted until
                        notified.' 38
       State 21
                       111111 DHS reported GRU scanning activity on an election-related domain as
                       well as at least one other government system connected to the voter registration
                       system. 139

                  Neither DI IS nor the Committee can ascertain a pattern to the states targeted,
lending credence to DHS's later assessment that all 50 states probably were scanned. DHS
representatives told the Committee that "there wasn't a clear red state-blue state-purple state,
more electoral votes, less electoral votes" pattern to the attacks. DHS acknowledged that the
U.S. Government does not have perfect insight, and it is possible the IC missed some activity or
that states did not notice intrusion attempts or report hem.140




133(U) DHS       briefing for Committee station March 5, 2018.
136 (U)     Memorandum for the Record, SSCI Staff, Conference Call with [State 20], November 17, 2017.
137 (U)     DHS briefing for Committee staff on March 5, 2018.
138 (U)     Memorandum for the Record, SSCI StatT. Conference Call with [State 21], November 17, 2017.
139 (U)     DHS briefing for Committee staff on March 5, 2018.
140   U     SSCI interview with DHS and CTIIC. Februa 27, 2018, 25
14




       1)   SSC! interview wit DHS and CT!!   ,   Fetruary 27,   2 18, p. 21.
                                             20
                      COMMITTEE SENSITIVE - RUSSIA INVESTIGATION ONLY
                                                     111=1111111111111111111111111111
      Case 1:17-cv-02989-AT Document 821-4 Filed 08/26/20 Page 128 of 175




                     COMMITTEE SENSITIVE - RUSSIA INVESTIGATION ONLY
              (U          As of October 2018 the IC and DHS were looking for evidence
                                                                                      of threats to
      election systems,                                           An October 11, 2018 DHS
                                                                            .

      Intelligence Assessment reported the following:

              Wejudge that numerous actors are regularly targeting election infrastructure,
             likely for different purposes, including to cause disruptive effects,
                                                                                   steal sensitive
             data, and undermine confidence in the election. We are aware ofa
                                                                                     growing
             volume ofmalicious activity targeting election infrastructure in 2018,
                                                                                       although
             we do not have a complete baseline ofprior years to determine
                                                                                relative scale of
             the activity. Much ()four understanding of cyber threats to election
                                                                                     infrastructure
             is due to proactive sharing by state and local election officials,
                                                                                as well as more
            robust intelligence and information sharing relationships amongst the election
            community and within the Department. The observed activity has leveraged
            common tactics-the types of tactics that are available to nation-state
                                                                                       and non-
            state cyber actors, alike-with limited success in compromising networks and
            accounts. We have not attributed the activity to any fbreign adversaries, and we
            continue to work to identi6, the actors behind these operations. At this time, all
            these activities were either prevented or have been mitigated.

            (U/        )   Specifically:

            Unidentified cyber actors since at least April 2018 and as recently as early
                                          in a range ofpotential elections-related cyber
            incidents targeting election infrastructure using spear-phishing, database
            exploitation techniques, and denial of service attacks, possibly indicating
            continued interest in compromising the availability, confidentiality, and integrity
           of these systems. For example, on 24 August 2018, cybersecurity officials
           detected multiple attempts to illegally access the State of Vermont's Online Voter
           Registration Application (OLVR), which serves as the state's resident voter
           registration database, according to DIE reporting. The malicious activity
           included one Cross Site Scripting attempt, seven Structured Query Language
           (SQL) injection attempts, and one attempted Denial of Service (DoS) attack.
                                                                                           All
           attempts were unsuccessfid.143

         (UI,       ) In summarizing the ongoing threat to U.S. election systems, DHS further
said in the same product, "We continue to assess multiple elements of U.S.
                                                                            election
infrastructure are potentially vulnerable to cyber intrusions."144

       B. (U) Russian Access to Election       Infrastructure




143   u/       ) DHS, Homeland Security Intelligence Assessment, C_'vber Actors
                                                                                Continue to Engage in Influence
Activities and Targeting qf Election Infrastntoure, October I 1, 2018.
44
   (U) mid.
                                                        21
                  COMMITTEE SENSITIVE              -   RUSSIA INVESTIGATION ONLY
      Case 1:17-cv-02989-AT Document 821-4 Filed 08/26/20 Page 129 of 175




                      COMMITTEE SENSITIVE - RUSSIA INVESTIGATION ONLY
         (U) The January 6, 2017 Intelligence Community Assessment (ICA), "Assessing
  Russian Activities and Intentions in Recent U.S. Elections," states:

            Russian intelligence obtained and maintained access to elements ofmultiple US.
            state or local electoral boards. DHS assesses that the types of systems Russian
            actors targeted or compromised were not involved in vote tallying. 145

            NilBased      on the Committee's review of the ICA, the Committee concurs
 with this assessment. The Committee found that Russian-affiliated cyber actors gained
 access to election infrastructure systems across two states, including successful extraction
 of voter data. However, none of these systems were involved in vote tallying,

            1. (U)   Russian Access to Election Infrastructure: Illinois

         (II) In June 2016, Illinois experienced the first known breach by Russian actors of state
election infrastructure during the 2016 election.146 As of the end of 2018, the Russian cyber
actors had successfully penetrated Illinois's voter registration database, viewed multiple database
tables, and accessed up to 200,000 voter registration records.147 The compromise resulted in the
exfiltration of an unknown quantity of voter registration data)" Russian cyber actors were in a
position to delete or change voter data, but the Committee is not aware of any evidence that they
did so.149

                              DHS assesses with high confidence that the penetration was carried out by
                             .150
            Russian acto

             U            'The compromised voter            'on database held records relatína to 14
            million registered voters,                                                         . The
            records exfiltrated included information on each voter's name, address, partial social
            security number, date of birth, and either a driver's license number or state identification
            number.151




145   (U) Intelligence Community Assessment, Assessing Russian Activities and Intentions in Recent U.S. Elections,
Januari6117, p.
146   (U        ) DHS IIR 4 005     0006, An IP Address Targeted Multiple U.S. State Government's to Include Election
SysfenMber 4, 2016; DHS briefing for SSCI staff, March 5, 2018.
147
     (U) "Illinois election officials say hack yielded information on 200,000 voters," [Local Newspaper], August 29,
2016.
I4
     (U) DHS IIR
                      SCI Open Hearing on June 21, 2017, p 110
     (U) State Board of Elections, Illinois Voter Registration System Records Breached, August 31, 2016. As reflected
elsewhere in this report, the Committee did not undertake its own forensic analysis of the Illinois server logs to
corroborate this statement; SSCI interview with DHS and CTJIC, February 27, 2018, p. 24.
1.5° (U) See tnjra, "Russian Scanning and Attempted Access to Election-Related
                                                                                      Infrastructure" for a complete
discussion on attribution related to the set of cyber activity linked to the infrastructure used in the Illinois breach.
      U/          FBI BR
                                                                DHS Intelligence Assessment, May 3, 2017, 0144-17,

                                            22
                     COMMITTEE SENSITIVE - RUSSIA INVESTIGATION ONLY
                       1011111111111111111
      Case 1:17-cv-02989-AT Document 821-4 Filed 08/26/20 Page 130 of 175




                    COMMITTEE SENSITIVE - RUSSIA INVESTIGATION ONLY


                           DHS staff further recounted to the Committee that "Russia would have
          had the ability to potentially manipulate some of that data, but we didn't see that" 152
          Further, DHS staff noted that "the level of access that they gained, they almost certainly
          could have done more. Why they didn't ... is sort of an open-ended question. I think it
          fits under the Iarger umbrella of undermining confidence in the election by tipping their
          hand that they had this level of access or showing that they were capable of getting it." 153

          (U) According to a Cyber Threat Intelligence Integration Center (CTIIC) product,
          Illinois officials "disclosed that the database has been targeted frequently by hackers, but
          this was the first instance known to state officials of success in accessing it." I54

          (U) In June 2017, the Executive Director of the Illinois State Board of Elections (SBE),
 Steve Sandvoss, testified before the Committee about Illinois's experience in the 2016
 elections.155 He laid out the following timeline:

         (U) On June 23, 2016, a foreign actor successfully penetrated Illinois's databases
         through an SQL attack on the online voter registration website. "Because of the initial
         low-volume nature of the attack, the State Board of Election staff did not become aware
         of it at first." u6

         (U) Three weeks later, on July 12, 2016, the IT staff discovered spikes in data flow
         across the voter registration database server. "Analysis of the server logs revealed that
         the heavy load was a result of rapidly repeated database queries on the application status
         page of our paperless online voter application website." 57

         (U) On July 13, 2016, IT staff took the website and database offline, but continued to see
         activity from the malicious IP address.I58

         (II) "Firewall monitoring indicated that the attackers were hitting SBE IP addresses five
         times per second, 24 hours a day. These attacks continued until August 124' [20161, when
         they abruptly ceased." I59




152  (U) SSCI interview with DHS and CTIIC, February 27, 2018,
                                                                      p. 14.
153  (U) Ibid.
154 (U)
         CTIIC Cyber Threat Intelligence Summary, August 18, 2016.
155 (U)
         SSCI Open Hearing on June 21, 2017. The Committee notes that, in his testimony, Mr. Sandvoss said Illinois
still had not been definitively told that Russia perpetrated the attack, despite DHS's high confidence. The Committee
also notes that DHS eventually provided a briefing to states during which DHS provided further information on this
topic, including the DHS high-confidence attribution to Russia.
'56 (U) Ibid.,
               p.110.
157 (U)
         Ibid.
158 (U) Ibid., p. 111..
159 (U)
         Ibid.
                                                        23
                  COMMITTEE SENSITIVE - RUSSIA INNVESTIGATION ONLY
       Case 1:17-cv-02989-AT Document 821-4 Filed 08/26/20 Page 131 of 175




                       COMMITTEE                            RUSSIA                      ONLY
              (U) On July 19, 2016, the election staff notified the Illinois General Assembly and the
              Attorney Cieneral's office.

              (U) Approximately      a   week later, the FBI contacted Illinois.160

             (U) On July 28, 2016, both the registration system and the online voter registration
             became fully functional again. 61

             2. (U) Russian Access to Election          Infrastructure: State 2




                                                Sesaratel    GRU c ber actors breached election
 infrastructure in State 2.




166    (U) Ibid., p. 113.
       (U Ibid., . 112.
162
        U            FBI Electronic Communication,

        U
164

165    ( ) FBI Bne ing on [State 2 Election Systems, June 25, 2018.
16('   (U) DHS briefing for SSO staff. March 5, 2018.
167    (U) Ibid
t"     (U) lb id
'"     U Ibid.
               DTS 2018-2416; FBI Briefing on [State 2] Election Systems, June 25, 2018, p. 16.
171    (I ) SSCI interview with DHS and CTI1C, February 27, 2018, compartmented session.
                                                          24
                       COMMITTEE SENSITIVE - RUSSIA INVESTIGATION ONLY
         Case 1:17-cv-02989-AT Document 821-4 Filed 08/26/20 Page 132 of 175




                               COMMITTEE SENS T VE - RUSSIA INVESTIGATION ONLY




    111111111111111bm

                                       (U) FBI and DNS Interactions with State V"

               August    18,   2016        (U) FBI FLASH notification identified IP addresses targeting
                                           election offices. 80

               August 24, 2016             (U) State 2 Department of State received the FLASH from
                                           National Association of Secretaries of State. 181

               August 26, 20 6   I         (U) State 2 Department of State forwarded FLASH to counties and
                                           advised them to block the IP addresses» 82

                                          1111.     Separately,              determined one of the listed IP
                                           addresses scanned its system.                 subsequently
                                           discovered suspected intrusion activity and contacted the FBI.184



         (U) Ibid.
173
         (U) Ibid.
          U Ibid.
175
                     DTS 2018-2416; FBI Briefing on [State 2] Election Systems, June 25, 2018, pp. 7.
17
                M.
     7
1

                    Ibid. See also EB-0004893-LED
17         T
                      interview with DHS and CTIIC, February 27, 2018, p. 42.
    79
                     DTS 2018-2416; FBI Briefing on [State 2] Election Systems, Ju e 25, 2018,
    10 AT
                . I FLASH Alert lumber T-LD I 004-TT, TLP-AMBER,

                     iyrs 2018-2416;   FBI Briefing on [State 2] Election Systems, June 25, 2018, p. 4.
182       Id.. pp. 4-5.
"3 (U) Ibid., p. 5.
   (U) Ibid.
                                                                  25
                          CO           TTEE SENSITIVE - RUSSIA INVESTIGATION ONLY
      Case 1:17-cv-02989-AT Document 821-4 Filed 08/26/20 Page 133 of 175




                      COMMITTEE SENSITIVE - RUSSIA INVESTIGATION ONLY


          August 31, 2016                      FBI opened its investigation on         theallilland
                                      "conducted outreach to State 2 county election officials to discuss
                                      individual security postures and any suspicious activity."185 FBI
                                      outreach reveals that one State 2 county County A-was
                                      scanned.156

        September 30, 2016                      FBI held a conference call with county election officials to
                                      advise of the attempt to probe County A.187 FBI also notified state


                                     ill
                                      and local officials of available DHS services.'"

          October 4, 2016                      County B's IT administrator contacted FBI regarding a
                                     potential intrusion.189 According to the FBI, "Of particular
                                     concern, the activity included a connection to a county voting,
                                     testing, and maintenance server used for poll worker classes."19°

         October 14, 2016            (U) FBI shared County B indicators by issuing a FLASH.19

        December 29, 2016            (U) DHS and FBI released a Joint Analysis Report (JAR) on the
                                     "GRIZZLY STEPPE" intrusion set; report represents the first IC
                                     attribution of state election-related systems to the Russians.I92




             June 2017               (U) DHS notified State 2 counties of a possible intrusion "as part
                                     of a broader notification to 122 entities identified as spearphishing
                                     victims in an intelligence report."194




185
                DTS 2018-24 16; FBI Briefing on [State 2] Election Systems, June 25, 2018, p. 5.
186   (U)
187   (U) Ibid., pp. 5-6.
LBS   (U) Ibid., p. 6.
      (U) Ibid.
      (U) Ibid.
       U/           FBI FLASH, Alert Number T-LD1005-TT, TLP-AMBER,
                             UUUUU




 -   (U) DHS/FBI, Joint Analysis Report, JAR-16-20296A. GRIZZLY STEPPE - Russian Malicious Cyber Activity,
December 29, 2016.
1')3
             DTS 2018-2416; FBI Briefing on [State 2] Election Systems, June 25, 2018. p. 7.
 94
     (U) id.
                                                           26
                     COMMITTEE SENSITIVE - RUSSIA INVESTIGATION ONLY
       Case 1:17-cv-02989-AT Document 821-4 Filed 08/26/20 Page 134 of 175




                       COMMITTEE SENSITIVE - RUSSIA INVESTIGATION ONLY
                July 20 /      (U) FBI published a FLASH report wattling fpossible
                               spearphishing. 195

             November 2017             (U) FBI and DEIS participated in the first meeting of
                                                                                             the State 2
                                       elections task force.196

             February 2018             (U) FBI requested direct engagement with
                                                                                 Counties B, C, and D,
                                       including a reminder of available DHS services. 197

              March 2018              (U) FBI reports that "our office engaged" the affected
                                                                                             counties
                                      through the local FBI field office.198 The FBI could not
                                                                                               provide
                                      any further detail on the substance of these
                                                                                   engagements to the
                                      Committee.

             May 29, 2018                      FBI provided a SECRET Letterhead Memo to DI-IS
                                      "formally advising ()four investigation into the intrusion
                                             , the reported intrusion at County B, and
                                                                                        suspected
                                      compromises of Counties C and D."199

             June I, 20
                   1       1   8      (U) FBI reports that as ofJune I I, 2018, Counties A, B,
                                                                                               C, and D
                                      had not accepted DEIS services.N°




195
       U FBI FLASH, Alert Number EB-000083-LD,
                                               TLP-AMBER,
                                                                          .  See [)TS 2018-3174.
               DTS 2   1  -2416; F131 Brie me on [State 2 Election ystems. June 25,
tfl(    )/       p. 6.
                                                                                     2018, p. 7.
      (U) ibid. p. 34.
      (U) ibid., pp. 8-9.
       U Ibid., p. 20.
201
               DTS 2018-2416; FBI Briefing on [State 2] Election Systems,
202                                                                         June 25, 2018. pp. 20-21.
                                       DHS briefing for SSCI staff, March 5, 2018.
                                                           27
                       COMMITTEE SENSITIVE - RUSSIA INVESTIGATION ONLY
       Case 1:17-cv-02989-AT Document 821-4 Filed 08/26/20 Page 135 of 175




                            COMMITTEE SENSITIVE
               (U) State 2's Secretary ofState arid Elcetion Director
                                                                        told the Committee in December
               201 7 that there was "never an attack on our
                                                             systems." "We did not see any unusual
               activities. I would have known about it personally."203 State
                                                                                 2 did not want to share
               with the Committee its cybersecurity posture, but state
                                                                         officials communicated that they
               are highly confident in the security oftheir
                                                            systems.2°4

               (U) State 2's election apparatus is highly
                                                          decentralized, with each county making its own


               (U) As of August 9,20|8, DI-IS was complimentary
                                                                       of the s ps State 2 had taken to
               secure its voting systems, including putting nearly all
                                                                       counties on the ALBERT sensor
               oyaten,oininâthnC|ec(inno/nfrumtnuctun:(ufbnnntionSharnâaud&na|ysiuCenter(El-
               ISAC),and using congressionally appropriated funds plus
                                                                       additional state funds to hire
              oyhccyccuötyudvim/rs.z°6

          C. (U) Russian Efforts to Research U.S. Voting
                                                         Systems, Processes, and Other
          Elements of Voting Infrastructure




ma(0) Memorandum for
                     the Record SSCI Staff, Conference Call with [State 21,
op(V)Ibid.                                                                  Decembe        1,   2017.
205    (U) Ibid.
2446       DTS     18'250
207
                FBI LHM,
208       °°    p. 5.
2

          ^~="^~_-.--`'_-,'--,.-_'-"'-,_-=_.-_--__'-'_-',''-._
power pursuant
               ^'~` ^"=^,`"""`""".`.".°""=°""=="u"°.wn.r"ww'uuxxo^um«r
               ^`"='
                                                        Act of 1978. This collection could have conic from
landlines, electronic mail accounts, or mobile phones used by
                                                              personnel at a foreign embassy (i.e., an
'establishment' FISA) or used by personnel associated with a foreign power(i.e
F|SA collection would have been approved by the Foreign Intelligence             .,^uêcntsofu foreign pnner). This
                                                                       Surveillance Court ('F1SC'). effectuated by
FBI. and then could also have been shared with NSA or
                                                        CIA, or both, depending on the foreign target.
                                                       28
                        COMMITTEE SENSITIVE - RUSSIA INVESTIGATION ONLY
      Case 1:17-cv-02989-AT Document 821-4 Filed 08/26/20 Page 136 of 175




                       COMMITTEE SENSITIVE
                                 SENS1TIVERIJSS[AiNWTRATION(YNiLY




                                                                                It
           is   unknown if Tarantsov attended the events.




       D. (U) Russian Activity Directed at Voting Machine Companies




210
             FBI LI-IM,
711
             FBI LHM,
712

213 (U) Ibid., p. 3.
214 (U) Ibid., p. 4.
2" (U) Ibid.
ZIO
     U Ibid.,
217




                                                     29
                       COMMITTEE SENSITIVE      -   RUSSIA INVESTIGATION ONLY
                        111111111=111111111111111111
       Case 1:17-cv-02989-AT Document 821-4 Filed 08/26/20 Page 137 of 175




                      COMMII FEE SI:NSH 1VE
                      COMMIT                       -    RUSSIA INVESTIGATION ONLY
                                 Russian oQyernment actors en a ed in
      electtoñ systems,                                                                            acks on


                                 FBI retorted that "between December 2015 and June
                                                                                   2016,

                                                            DHS further told the Committee that malicious
              cyber actors had scanned
                                                                                    a widely-used vendor
              of election systems. 219




         E. (U) Russian Efforts to Observe Polling M aces

                                  Department of State were aware that Russia was attempting to
  send election observers to polling places in 2016. The true
                                                              intention of these efforts is
  unknown.




                               'BI E ectroruc 'omnmnicaflon,

                                   arch 5, 20
220



      (u).1
222 (U) Ibid.
223 (U) NSA             DIRNSA. May 5, 2017, p. 3.
224 (U) Ibid., pp. 1-3.

225 (U) FBI 1111111.111

226 (U) /bid.


                                                       30
                   COMMITTEE SENSITIVE - RUSSIA INVESTIGATION ONLY
      Case 1:17-cv-02989-AT Document 821-4 Filed 08/26/20 Page 138 of 175




                           COMMF111111.11PVE - RUSSIA INVESTIGATION ONLY
        a                   The Russian Embassy placed a formal request to observe the elections
              it t e Department of State, but also reached outside diplomatic channels in an attempt
            to secure permission directly from state and local election officials.227 For example, in
            September 2016, the State 5 Secretary of State denied a request by the Russian Consul
            General to allow a Russian government official inside a polling station on Election Da
            to study the U.S. election proc ess according to State 5 officials.228




                                                                             n mission.




                                                                                                              nterfere




222 (U) DTS 2018-2152, SSC! Transcript of the Interview of Andrew McCabe, Former Deputy Director of the
Federal Bureau of Investigation, February 14, 2018, pp. 221-222.
228 (U) Ibid.
=29 (U) Ibid.
230 U Ibid.
231
              Email, sent November 4, 2016; from           ; to:


                                      ;   subject: Kis yak Protest o FBI Tactics.
                    Erna! sent: Se tember 13, 2016; from:
                                                                                                su 'ect: Russia
visas/travel.
233 (U) Ibid.
234   U Ibid.
235
                Email Sent:    Monda,     N v    ber 7, 2016, 8:11 AM from:               ;   to:

                                                                                                             subject:
RE: Kis ya      -   Protest o FBI Tactics       SEC ET//NOFORN.
                                                                 31
                          COMMITTEE SENSITIVE - RUSSIA INVESTIGATION ONLY
      Case 1:17-cv-02989-AT Document 821-4 Filed 08/26/20 Page 139 of 175




                            COMMI ITEE SENSITIVE - RUSSIA INVESTIGA             ON ( N ,Y




        F.




       iiiiiG.   (U) Russian Activity Possibly Related to a Misinformation Campaign on Voter




236
               DTS 2018-3952; MFR of Interview with Randy Coleman, December 5, 2018.
237   (U) NSA                  DIRNSA. May 5, 2017.
238   (U) Ibid.
239    U SSCI Interview with DHS and cruc. February 27, 2018, pp. 47-48.
240               FBI IIR




O- UI
-

-
       M
      (I))       id.
                       )   FBI LHM,   IIIIIIIIIIIMIIIIIIIIIIIIIIIIMIIIIIIIIIINMIIIIIIIIIIIIIIIIIIII
                                                             7
                            COMMITTEE SENSITIVE        -   RUSSIA INVESTIGATION ONLY
                                                     11111111111111111111111111111111
      Case 1:17-cv-02989-AT Document 821-4 Filed 08/26/20 Page 140 of 175




           (U) The declassified, January 6, 2017, Intelligence
                                                                 Community Assessment also
   highlighted preparations related te voter fraud, noting that
                                                                 Russian diplomats "were prepared to
   publicly call into question the validity of
                                            ofthe results" and that "pro-Kremlin hioggers had
   prepared a Tw tter campaign, ItDcmnun*cyRlP, on election
                                                                  night in anticipation of Secretary
   Clinton's victory, judging from their social media             m5

          (U) During a 2017 election, State 17 saw bot activity
                                                                   on social media, including
  allegations of voter fraud, in particular on Reddit. State I 7 had
                                                                     to try to prove later that there
  was no fraud.6

       H. (U) Two Unexplained Events

           1. (U)   Cyber Activity in State 22




243

`w
ro
                     Community                   Assessing Russian Activities and Internions in Recent U.S. Election
January 6, 2017, p. 2.
246 (U) See Memorandum for the
                                    Record, SSO Staff, Conference Call with State |7, January
Committee notes it is conducting a related investigation into the use                               25,JO|8.The
                                                                        o[social media by Russian-government
affiliated entities.
247 (U) The Fusion Center model is
                                      a partnership between DEIS and state, local, tribal, and
serve as a focal point for -the receipt, analysis, gathering, and sharing of                    territorial entities. They
                                                                             threat-related information,"
2"(U)CT|1C Cyh,rThoat Intelligence Svmmar}/CyhoThn'mo in Focus,
                                                                                Malicious Cyber Activity on Election-
Related Computer Networks Last Spring Possibly Linked /o
                                                                Russia, October 7.28i6; DH3, ||K4 019 0147 16,
September 28, 2016.
m"(0)&úÍ

                                                           3]
                   [OMK4[llES SENSITIVE ' USSIA INVESTIGATION ONLY
        Case 1:17-cv-02989-AT Document 821-4 Filed 08/26/20 Page 141 of 175




                        COMM          EE SENS      D/G-RUS,




              2. (U)   Cyber Activity in State 4

                          ) State 4 officials, DHS, and FBI in the spring
       to understan    h was responsible for two rounds of cyber            uodoummecof20)(,utrouucd
                                                                     activity related to election
       infrastructure. Eventually, one set of cyher activity was
                                                                 attributed to Russia and one was not.

                                 in April nf 2016,ocvbermctornucccuxGmUy
      phishing scam. After a county employee opened an infected               targeted State 4 with a
                                                                    email attachment, the cyber actor
      stole credentials, which were later posted on|ioe.'s'
                                                            Those stolen credentials were used in June
      2016 to penetrate State     votcrrcgistrationdutubaxe. 25z A CTIIC product reported the incident
      as follows: "An unknown actor viewed a
                                                statewide voter registration database after obtaining a
  utmicccnp|nycc`mcrcdcnóm\s1hvougbphiobiugondkcyotnnkm\ngg¡ngmulwune,uuconding
  private-sector D83 partner claiming secondhand access. Tbc actor                           to a
                                                                      used the credentials to access
  the database and was in a position to modify county, but
                                                           not statewide, data."253

                         DH8 analysis offbrenucdata provided by a private
  discovered mu\ ware no the system, uod State 4 shut down the                   ucoto,portner
                                                                     voter registration oyntexn for about
  eight days to contain the attack.254 State 4 officials later
                                                               told the Committee that that while the
  cyber actor was able to successfully log in to a workstation
                                                                  connected to election related
  infrastructure, additional credentials would have been needed for
                                                                        the cyber actor to access the
  voter registration databa,sc on that system.25

         (U) At first, FBI told State 4 officials that the attack may
                                                                       have originated from Russia,
 but the ties to the Russian government were unclear.
                                                          "The Bureau described the threat as
 'credible' and significant, a spokesman for State 4 Secretary of
                                                                     State said.256 State 4 officials
 also told press that the hacker had used a server in Russia,
                                                                but that the FBI could not confirm the




 251




=c
               interview with OHS and CT[IC. February 27,20|8.p. 38.
253
              Cyber Threat Intelligence Integration Center (CTIIC),
                                                                    Cotnpromised   State Election Networks,
254           DHS IIR 4 005 0829 16, A                 U.S. State Government Election System Targeted
Ma%vioxxAcÖvky September 9, 2016; Memorandum for the Record, SSC!                                         kv
                                                                        Staff, Conference Ca!! with [State 4],
December |.l0|7.
255 (U) Memorandum for the Record,
                                   SSCI Staff, Conference Call with State 4 ,      December
256    u)                                                                                     1,   2017.



                                                    34
                   COMMI        I   EE SENSITIVE - RUSSIA INVESTIGATION ONLY

                                                 11111111011111111111111111111111111
      Case 1:17-cv-02989-AT Document 821-4 Filed 08/26/20 Page 142 of 175




                    COMMITTEE SENSITIVE - RUSSIA INVESTIGATION ONLY
attack was tied to the Russian government.257 DHS and FBI later assessed it to be criminal
activity, with no definitive tie to the Russian government.258

                         Subsequently, Russian actors engaged in the same scanning activity as
seen in other states, but directed at a domain affiliated with a public library.259 Officials saw no
effective penetration of the system. DHS has low confidence that this cyber activity is
attributable to the Russian intern ence services because the tar et was unusual and not directl
involved in elections.26°


V. (U) RUSSIAN INTENTIONS

        (U) Russian intentions regarding U.S. election infrastructure remain unclear. Russia
might have intended to exploit vulnerabilities in election infrastructure during the 2016 elections
and, for unknown reasons, decided not to execute those options. Alternatively, Russia might
have sought to gather information in the conduct of traditional espionage activities. Lastly,
Russia might have used its activity in 2016 to catalog options or clandestine actions, holding
them for use at a later date. Based on what the IC knows about Russia's operating procedures
and intentions more broadly, the IC assesses that Russia's activities against U.S. election
infrastructure likely sought to further their overarching goal: undermining the integrity of
elections and American confidence in democracy.

           (U) Former -Homeland Security Adviser Lisa Monaco told the Committee that "[t]here
           was agreement [in the IC] that one of the motives that Russia was trying to do with this
           active measures campaign was to sow distrust and discord and lack of confidence in the
           voting process and the democratic process. "262

                     DHS representatives told the Committee that "[w]e see ... Russians in
           particular obviously, gain access, learn about the environment, learn about what systems
           are interconnected, probing, the type of intelligence preparation of the environment that
           you would expect from an actor like the Russians. So certainly the context going forward




258

259
      (U) SSCI interview with DHS and CTIIC, Februa   27, 2018,   .   40..




260
                   DHS/FBI Homeland Intelligence Brief,

  (U) Mid
  (U) SSCI Transcript of the Interview with of Lisa Monaco, Former Homeland Security Advisor, August 10,
262

2017, p. 30.
                                                          35
                    COMMITTEE SENSITIVE - RUSSIA INVESTIGATION ONLY
      Case 1:17-cv-02989-AT Document 821-4 Filed 08/26/20 Page 143 of 175




                   COMMI              EE SENSITIVE
                                                  1111111111111111111111111
                              I   I                            -   RUSSIA INVESTIGATION ONLY
          is a concern   of what they might have learned and how much mote they know about the
          systems."26

         111.11111111        Mr. McCabe told the Committee that it seemed to him like "classic
          Russian cyber espionage.... [They will] scrape up all the information and the experience
          they possibly can," and "they might not be effective the first time or the fifth time, but
          they are going to keep at it until they can come back and do it in an effective way. 1+264

         IIIIII     Mr. Daniel told the Committee:

                   While any one voting machine is fairly vulnerable, as has been
                  demonstrated over and over again publicly, the ability to actually
                  do an operation to change the outcome of an election on the scale
                  you would need to, and do it surreptitiously, is incredibly difficult.
                  A much more achievable goal would be to undermine confidence in
                  the results of the electoral process, and that could be done much
                  more effectively and easily.     .A logical thing would be, ifyour
                                                           .


                  goal is to undermine confidence in the U.S. electoral system-
                  which the Russians have a long goal ofwanting to put themselves
                  on the same moral plane as the United States. . one way would
                                                                              .

                  be to cause chaos on election day. How could you start to do that?
                  Mess with the voter registration databases.265

                    Ms. Monaco further echoed that concern:

                   Well, one of the things I was worried about-and I wasn't alone in
                  this-is kind of worst-case scenarios, which would be things like
                  the voter registration databases. So fyou 're a state and local
                 entity and your voter registration database is housed in the
                 secretary ofstate's office and it is not encrypted and it 's not
                 backed up, and it says Lisa Monaco lives at Smith Street and I
                 show up at my [polling place] and they say 'Well we don't have
                 Ms. Monaco at Smith Street, we have her at Green Street,' now
                 there's difficulty in my voting. And ifthat were to happen on a
                 large scale, I was worried about confusion at polling places, lack
                 of confidence in the voting system, anger at a large scale in some
                 areas, confusion, distrust. So there was a whole sliding scale of




263(U) SSC1 interview with DHS and CTI1C. February 27, 2018, p. 5.       I


2" (U) DTS 2018-2152, SSCI Transcript of the Interview with Andrew McCabe. Former Deputy Director of the
FBI. February 14, 2018. pp. 224-225.
   (U) SSCI Transcript of the Interview with Michael Daniel, Former Assistant to the President and Cybersecurity
Coordinator. National Security Council, August 31, 2017, pp. 27, 34.
                                                                   36
                  COMMEI LEE SENSITIVE                 -       RUSSIA INVESTIGATION ONLY
      Case 1:17-cv-02989-AT Document 821-4 Filed 08/26/20 Page 144 of 175




                      COMMITTEE SENSITIVE - RUSSIA INVESTIGATION ONLY
                     horribles just when you're talking about voter registration
                     databases. 266




                                  (U}   Chaos on Election Day: Three Scenarios

               Mr. Daniel said that in the early fall of 2016, a policy working group was looking at
      three scenarios:

             One was, could the Russians do something to the voter registration databases that
             could cause problems on Election Day? An example of that would be, could you go in
             andflip the digits in everybody's address, so that when they show up with their photo
             ID it doesn't match what's in the poll book? It doesn't actually prevent people from
             voting. In most cases you'll still get a provisional ballot, but if this is happening in a
             whole bunch ofprecincts forjust about everybody showing up, it gives the impression
             that there's chaos. 268

            A  second one was to do a variant of the penetrating voting machines, except this time
            what you do is you do a nice video of somebody conducting a hack on a voting machine
            and showing how you could do that hack and showing them changing a voting
            outcome, and then you post that on YouTube and you claim you've done this 100,000
            times across the United States, even though you haven't actually done it at all. 269

            Then the third scenario that we looked at was conducting a denial of service attack on
            the Associated Press on Election Day, because pretty much everybody, all those nice
            maps that everybody puts up on all the different news services, is in fact actually based
            on Associated Press stringers at all the different precincts and locations.... It doesn't
            actually change anything, but it gives the impression that there's chaos. 270




266   (U) SSCI Transcript   of the Interview with Lisa Monaco, Former Homeland Security Advisor, August 10,2017,
p. 28.
267.
268  (U) SSCI Transcript o the Interview with Michael Daniel, Former
                                                                     Assistant to the President and Cybersecurity
Coordinator, National Security Council, August 31, 2017, p. 33.
269 (U)
         Ibid., pp. 34-35.
2270 (U) Ibid., p. 35.


                                                          37
                    COMMITTEE SENSITIVE - RUSSIA INVESTIGATION ONLY
   Case 1:17-cv-02989-AT Document 821-4 Filed 08/26/20 Page 145 of 175




                    COMMITIVE                         -   RUSSIA INVESTIGATION ONLY
 VI. (U) NO EVIDENCE OF CHANCED VOTES Oil MANIPULATED VOTE TALLIES

         (U) In its review, the Committee has seen no indications that votes were changed, vote-
 tallying systems were manipulated, or that any voter registration data was altered or deleted,
 although the Committee and IC's insight is limited. Poll workers and voting monitors did not
 report widespread suspicious activity surrounding the 2016 election. DB3 Assistant Secretary
 Jeanette Manfra said in the Committee's open hearing in June 2U\7 that °l want to reiterate that
 we do have confidence in the ovc,u\l integrity of our electoral system because our voting
 infrastructure is fundamentally resilient." FuÚhrr, all three witnesses in that hearing-Ms.
 Manfra, Dr. Liles, and FBI Assistant i)ìrector for Counterintelligence Bill Priestap agreed that
 they had no evidence that votes themselves were charmed in any way in the 2016 election.27I

           (U) Dr. Liles said that DHO"asessed that multiple checks and redundancies in U.S.
           election infrastructure, including diversity ofsystems, non-internet connected voting
           machines, pre-election testing and processes for media, campaign and election officials to
           check, audit, and validate the n:ou|ts--ull these made it likely that cyber manipulation of
           the U.S. election systems intended to change the outcome of the national election would
           bcdetccCcd."272 He laterxuid`the level of effort and scale required to change the
           outcome of a national election would make it nearly impossible to avoid detection."273




           (U) States did not report either an uptick in voters showing up at the polls and being
           unable to vote or a larer than normal quantity of provisional ballots.

        (U) The Committee notes tha nationwide elections are often won or lost in a small
number of precincts. A sophisticated actor could target efforts at districts where m ins arc
already small, and disenfranchising only a small percentage of voters could have a
disproportionate impact on an election's outcome.

        (U) Many state election officials emphasized their concern that press coverage of, and
increased attention to, election security could create the very impression the Russians were
seeking to foster, namely undermining voters' confidence in election integrity. Several insisted
that whenever any official speaks publicly on this issue, they should state clearly thc difference
between a "scan" and a "hack," and a few even went as far as to suggest that U.S. officials stop




27/(D)   Sal Transcript ofihe Open   Hearing on Russian Interference in the 2O\6U.5. Elections, held on
Wednesday, June ]|.2O|7.
'7c(U)8SCI Transcript o[ the Open    Hearing oo Russian Interference io the ZV|&U.S. Elections, held oo
Wednesday, June 21, 2017, p. 13.
-'\U>mm,p.*'.
                                                          38
                  COI       TTEE SENSITIVE - RUSSIA INVESTIGATION ONLY
      Case 1:17-cv-02989-AT Document 821-4 Filed 08/26/20 Page 146 of 175




                     COMMI I FEE SENSITIVE - RUSS A INVESTIGATION ONLY
 talking about the issue al        One state official said "We necd to walk a fine                   between
 being forthcoming to thc public and protecting voter confidence."274

             (U) Mr. Brennan described a sim lar concern in IC and policy discussions:

             We know that the Russians had already touched some of the electoral systems,
            and we know that they have capable cnóorcuna6ilòüs. So there was a real
            dilemma, even a conundrum, in temoofw6ut do you do thot's going to ny to
            xÁzveoffw'*rxeuc/¿ono//ófe part mr/hxRurx/unu. and what do you do that is
            go- to      [gime] the Russians what they were seeking which was to really raise
            thmvecterdm/thcolectionwasnu//o/xg to6e fair and unq ected

         (U) Most state representatives interviewed by the Committee were confident that they
met the threat effectively in 2016 and believed that they would continue to defeat threats in 2018
and 2020. Many had interpreted the events o120l6 as a success story: firewafls deflected the
hostile activity, as they were supposed to, so the threat was not an issue. One state official told
the Committee, "I'm quite confident our state security systems are pretty sound."276 Another
state official stated, "We felt good [in 20161," and that due to additional security upgrades, "we
feel even better today."277

        (U) However, as of2OlS, some states were still grappling with the severity of the threat.
One official highlighted the stark contrast they experienced, when, at one moment, they thought
elections                                               about           zm
                                                                           The official went on
tocnuc|ude,"ldon`|dhinkanyofuuexocctcdÚmbehoukodbvafon:ignêovcoznzent"zn
Another official, paraphrasing uknnergov*rnor said, "li a nation-state is on the other side, it's
not a fair fight. You have to phone a friend."280

        (U) In the month before Election Day, DHS and other policymakers were planning for
the worst-case scenario of efforts to disrupt the vote itself. Federal, state, and local governments
created incident response plans to react to possible confusion at the polling places. Mr. Daniel
said ofthe effort: "We're most concerned about the Russians, but obviously we are also
concerned about the possibility forjust plain old hacktivisni on Election Day. . . The incident
response plan is actually designed . . . to help us [plan for] what is the federal government going
to do if bad things start to happen on Election Day?"

                Mr. Daniel added that this was the first opportunit to exercise the process
established under Presidential Policy Directive-41 . "We asked the various agencies with lead



274   (U) Memorandum for the Record, SSC1 Staff, Conference Call with [State 8], February 2, 2018.
r»(U)S8C{ Transcript of the Interview with John Brennan, Former Director, CIA, held oo Friday, June l3.Z0|7,p.
54.
za(U) Memorandum for the Record, SSCl Staff, Conference Call with [State 6]. November l7`Z0|7.
z'7(U) Memorandum for the Record, 38Cl Staff. Conference Call with [State 8], February 2,28|8.
 78(U) Memorandum forthe Record, SSC! Staft Conference Call with [State 20], November 17, 2017.
279   (U) Ibid.
:o (IJ) Memorandum tbr the Record, SSCI Staff, Conference CxUn|tb[Soxo9],Novrmhor|7.2O\7.
                                                         39
                    COMMITTEE _SENSITIVE - RUSSIA INVESTIGATION ONLY
      Case 1:17-cv-02989-AT Document 821-4 Filed 08/26/20 Page 147 of 175




                     COMM[|/EB8EN8D VE -                RU

     responsibility, all right, give us your Election Day plan." That led to the creation of an Election
     Day playbook; steps included enhanced watch floor procedures, connectivity between FBI field
     offices and FBI and DHS, and an "escalation path" if "we needed to get to Lisa [Monaco] or
     Susan [Rice] in a hurry" on Election         m/


 VII. (U) SECURITY OF VOTING MACHINES

          (U) The Committee review ofRussian activity in 2016 highlighted potential
 vulnerabilities in many voting machines, with previous studies by security researchers taking on
 new urgency and receiving new scrutiny. Although researcher have repeatedl demonstrated it
 is possible to exploit vulnerabilities in electronic voting machines to alter votes,282 some election
 officials dispute whether such attacks would he feasible in the context of an actual election.

            (U) Dr. Alex Halderman, Professor of Computer Science at the University of Michigan,
            testified before the Committee in June 201 7 that "our highly com      election
            infrastructure is vulnerable to sabotage and even to cyber attacks that could change
            votes."283 Dr. Halderman concluded, "Voting machines are not as distant from the
            internet as they may seem."284

            (U) When State 7 decommissioned its Direct-Recording Electronic (DRE) voting
            machines in 2017, the IT' director led an exercise in attempting to break into a few of the
            machines using the access u^`nonna)" voter would have in using the machines.285 The
            results were alarming: the programmed password on someofthe    the machines was ABC 123,
            and the testers were able to flip the machines to supervisor mode, disable them, and "do
            enoueh damage to call the results into question."286 The IT director shared the results
            with State 21 and State 24, which were using xinni|imrmuohioes. zur

           (U) In 2017, ÚEFC{JN288 researchers were able to find and exploit vulnerabilities in five
           different electronic                     The WinVote machines those recently
           decertified by State 7, were most easily manipulated, One attendee said, "lt just took us a
           couple of hours on Guoa|eto find passwords that let us unlock the administrative



28`(q@&`p8I
2'(N) See also, in/ra.~Qircc*Roovding Electronic (DRE) Voting Macbine Vulnerabilities."
2" (U) SSC1 Transcript of the Open Hearing on Russian Interference in the 2016 U.S. Elections, held on
Wednesday, June2|,2O|7,p.       117.
ow(0)/Öüi.p. \|&
2a$
      (U) Memorandum for the Record, SSC/ Staff, Conference Call with [State 7]. January 25,20{O.
28
      (U) Ibid. The machines used were WinVote voting machines.
z»'(U)Ibid.
2S
    (U) DEFCON is an annual hacker conlèrence held in Las Vegas, Nevada. |n July %O\7,atDEFCON 25, the
conference featured a Voting Machine Hacking Village ("Voting Village") which acquired and made available to
conference participants over 25 pieces of election equipment, including voting machines and electronic poll books,
for generally unrestricted examination for vulnerabilities.
   (U) Matt Blaze, et. al., DEFC'0N25: Voting Machine Hacking Village: Report on Cyber Vulnerabiliiiec in US.
Election Equipment, Damúases,ondÚnfüastrxc/mz,Suptembr,ZV17,hupx:Vwv^v.dofcnn.org/imuges/dofcun'
25/DEF%2VCONYf2O2j%20voúng%2Orcpou.pd[pp.8'i3.
                                          40
            C0&8yáI1-\'E8 SENSITIVE - RUSSIA                     INVESTIGATION ONLY
      Case 1:17-cv-02989-AT Document 821-4 Filed 08/26/20 Page 148 of 175




                   COMMITTEE SENSITIVE - RUSSIA INVESTIGATUON ONLY
         functions on this machine. "290 A researcher was able to hack into the WinVote over
         W tFI within minutes using a vulnerability from 2003.291 Once he had administrator -level
         access, he could change votes in the database. Researchers also discovered available
         USB ports in the machine that would allow a hacker to run software on the machine.292
         One said "with physical access to back [sic] of the machine for 15 seconds, an attacker
         can do anything. "293 Hackers were less successful with other types of machines,
         although each had recorded vulnerabilities.294

         (U) The 2018 DEFCON report found similar vulnerabilities, in particular when hackers
         had physical access to the machines. For example, hackers exploited an old vulnerability
         on one machine, using either a removable device purchasable on eBay or remote access,
         to modify vote counts.29

         (U1)           DHS briefed the Committee in August 2018 that these results were in part
         because the hackers had extended physical access to the machines, which is not realistic
         for a true election system. Undersecretary Krebs also disagreed with reporting that a 17-
         year-old hacker had accessed voter tallies.29t' Some election experts have called into
         question the DEFCON results for similar reasons and pointed out that any fraud requiring
         physical access would be, by necessity, small scale, unless a government were to deploy
         agents across thousands of localities.

         (U) ES&S Voting Systems disclosed that some of its equipment had a key security
         vulnerability. ES &S installed remote access software on machines it sold in the mid-
         2000s, which allowed the company to provide IT support more easily, but also created
         potential remote access into the machines. When pressed by Senator Ron Wyden of
         Oregon, the company admitted that around 300 voting jurisdictions had the software.
         ES &S says the software was not installed after 2007, and it was only installed on
         election-management systems, not voting machines.297 More than 50 percent of voter.
         vote on ES &S equipment, and 41 states use its products.




29° (U) Elizabeth. Wise, "Hackers at DefCon Conference Exploit Vulnerabilities in Voting Machines," USA Today,
July 30, 2017, https: /lwww.usatoday.com/ story/tech/20 t 7'07/30/hackers-defcon-conference -exploit -vulnerabilities -
voting- machines /523639O0 /.
                            1



91 (U) Matt Blaze. et. al., DEFCON 25: Voting Machine Hacking Village: Repon on Cyber Vulnerabilities in U.S.
Election Equipment, Databases, and lnfrustruct ue, September 2017, https://www.defcon.org/images/defcon-
25lDEF%2000N %2025 %20voting %2Oreport.pdf, p. 4.
292 (U) Ibid., p. 9.

293 (U) Ibid.
294
    (U) Ibid., pp. 8 -13.
295(U) Robert McMillian and Dustin Volz,. "Voting Machine Used in Half of U.S. Is Vulnerable to Attack, Report
Finds," Wall Street Journal, September 27, 2018. The machine referenced is the ES &S Model 650, which ES &S
stopped making in 2008 but is still available for sale.
296
    (U) DTS 2018 -3275, Summary of 8/22/2018 Ail Senators Election Security Briefing, August 28, 2018
297
    (U) Hacks, Security Gaps And Oligarchs: The Business of Voting Comes Under Scrutiny. Miles Parks, NPR.
September 21, 2018,
                                                          41
                   COM           EE SENSi' VE - RUSSIA INVESTIGATION ONLY
     Case 1:17-cv-02989-AT Document 821-4 Filed 08/26/20 Page 149 of 175




                    COMMITTEE SENSITIVE - RUSS A INVESTIGATION ONLY
         (U) Advocates of electronic voting point out the flaws ìn paper ballots, like the potential
 for the introduction of fraudulent ballots or invalidated votes due to stains or extra marks. The
 Committee believes that any election system should be protected end-to-end, including against
 fraud.

               U) Direct-Recording Electronic (DRE) Voting Machine Vulnerabthftes

     (U) While best practices dictate that electronic voting machines not be connected to the
     internet, some machines are internet-enabled. In addition, each machine has to be
     programmed before Election Day, a procedure often done either by connecting the machine to
     a local network to download software or by using removable media, such as a thumb drive.
     These functions are often carried out by local officials or contractors. If the computers
     responsible for writing and distributing the program are compromised, so too could all voting
     machines receiving a compromised update. Further, machines can be programmed to show
     one result to the voter while recording a different result in the tabulation. Without a paper
     backup, a "recount" would use the same faulty software to re-tabulate the same results,
     because the primary records of the vote are stored in computer memory.298

     (U) Dr. Halderman said in his June 2017 testimony before SSC!:

           I know America's voting machines are vulnerable because my colleagues and I have
           hacked them repeatedly as part of a decade of research studying the technology that
           operates elections and learning how to make it stronger. We've created attacks that
           can spreadfrom machine to machine, like a computer virus, and silently change
           election outcomes. We've studied touchscreen and optical scan systems, and in every
           single case we found ways for attackers to sabotage machines and to steal votes. These
           capabilities are certainly within reach for America's. enemies.

            Ten years ago, I was part of the first academic team to conduct a comprehensive
           security analysis of a DRE voting machine. We examined what was at the time the
           most widely used touch-screen DRE in the country and spent several months probing it
           for vulnerabilities. What wefound was disturbing: we could reprogram the machine to
           invisibly cause any candidate to win.299




29
          Some DREs also produce a printed record of the vote and show it briefly to the voter, using a mechanism
called a voter-verifiable paper audit trail, or VVPAT. While V VPAT records provide a physical record of the vote
that is a valuable safeguard against cyberattacks, research has shown that VVPAT records are difficult to accurately
audit and that voters often fail to notice if the printed record doesn't match their votes. For these reasons, most
election security experts favor optical scan paper ballots." Written Statement by J. Alex lialderman, June 21, 2017,
citing S. Goggin and M. Byrne, -An Examination of the Auditability of Voter Verified Paper Audit Trail (VVPAT)
Ballots," Proceedings of the 20(17 USENIX/ACCURATE Electronic Voting Technology Workshop, August 2007; B.
Campbell and M. Byrne, "Now do Voters Notice Review Screen Anomalies?" Proceedings of the 2009
USENIX/ACCURATE/IA VoSS Electronic Voting Technology Workshop, August 2009.
2" (U) The machine was the Diebold AccuVote TS. which was still used statewide in at least one state as of 2017.
                                                        42
                  COMMITTEE SENSITIVE - RUSSIA INVESTIGATION ONLY
       Case 1:17-cv-02989-AT Document 821-4 Filed 08/26/20 Page 150 of 175




                       COMMIT-FEE SENSITIVE - RUSSIA INVESTIGATION ONLY

               Cybersecurity experts have studied a wide range of U.S. voting machines-including
               both DREs and optical scanners-and in every single case, they've found severe
               vulnerabilities that would allow attackers to sabotage machines and to alter votes.
               That s why there is overwhelming consensus in the cybersecurity and election integrity
               research communities that our elections are at risk.300


          (U) In speaking with the Committee, federal government officials revealed concerns
  about the security of voting machines and related infrastructure. Former Assistant Attorney
  General for National Security John Carlin told the Committee:

              "I'm very concerned about     .  our actual voting apparatus, and the attendant
                                                .


             structures around it, and the cooperation between some states and the federal
             government. "301 Mr. Carlin firther stated, "We've literally seen it already, so
             shame on us ifwe can't fix it heading into the next election cycles. And it the
             assessment of every key intel professional, which .1 share, that Russia's going to
             do it again because they think this was successful. So ive.re in a bit of a race
             against time heading up to the two-year election. Some of the election machinery
             that's in place should not he, "302

          (U) Mr. McCabe echoed these concerns, and noted that, in the last months before the
 election, FBI identified holes in the security of election machines, saying "there's some potential
 there." "3

        (U) As of November 2016, five states were using exclusively DRE voting machines with
 no paper trail, according to open source information.304 An additional nine states used at least
 some DRE voting machines with no paper trail.305

             (U) State 20 has 21-year-old DRE machines. While the state is in the process of
             replacing its entire voting system, including these machines, State 20 is aiming to have
             the updates ready for the 2020 elections.

             (U) in State 21, 50 of 67 counties as of November 2017 used DRE voting machines.306




3(18(U) SSCI Transcript of the Open Hearing on Russian Interference in the 2016 U.S. Elections, held on
Wednesday, June 21, 2017, pp. I 16-117.
301
    (U) SSCI Transcript of the Interview with John Carlin, Former Assistant Attorney General for National Security,
held on Monday, September 25, 2017, p. 86.
    (U) Ibid., pp. 86-87.
303
    (U) DIS 2018-2152, SSCI Interview with Andrew McCabe, Former Deputy Director of the FBI, February 14,
2018, p. 221.
304 (U) BallotPedia, Voting Methods and Equipment By State.

https://ballotpedia.org/Votinginethods_andequipment_by_state.
3U5
       (U) Ibid.
       (U) Memorandum for the Record, SSCI Staff, Conference Call with [State 21], November 17, 2017.
                                                         43
                     COMMITTEE SENSITIVE - RUSSIA INVESTIGATION ONLY
          Case 1:17-cv-02989-AT Document 821-4 Filed 08/26/20 Page 151 of 175




                       COMM
                                                                                              Y
               (U) State5 used              voting in only atiuut half its machines and DRE voting
               machines without paper backup in the other half.3°7

               (U) Some states are moving to a hybrid model-an electronic voting
                                                                                          machine with a
              paper backup, often in the form of a receipt that
                                                                    prints uftcrdhcvotecsubmitythcü-vote.
              For example, State 12 uses some DREs, but all
                                                                   equipment is required to have a paper
              trail, and the paper ballot is the ballot of record.308 State
                                                                              12 also conducts a mandatory
              otaÚc'vvidcaudit. mo Similarly, State 13 uses sorne paper-based and
                                                                                        some electronic
              machines, but all are required to have a
                                                         poportrai|.310
             (U) The number of vendors selling voting machines is
                                                                     shrinking, raising concerns about
      a vulnerable supply chain. A hostile actor could compromise
                                                                    one or two manufacturers of
      components and have an outsized effect on the security of the
                                                                    overall system.

                                            Monaco when asked whether she was worried about voting
             machines themselves getting hacked, "was to worry about
                                                                      every parade ufhor ihles. So              I
             cannot tell YOU that that did not cross my mind. We
                                                                 were worried about who, how many
             makers. We were worried about the supply chain for the
                                                                     voting machines, who were the
             makers? ... Turns out think it's just Diebold-and have
                                                                      we given them a defensive
             briefing? So to answer your question, we were worried about it

             II.
             market forvoting.). machines in the U.S. Before the 2016
                                                                            a}|.,' 311

                      Mr. McCabe pointed out that a small number of companies
                                                                                  have "90%" of the
                                                                      election,111.11
                                                                      briefed a few of the companies
             on vulnerabilities,    u      ore co prehensive campaign to educate vendors and
                                                                                              their
             customers is warranted.

                                   (U) Voluntary Voting System Guidelines

 (U) Part of the voting reform implemented under The Help
                                                            America Vote Act of2002 was a
 requirement that the Election Assistance Commission create a set of
                                                                     specifications and
 requirements against which voting systems can be tested, called
                                                                 the Voluntary Voting System
 Guidelines (VVSG). The EAC adopted the first VVSG in
                                                           December 2005. The EAC then
 tasked the Technical Guidelines Development Committee,
                                                           chaired by the National Institute of
 Standards and Technology (NIST) and including members
                                                           from NASED, with updating the
_zuido}ineo. In March 2015, the EAC approved VVSG |.l;in
                                                              January 20lU_ the E/\Cadopted




3O7(U) Memorandum for the Record, SSC1ûtaff, Conference Call
308                                                           with [State 5]' December \.20|7.
   (U) Memorandum for the Record. SSCI Staff, Conference Call with
«*(U)Ibid.                                                         [State \2], December |.20|7.
310
      (U) Memorandum for the Record, SSO Staff, Conference Call with
                                                                     [State   \]].
                                                                            December |,20)7.
3''(U)8SC| Transcript vf the Interview with Lisa Monaco, Former Homeland Security'
                                                                                   Advisor, held on Thursday,
August     |O.20|7`p.J|.
32 (U) SSO
            Transcript ofthe Interview
February |*,2V|Q, pp. 220-32i          wi,hAndyMcCuhc,DeputyDirccm,o[d`cFB(,hddonvvrdnooduy`
                                           44
                   COMM! !TEE SENSITIVE - RUSSIA INVESTIGATION ONLY
     Case 1:17-cv-02989-AT Document 821-4 Filed 08/26/20 Page 152 of 175




                   COMMITTEE SENSITIVE - RUSSIA INVESTIGATION ONLY
     an implementation plan requiring that all new voting systems be te3ted against the VVSG I.               I

     beginning in July 2017. VVSG 1.1 has since been succeeded by version 2.0, which was
     released for a 90-day public comment period on February 15, 2019. The EAC will compile
     the feedback for Commissioners to review shortly thereafter.3I3 VVSG 2.0 includes the
     following minimum security guidelines:

            (U) An error or fault in the voting system software or hardware cannot cause an
            undetectable change in election results. (9.1)

           (U) The voting system produces readily available records that provide the ability to
           check whether the election outcome is correct and, to the extent possible, identify the
           root cause of any irregularities. (9.2)

           (U) Voting system records are resilient in the presence of intentional forms of
           tampering and accidental errors. (9.3)

           (U) The voting system supports strong, configurable authentication mechanisms to
           verify the identities of authorized users and includes multi-factor authentication
           mechanisms for critical operations. (11.3)

           (U) The voting system prevents unauthorized access to or manipulation of
           configuration data, cast vote records, transmitted data, or audit records. (13.1)

           (U) The voting system limits its attack surface by reducing unnecessary code, data
           paths, physical ports, and by using other technical controls. (14.2)

           (U) The voting system employs mechanisms to protect against malware. (15.3)

       e   (U) A voting system with networking capabilities employs appropriate, well-vetted
           modem defenses against network-based attacks, commensurate with current best
           practice. (15.4)

 (U) As of March 2018, 35 states required that their machines be certified by EAC, but
 compliance with the VVSG standards is not mandatory. Secretary Nielsen testified before the
 Committee that the United States should "seek for all states" to use the VVSG standards.314




3L  (I)) EAC Commissioners Unanimously Vote to Publish VVSG 2.0 Principles and Guidelines jar Public Comment:
https://www.eac.govinews12019/02/15/eac-com m is si oners-unan mously-vote-to-publi sh-vvsg-20-pri nc i ples-and-
guidelines-for-public-commenti; February 15, 2019
314 (U) SSC1 Transcript of thc Open Hearing on Election Security, held on March 21, 2018,
                                                                                          p. 47.
                                                      45
                 COMMITTEE SENSITIVE - RUSSIA INVESTIGATION ONLY
      Case 1:17-cv-02989-AT Document 821-4 Filed 08/26/20 Page 153 of 175




  VIII. (U) THE ROLE OF DHS AND INTERACTIONS WITH THE STATES

          (U) The federal government's actions to address election security threats evolved
  significantly from the summer of20]6 through the summer of2U\@. Contemporaneous wüthde
  Russian attacks, DHS and FBI were initially treating the situation as they would a typical
  notification of a cyber incident to a non-governmental victim. By the fall of 2016, however,
  DHS was attempting to do more extensive outreach to the states. Then in the fall of 2017, DHS
  undertook an effort to provide a menu of cyber support options to the states.

       A. (U) DHS's Evolution

                   For DFIS and other agencies and departments tasked with intelli       collection
 or formu atmg policy options through the interagency process, the full scope of the threat began
 to emerge in the summer nf20|6. 5ecrctacyjnhuuouuo|dtbcComnnitteo1hut°|knovvl had
 significant concerns by [summer of 2016] about doing all we could to ensure the cybersecurity of
 our election uyntema."335 M: Daniel said in his interview tha by the emÍofJu|y, the interagency
 was focused on better protecting electoral
          sI6


                  Policymakers quickly realized, however that DHS was poorly positioned to
 pcov/de1hckindofsuppm1stateonocdcd Mr. Dooie|suid1hut(nterugcucydiwuussimnsubVutfhc
 tbreut^súart[cdluprocesuofuoaotuu\|vn:m|lzing that, frankly, we don't actually have very much
 in the way of capability that we can directly offer the states"-a fact that the states themselves
 would later echo.317

         11111      Ms. Monaco said tha DB8initiaUvfouodu°orcttvoúarndngvuranocüm1hc
         number of ofvoting
                      voting registration databases and lack ofencryption and lack of backup for all
         of theorthingx."/'^ Ms. Monaco added dhmt°[Un light ofwhat we were seeing, in light of
         the intelligence we were getting briefed on, this was a very specific direction and
         decision to say we need to really accelerate this, put a significant push on resources and
         engagement at the senior-most levels."319

                  Mr. Daniel and the working group identified DHS's cyber teams as possible
         assistance to the states. "DNS had teams that could go and provide that support to the
         private sector. We've been doing that. That's a program that existed for years for critical




`n(0)68Q Transcript ofthe     Interview with Jeh Johnson, Former Secretary ofHomeland Security, held on
Monday, June 12,       `7.|O.
36 (U) SSCI Transcript ofihe
                              interview with Michael Daniel, Former Special Assistant 1.0 the President and
Cybersecurity Coordinator National Security Council. held on Wednesday August 31,2017,p.28.
«`(U)Nu[.p. 38.
  (U) SSCI Transcript of the Interview with Lisa Monaco, Former Homeland Security Advisor, held on Thursday,
118
August |V.20|7,S8C| interview of Lisa Monaco. August |8.2V|7,p. 19.

                                                        46
                  CO        ITTEE SENS 'IVE - RUSSIA INVESTIGATION ONLY
      Case 1:17-cv-02989-AT Document 821-4 Filed 08/26/20 Page 154 of 175




                    COMMITTEE
                           FEE SENSITIVE           -   RUSSIA INVESTIGATION ONLY
          infiasti uctui e companies. And we realized that we could repurpose [some of those
          teams], but we don't have that many of them .. four or five. It was not very many." 320
                                                             .




         (U) DHS attempted a nuanced outreach to the states on the threat. Ms. Monaco
 highlighted a delicate balancing act with the interactions with states:

          I know we tried very hard to strike a balance between engaging state and local
          officials andfederal officials in the importance of raising cyber defenses and
          raising cybersecurity... and not sowing distrust in the system, both because, one,
          we believed it to be true that the system is in fact quite resilient because of what I
          mentioned earlier, which is the diffuse nature; and because we did not want to, as
          we described it, do the Russians' work for them by sowing panic about the
         vulnerability of the election.32I

        (U) In an August 15, 2016, conference call with state election officials, then-Secretary
Johnson told states, "we're in a sort of a heightened state of alertness; it behooves everyone to do
everything you can for your own cybersecurity leading up to the election." He also said that
there was "no specific or credible threat known around the election system itself. I do not
recall-I don't think, but I do not recall, that we knew about [State 4] and Illinois at that
point"322 The Committee notes that this call was two months after State 4's system was
breached, and more than a month after Illinois was breached and the state shut down its systems
to contain the problem. During this call, Secretary Johnson also broached the idea of designating
election systems as critical infrastructure.

        (U) A number of state officials reacted negatively to the call. Secretary Johnson said he
was "surprised/disappointed that there was a certain level of pushback from at least those who
spoke up.   . The pushback was: This is our-I'm paraphrasing here: This is our responsibility
                .



and there should not be a federal takeover of the election system."323

         (U) The call "does not go incredibly well," said Mr. Daniel. "I was not on the call, no,
         but all of the reporting back and then all of the subsequent media reporting that is leaked
         about the call shows that it did not go well." Mr. Daniel continued: "I was actually quite
         surprised  .   in my head, there is this: yes, we have this extremely partisan election going
                        .   .


         on in the background; but the Russians are trying to mess with our election. To me,
         that's a national security issue that's not dependent on party or anything else."324




320 (U) SSCI Transcript of the Interview with Michael Daniel, Former Special Assistant to the President and
Cybersecurity Coordinator, National Security Council, held on Wednesday, August 31, 2017, p. 41.
321 (U) SSCI Transcript of the Interview with Lisa Monaco, Former Homeland Security Advisor, held on Thursday,

August 10, 2017, p. 29.
32 (U) SSCI Transcript of the Interview with Jeh Johnson, Former Secretary of Homeland Security, held on
Monday. June 12, 2017, p. 13.
323 (U) Ibid., pp. 13-14.
324
    (U) Ibid. p. 48.
                                                        47
                     COMMITTEE SENSITIVE - RUSSIA INVESTIGATION ONLY
   Case 1:17-cv-02989-AT Document 821-4 Filed 08/26/20 Page 155 of 175




                     COMMITTEE         SENSITIVIII-111!!!!!!Mill'ION
                                                                   NLY
           (U) Ms. Monaco also related how DuS reteived significant push
                                                                               back from thc states
           and decided to "focus our efforts on really pushing states
                                                                      to voluntarily accept the
           assistance that DHS was trying to            32x


           (U) States also reported that the call did not go well. Several states
                                                                                   told the Committee
           that the idea of a critical infrastructure designation surprised
                                                                            them and came without
          context ofa particular threat. Some state officials also did not
                                                                              understand what a critical
          infrastructure designation meant, in practical terms, and whether it would
                                                                                         give the federal
          government the power to run elections. DHS also did not anticipate a
                                                                                     certain level of
          suspicion &om the states toward the federal government. As a State
                                                                                    17 official told the
          Committee, "when someone says 'we're from the government and we're
                                                                                         here to help,'
          it's generally not a good thing."326

                                   (U) Critical Infrastructure Designation

   (U) One of the most controversial elements of the relationship between
                                                                              DI-IS and the states
   was the decision to designate election systems as critical
                                                              infrastructure. Most state officials
   relayed that they were s    ixed by the designation and did not understand what it meant;
   many also felt DHS was not open to input from the states on whether
                                                                           such a designation was
   beneficial.

  (U) Secretary Johnson remembers the first time he aired the possibility
                                                                               ofudesignation was
  ou August 3,20|(i He went to a reporters' breakfast sponsored by the
                                                                              Christian Science
  Mnnihmrundpubiic|y°Oomudtheidrao[deuignu1iog election infrastructure as critical
  infrastructure."327 Then, on August 15, 2016, Secretary Johnson had a conference call
                                                                                                with
  election officials from all 50 states. "I explained the nature ofwhat it means
                                                                                    to be designated


                                                                                          '
  critical infrastructure. It's not a mandatory set of[regulations], it's not a federal
                                                                                        takeover, it's
  not binding operational directives. And here are the advantages: priority in
                                                                                   terms of our
  services and the benefit ofthe protection ofthe international
                                                                  oybecnonm.°         Secretary
  Johnson continued: "1 stressed at the time that this is all voluntary and it
                                                                               prioritizes assistance
  if they seek »zo
 (U) Some states were voca in objecting to the idea In evaluating the states'
                                                                                     response, DHS
 came to the conclusion that it should put the designation on hold,
                                                                        deciding it would earn more
 state trust and cooperation if it held off on the designation as critical
                                                                           infrastructure and perhaps
 sought more buy-in from the states at a lutcrdaie. 3m



 325 (U) SSC1 Transcript of the Interview with Lisa
                                                    Monaco, Former Homeland Security Advisor, held on Thursday,
August 10 20 t 7, SSCI interview of Lisa Monaco. August }0.20|7.p.25.
^29(0) Memorandum for the
                               Record, SSCI Staff, Conference Call with State |7, January 25,20|8.
     (U) SSC1 Transcript of the Interview with Jeh Johnson, Former Secretary of Homeland
                                                                                               Security, held on
Monday, June }2,20)7,p.|0.
3:8 (U) Mid, p. 14. For additional information on the definition
                                                                 of critical infrastructure inuoybersecmitycontext,
see Executive Order }36]6. Improving Critical /nfrmxruct',v{yhcrucnrúy, February
`29(N)SSC{ Transcript oy the Open Hearing                                                   |2,ZV\3.
                                              oo Election Security, March 2\,20|8.p.34.

                                                        48
      Case 1:17-cv-02989-AT Document 821-4 Filed 08/26/20 Page 156 of 175




                   CO M         EE SENS TIVE        -.1111111111.1111111Y

 (U) After the election, Secretary Johnson decided the time had come to make the des            oo.
                                                                               ion in January 2017:
 l-le held a follow-up call with NASS on the critical infrastructure designation
 "1 didn't tell them I'm doing this the next day, but I told them was close to making a
 decision. I didn't hear anything further [along the lines of additional, articulated objections],
 so the same day we vent public with the [unclassified] version of the report,o| I also made the
 designation."332

 (U) Mr. Daniel summed up the rationale for proceeding this way:
                                                                         "]do believe that we should
 think of the electora infrastructure as critical infrastructure, and to me it's just as critical for
 democracy as communications, electricity, water. If that doesn                        your
 democracy doesn't    function.. .. To me  that is the definition of `critical."333

 (U) In interview with the Committee in late 2017 and early 2018, severa otatcmvvorc
          ve of the designation and saw the bcmnfitsof, for example, the creation of the
 Government Coordinating Council. Others were lukewarm, saying they had seen limited
 benefits !òr all the consternation officials said it had caused. Still others remained suspícious
             '
 that the d      uúooismfioÚutcpto*ardufe1cro takeover of elections.



       B. (U)   The View From the States

          (U) For most states, the story of Russian attempts to hack state infrastructure was one of




AtooómtdidMS-|SACorDBSidcuúfvtbo|Puddn:ssouusoosociutcdpüdbuuaóVn-tate
actor. Given tbc lack of context, state staff vho reucived the notification did not ascribe any
additional urgency to the warning; to them, it was a few more suspect IP addresses among the
thousands that were constantly pinging state systems. Very few state IT directors informed state
election officials about the alert.




  (U) Secretary Johnson was referring to the declassified version o the Intelligence Community Asses
33]                                                                                                       en   ,

Assessing Russian Activities and Intentions in Recent U.S. Elections, January 6, 2017.

33 (U) SSC:l Transcript of the Interview with Michael Daniel, Former Special Assistant to the President and

Cybersecurity Coordinator, National Security Council, held on Wednesda , Au         I. 2017, 9 .
                                                                                              .



334 U FBI FLASH, Alert Number T-LD1004-TT, TLP-AMBER.


                 PR FLASH. Alert Number T-LD[oo5:TT,TL

                                nerT4,2G\6.
                   'overtime Jyste ms.0c
                                           49
                   C8MM[TTTB SENSITIVE ' RUSSIA                  ONVEQ1F     GAT\ONON LY
      Case 1:17-cv-02989-AT Document 821-4 Filed 08/26/20 Page 157 of 175




                      CO           EE SENSITIVE - RUSSIA INVESTIGATION
                                                                                             ONLY
              (U) State   11 had a meeting with D8D
                                                      officials, including thc regional DEB cyber
              advisor, in August 2016, but according to State II officials,
                                                                             DUS did not mention any
              specific threat against election systems from a nation-state actor. o^

           (U) State  13 reported that DUS contacted an
                                                        affected county at one point, but never
           contacted the state-level        33r


           (U) When they saw an IP address identified in the alerts
                                                                    had scanned their systems, State
           6 and State 16 sent their logs to the MS-ISAC             om
                                                         for anal        State 16 said it never
           received     a          3m


          (U) DHS, conversely, saw its eflòrts as far more extensive
                                                                         and effective. Ms. Manfra
 testified to SSCI that DRS "held a conference call where all
                                                                  50 secretaries of state or an election
 director if the secretary of state didn't have that
                                                     responsibility [pmtioipated], in August, in
 September, and again in October [of 2016], both high-level
                                                                 engagement and network defense
 products [sic]."^s4o Mr. Daniel reported that "by the time
                                                             Election Day rolls around, all but one
 state has taken us up on the offer to at least do scanning
                                                            [,] so I want to give people credit for not
 necessarily sticking to initial partisan reactions and .  taking steps to protect their electoral
                                                                 .

 in§as1,uotorp." 341

         (U) States reported to the Committee that Election Day went
                                                                             off smoothly. For most
state election officials, concerns about a possible threa
                                                             against election systems dropped off the
radar until the summer or fall of2017. Many state election
                                                                 officials reported hearing for the first
time that Russian actors were responsible for scanning election
                                                                      infrastructure in an estimated 21
states from the press or from the Committee's open
                                                       hearing on June 21, 2017. During that
hearing, in response to a question from Vice Chairman Warner
                                                                     inquiring whether all affected
states were aware they were attacked, Ms. Manfra
                                                     responded that lain of the system owners
within those states are aware of the targeting, yes, sir."-'42 However,
                                                                            when pressed as to whether
election officials in each state were aware, the answer was less
                                                                     clear.343

         (U) In that hearing, Dr. Liles said DHS had "worked
                                                                 hand-in-hand with the state and
         local partners to share threat information related to their
                                                                     networks."3



3u(W) Memorandum for the Record, S3Cl Staff, Conference Call
sr(U)                                                             with [State iU, December 8.2O\7.
        Memorandum for the Record, SSCl Staff, Conference Call with [State
33                                                                            i3], December \.%0|7.
   (U) Memorandum for the Record, SSCI Staff. Conference Call with [State
                                                                              6], November 1 7, 20 I 7 Memorandum
for the Record, SSCI Staff, Conference Call with [State 161, December 1,
33                                                                       2017.
   (U) Ibid. State 6 did not indicate whether hey received feedback from
                                                                         DHS.
3w(U)SôCl Transcript of the Open Hearing on Russian Interference io the
                                                                           20ióU.O. Elections, June   2i,2O|7.p.
74.
`4,(W) S8C| Transcript o[
                           the Interview with Michael Daniel. Former Special
                                                                              Assistant to the President and
Cybersecurity Coordinator, National Security Council, held on Wednesday,
                                                                            August 3 I, 2017, p. 49.
34' (U) SSC1 Transcript of the Open Hearing on
                                                Russian Interference in the 2016 U.S. Elections, held on
Wednesday, June 2i,20|7.p.28.
m`(8) /6út,pp. OZ'ú3.


                                                50
                   CO       I   EE SENSITIVE - RUSSIA INVESTIGATION ONLY
      Case 1:17-cv-02989-AT Document 821-4 Filed 08/26/20 Page 158 of 175




                  COMMITTEE SENSITIVE - RUSSIA INVESTIGATION ONLY


         (U) Ms. Manfra said, "The owners     of the systems within those 21 states have been
         notified." Senator King then asked, "How about the election officials in those states ?"
         Ms. Manfra responded, "We are working to ensure that election officials as well
         understand. I'll have to get back to you on whether all 21 states ....[crosstalk]. "345

         (U) Given Ms. Manfra's testimony and the fact that some election officials did not get a
         notification directly to their offices, election officials in many states assumed they were
         not one of the 21; some even issued press releases to that effect.346

         (U) The disconnect between DHS and state election officials became clear during
Committee interactions with the states throughout 2017. In many cases, DHS had notified state
officials responsible for network security, but not election officials, of the threat. Further, the IT
professionals contacted did not have the context to know that this threat was any different than
any other scanning or hacking attempt, and they had not thought it necessary to elevate the
warning to election officials.

       (U) After the hearing, and in part to respond to confusion in the states, DHS held a
conference call with representatives from 50 states in September 2017. In that call, DHS said
they would contact affected states directly. State 8 state election officials noted that the call
became "somewhat antagonistic. "347 State 17 officials reported that the phone call "just showed
how little DHS knew about elections. "348 Several officials argued that all 50 states should be
notified of who had been hacked. DHS followed up with one -to -one phone calls to states over
the next several days.

         (U) Officials from some states reported being shocked that they were in fact-one of the
         states, and further surprised that their states had supposedly been notified.

         (U) Most state officials found the conference calls lacking in information and were left
         wondering exactly what the threat might be. Several states said the DHS representatives
         could not answer any specific questions effectively.

          (U) Following this series of difficult engagements, DHS set about trying to build
relationships with the states, but it faced a significant trust deficit. Early follow -up interactions
between state election officials and DHS were rocky. States reported that DHS seemed to have
little to no familiarity with elections. For example, State 6 said that the DHS representatives they
were assigned seemed to know nothing about State 6, and, when pressed, they admitted they
were "just reading the spreadsheet in front of [them]. "349 State 8 reported that "we are spending



345 (U) Ibid., pp. 62 -63.
346
    (U) State 8 said they put out a press release because DHS had said publicly that they had notified the 21 states,
and "if you were one of the 21, you would know."
347 (U)
        Memorandum for the Record, SSCI Staff, Conference Call with [State 8], February 2, 2018.
348 (U)
        Memorandum for the Record, SSCI Staff, Conference Call with [State I7], January 25, 2018.
349 (U) Memorandum for the Record, SSCI Staff, Conference Call with [State 6], November I7, 2017.

                                                           51
                   COMMITTEE SENSITIVE - RUSSIA INVESTIGATION ONLY
       Case 1:17-cv-02989-AT Document 821-4 Filed 08/26/20 Page 159 of 175




                       COMMITTEE SENSITIVE - RUSSIA INVESTIGATION ONLY
      a ton of time educating outside groups on how elections are run. "350 State 3 officials said,
                                                                                                    "DHS
      didn't recognize that securing an election process is not the same as securing a power
                                                                                              grid. "351
           (U) By early 2018, State officials gave DHS credit for making significant
                                                                                            progress over
  the next six months. States began to sign up for many of the resources that DHS
                                                                                           had to offer,
  and DHS hosted the first meeting of the Government Coordinating Council
                                                                                     required under the
  critical infrastructure designation. Those interactions often increased trust and
                                                                                        communication
  between the federal and state entities. For example, DHS has identified a list of
                                                                                          contacts to
  notify if they see a threat; that list includes both IT officials and election officials.
                                                                                             State 9
  described it as "quite a turnaround for DHS," and further stated that the Secretaries
                                                                                              of State had
  been disappointed with how slowly DHS got up to speed on election administration
                                                                                              and how
  slowly the notifications happened, but DHS was "quick with the mea culpas and are
                                                                                               getting
  much better." 352

         (U) Not all of the engagements were positive, however. State 13 in early
                                                                                    December
  2017 still reported continued frustration with DHS, indicating to the Committee that
                                                                                       it had not
  seen much change in terms of outreach and constructive engagement. As of summer
                                                                                        2017,
  according to State 13, "the lack of urgency [at DHS] was beyond frustrating."353

        C. (U) Taking Advantage of DHS Resources

       (U) As DHS has pursued outreach to the states, more and more have opened their
                                                                                          doors
 to DHS assistance. DHS told the Committee that its goal has been relationship building
                                                                                        and:
              In the partnerships with the states and secretaries of states, state election
              directors, and at the local level, we're trying to shift them to a culture of more
              information security management, where they can now accountfor the integrity of
              their system, or, ifsomething did happen ... they know the full extent of what
              happened on their system.... We're providing vulnerability assessments and
              trend analysis, in addition to connecting them to the threat intelligence that we
              can, in order to evolve their ... cyber culture. 359

        (U) DHS's assistance can be highly tailored to need, and falls into roughly two buckets:
 remote cyber hygiene scans, which provide up to weekly reports, and on-site risk and
 vulnerability assessments. DHS also offers a suite of other services; including phishing
 campaign assessments. All these efforts seek to provide the states with actionable information to
 improve cyber hygiene, but DHS has been keen to avoid what could be perceived by the states as




350 (U)   Memorandum for the Record, SSCI Staff, Conference Call with [State 8], February 2, 2018.
351 (U)   Memorandum for the Record, SSCI Staff, Conference Call with [State 3], December 8, 2017.
352 (U)
          Memorandum for the Record, SSCI Staff, Conference Call with [State 9], November 17, 2017.
353 (U)
          Memorandum for the Record, SSCI Staff, Conference Call with [State 13], December 1, 2017.
354
      (U) SSCI interview with DHS and CTIIC, February 27, 2018, pp. 54 -55.
                                                        52
                     COMMITTEE SENSITIVE - RUSSIA INVESTIGATION ONLY
       Case 1:17-cv-02989-AT Document 821-4 Filed 08/26/20 Page 160 of 175




                         COMM D-7EESENSITIVE
 unfunded mandates.355 Some states nequeuUnâ more intensive services have also experienced
 significant delays before DUIS could send a team to assist.

             (U) Bv October 2Ol8,DBS said 35 states, 91 local jurisdictions, and eight election
             system vendor had signed up fo vrcnopersistent
                                               remote                     All the requests for these
             scans have been fulfilled. "They can be turned on basically within the week," according
             to DI

             (U) C>BS said that uxof October 2Ol8.b had completed        ]ji         on the ground
             vulnerability assessments: 21 states, 13 localities, and one election system vendor. These
             assessments are one week off-site remote scans followed by a second week on          oo

             (U) Two states who completed dc in-depth assessments reported in late 2017 they had
             had a good experience. State 12 officials said the team was "extremely helpful and
             professional."359 State iO said the review was a good experience, although DHS was
             somewhat limited in what it could do.36° For example, DHS did a phishing email test that
             ubov/d{btruinioföromployxhadvvorkcd. » I)HS gave "good and actionable
             rccomnoondmóona." Although DHS "didn't really understand election systems when they
             cunoc'^` they learned u(oL 3^z

             (U) As ofNovember 2017, State 6 and State 9 requested an on-site scan, but those scans
             were on track to be delayed past the Augus 2018 primaries.363 State 7 was ex         a
             four-to-six month delay.3 State 8 signed up for a checkup in October 2017 and was due
             to get service the following February.36 As ot'January 2018, State 17 also had requested
             an on-site yoon. 1ao

         (U) In a sign of improving relations between the states and DHS, two states that had
elections io2017 attempted Óo ino|udeDHS in the process more extensively than in the past. In
State 17`a two-person MIS team sat with election officials during the 20 7 special election and
                                                                                  1


monitored the networks. Even though "their presence was comforting," they "really didn't do
nnuob.° State 17 signed DHS's normal MOU, but also added its own clause to underscore the
state's independence: a formal sunset on DHS's access to state systems, one week after the



333    (U)      p. 60.
a^(0)Ibid.'57.
357
       (U) DHS phone cati with SSCI; October iÁ.20|8.
^53(0)/úm.
359(U) Memorandum for the Record, SSCI Sta1t Conference Call with [State \2]. December    7,20)7.
»m(Q)8hüt
»m(0) W6í
z62(0)Ibid.
363 (U) Memorandum for the Record, SSCI Stati, Conference Call with [State 6], November 7, 20 I 7; Memorandum
                                                                                      1


t'ox the Record. 8DC| Staff. Conference Call with [State V]. November |7.ZO\7.
'°(U) Memorandum for the Record, 8SCl Staff, Conference Call with [State ?]. January 25,2O|8.
365
    (U) Memorandum for the Record, SSCI Staff, Conference Call with [State 8]. February l,Z0\V.
366
    (U) Memorandum for the Record, SSCI Staft Confèrence Call with [State 17]`Jun^m?25,20}8.
                                                        53
                     COMMITTEE SENSITIVE - RUSSIA INVESTIGATION ONLY
      Case 1:17-cv-02989-AT Document 821-4 Filed 08/26/20 Page 161 of 175




                      COMMITTEE SENSITIVE                  -   RUSSIA INVESTIGATION ONLY
 election. State 7 reported their experience with UHS during the 2017 statewide election was
 quite good. DI-IS sat with election officials all day, which meant State 7 could pass messages
 quickly to NCCIC.

        (U) In March 2018, Congress appropriated $380 million in funding for election security
 improvements. The funding was distributed under the formula laid out in the Help American
 Vote Act (HAVA) and was intended to aid in replacing vulnerable voting machines and
 improving cybersecurity. As ofJuly 2018, 13 states said they intended to use the funds to buy
 new voting machines, and 22 said they have "no plans to replace their machines before the
 election-including all five states that rely solely on paperless electronic voting devices,"
 according to a survey by Politico.367

 IX. (U) RECOMMENDATIONS

        I. (U) Reinforce States' Primacy in Running Elections*

      (U) States should remain firmly in the lead on running elections, and the federal
government should ensure they receive the necessary resources and information.

       2.   (U) Build a Stronger Defense,           Part I: Create Effective Deterrence

        (U) The United States should communicate to adversaries that it will view an attack
on its election infrastructure as a hostile act, and we will respond accordingly. The U.S.
Government should not limit its response to cyber activity; rather, it should create a menu
of potential responses that will send a clear message and create significant costs for the
perpetrator.

                Ideally, this principle of deterrence should be included in an overarching
cyber doctrine for the U.S. Government. That doctrine should clearly delineate
cyberespionage, cybercrime, and cyber attacks. Further, a classified portion of the doctrine
should establish what the U.S. Government believes to be its escalation ladder in the cyber
realm-what tools does it have, what tools should it pursue, and what should the limits of cyber
war be. The U.S. strategic approach tends to overmatch adversaries with superior technology,
and policymakers should consider what steps the U.S. will need to take to outstrip the
capabilities of Russia, China, Iran, North Korea, and other emerging hostile actors in the cyber
domain.

        (U) U.S. cyber doctrine should serve as the basis for a discussion with U.S. allies
and others about new cyber norms. Just as the international community has established norms
and treaties about the use of technologies and weapons systems, the U.S. should lead a
conversation about cyber norms and the limits of cyber activity with allies and others.



'The Committee's recommendation to "reinforce states' primacy in running elections" should he understood in reference to states' responsibility for
election security, and not as pertaining to broader election issues, such as campaign finance laws or voting rights laws.
367   (U) States Slow to Prepare for Hacking Threats, Eric Geller, Politico, July 18, 2018.
                                                           54
                     COMMITIEE SENSITIVE - RUSSIA INVESTIGATION                                    ONLY
                       11111111M11111111 10111111111MMIIIIIMI
     Case 1:17-cv-02989-AT Document 821-4 Filed 08/26/20 Page 162 of 175




                     COMMITTEE SENSITIVE - RUSSIA INVESTIGATION ONLY
        3. (U) Build a Stronger Defense,        Part II: Improve Information Gathering and
            Sharing on Threats




                     The U.S. government needs to build the cyber expertise and capacity of its
    domestic agencies, such as DHS and FBI, and reevaluate the current authorities that
    govern efforts to defend against foreign cyber threats. NSA and CIA collection is, by law,
    directed outside the United States.



                   The U.S. government should invest n capabilities for a 'd attribution of
      ber attacks, without sacrificin g accuracy.

                                                    owever, the IC needs to improve its ability to
    provide timely and actionable warning. Timely and accurate attribution is not only important to
    defensive information sharing, but will also underpin a credible deterrence and response strategy.

      (U) The federal government and state governments need to create clear channels of
communication two ways-down from the federal government to the state and local level,
and up from the state and local officials on the front lines to federal entities. In 2016, DHS
and FBI did not provide enough information or context to election officials about the threat they
were facing, but states and DI-IS have made significant progress in this area in the last two years.
For example, Secretary of Homeland Security Nielsen testified to the Committee in March 2018
that "today I can say with confidence that we know whom to contact in every state to share threat
information. That capability did not exist in 2016.369

         (U) A key component of information sharing about elections is security clearances
for appropriate officials at the state and local level. DHS and its partners can effectively strip
classified information off of cyber indicators, which can then be passed to technical staff at the
state level, but in order for those indicators to not gel lost in the multitude of cyber threats those
professionals see on a daily basis, senior officials at the state and local levels need to know the



3




                      of the Open Hearing on Election Security, held on March 21, 2018, p. G.
      U) SSC1 Transcript                                                                  I


                                                      55
                   COMMITTEE SENSITIVE - RUSSIA INVESTIGATION ONLY
  Case 1:17-cv-02989-AT Document 821-4 Filed 08/26/20 Page 163 of 175




                 COMMITTEE SENSITIVE - RUSSIA INVESTIGATION ONLY
context surrounding the indicators. State officials need to know why a particular threat is of
significant concern, and should be prioritized. That context could come from oúwofied
information, or states could come to understand that threat information DHS passes them is more
serious than that received through other sources. DHS's goal is to obtain clearances for up to
three officials per state.370 únnf August 2U)8, D88 had provided a clearance to 92 officials371;
uswf late 2U|7all state election officials had received interim secret clearances or one-day read-
ins for secret-level briefings.372 DHS, along with ODNI and FBI, also hosted state and local
election officials for a SECRET-level briefing on the sidelines of the biannual NASS and NASS-
ED conferences in Washington, DC in February 2018. In March, Amy Cohen, Executive
Director ofNASS-ED testified in front ofthe the Committee that, "it would be naïve to say that we
received answers to all our questions, but the briefing was incredibly valuable and demonstrated
how seriously QBS and others take their commitment to the elections community as well as to
our concems."373 The Committee recommends DHS continue providing such briefings and
improve the quality of information shared.

        (U) Fundamental to meaningful information sharing, however. is that state officials
understand what they are getting. New inductees to the world ofclassified information are often
disappointed-they expected to see everything laid out in black and white, when intelligence is
often very gray, with a pattern discernable only to those who know where to look and what
conclusions to draw. Those sharing the intelligence should manage expectations-at the
SECRET level, officials are likely to see limited context about conclusions, but not much more.

       (U) Federal officials should work to declassify information, for the purpose of
providing warning to appropriate state and local officials, to the greatest extent possible. If
key pieces ofcontext could be provided at a lower classification level while still protecting
classified information, DHS and its partners should strive to do so.

    4. (U) Build a Stronger Defense,          Part III: Secure Election-Related Cyber Systems

        (U) Despite the expense, cybersecurity needs to become a higher priority f*r
election-related infrastructure. The Committee found a wide range ofcybersecurity practices
across the states. Some states were highly focused on building a culture o[cybec000urity; others
were severely under-resourced and relying on part-time help.

        (U) The Committee recommends State officials work w ith DHS to ev luate the
security of their election systems end-to-end and prioritize implementing the following
steps to secure voter registration systems, state records, and other pre-election activities.
The Committee additionally recommends that State officials:




/m(U)SSC| Transcript ufthe Open Hearing. on   Election Security, held on March 21`20|8,pl5.
m(0)DTS2O10-}27j, Summary u[8/2Z/ZO|8         All Senators Election Security Briefing, August 28,20l8.
^'/(U)SSC| Transcript o[ the Open Hcuhngun    Election Security, held on March 2\,20|8.p|5,26.
`'/(0)8SC| Transcript nfthe Open Hearing on   Election Security, held on March 2|,2O|8.p.i|J.
                                                      56
                COMMITTEE SENSITIVE - RUSSIA INVESTIGATION ONLY
      Case 1:17-cv-02989-AT Document 821-4 Filed 08/26/20 Page 164 of 175




                     COMMITTEE SENSITIVE - RUSSIA INVESTIGATION ONLY

           (U) Identify the weak points in their networks, like under-resourced localities. State 7
           said they are not worried about locations like larger counties when it comes to network
           security, but they are worried about "the part-time registrar who is also the town attorney
           and the town accountant and is working out of a 171h century jail." 374

           (U) Undertake security audits of state and local voter registration systems, ideally
           utilizing private sector entities capable of providing such assistance. State and local
           officials should pay particular attention to the presence of high severity vulnerabilities in
           relevant web applications, as well as highly exploitable vulnerabilities such as cross-site
           scripting and SQL injection.

           (U) Institute two-factor authentication for user access to state databases.

           (U) Install monitoring sensors on state systems. As of mid-2018, DHS's ALBERT
           sensors covered up to 98% of voting infrastructure nationwide, according to
           Undersecretary Krebs.375

           (U) Include voter registration database recovery in state continuity of operations plans.

           (U) Update software in voter registration systems. One state mentioned that its voter
           registration system is more than ten years old, and its employees will "start to look for
           shortcuts" as it gets older and slower, further imperiling cybersecurity.

           (U) Create backups, including paper copies, of state voter registration databases.

           (U) Consider a voter education program to ensure voters check registration information
           well prior to an election.

         (U) DHS in the past year has stepped up its ability to assist the states with some of these
activities, but DNS needs to continue its focus on election infrastructure and pushing resources to
the states.

           (U) The Committee recommends DHS take the following steps:

           (U) Create an advisory panel to give DHS expert-level advice on how states and
           localities run elections. The Government Coordinating Council, created as part of the
           critical infrastructure designation, could serve as a venue for educating DHS on what
           states do and what they need.




174   (U) Memorandum for the Record, SSC! Staff, Conference Call with [State 7), January 25. 2018.
375   (U) 01'S 2018-3275, Summary of 8/22/2018 All Senators Election Security Briefing, August 28, 2018.
                                                         57
                    COMMUITEE SENSITIVE - RUSSIA INVESTIGATION ONLY
      Case 1:17-cv-02989-AT Document 821-4 Filed 08/26/20 Page 165 of 175




                      COMMITTEE SENSITIVE RUSSIA INVESTIGATION ONLY

           (U) Create guidelines on cybersecurity best practices for elections and a public
           awareness campaign to promote election security awareness, working through EAC,
           NASS, and NASED, and with the advisory panel.

           (U) Develop procedures and processes to evaluate and routinely provide guidance on
           relevant vulnerabilities associated with voting systems in conjunction with election
           experts.

           (U) DEIS has already created a catalog of services they can provide to states to help
           secure states' systems. DHS should maintain the catalog and continue to update it as it
           refines its understanding of what states need.

           (U) Expand capacity so wait times for services, like voluntary vulnerability assessments,
           are manageable and so that DHS can maintain coverage on other critical infrastructure
           sectors. Robbing resources from other critical infrastructure sectors will eventually
           create unacceptable new vulnerabilities.

           (U) Work with GSA to establish a list of approved private-sector vendors who can
           provide services similar to those OHS provides. States report being concerned about
           "vultures" companies who show up selling dubious cyber solutions. That being said,
           some states will be more comfortable having a private sector entity evaluate their state
           systems than a federal agency.

           (U) Continue to build the resources of the newly established El-ISAC. States have
           already found this information sharing service useful, and it could serve as a
           clearinghouse for urgent threat information. As of August 2018, the EL-ISAC had over
           1,000 members with participants in all 50 states.376

           (U) Continue training for state and local officials, like the table-top exercise conducted
           in August of 2018 that brought together representatives from 44 states, localities, and the
           federal government to work through an election security crisis.377 The complexity of the
           scenario encouraged state and local officials to identify serious gaps in their preparations
           for Election Day.

      5.   (U) Build a Stronger Defense,    Part IV: Take Steps to Secure the Vote Itself

        (U) Given Russian intentions to undermine the credibility of the election process,
states should take urgent steps to replace outdated and vulnerable voting systems. When
safeguarding the integrity of U.S. elections, all relevant elements of the government-including
at the federal, state, and local level-need to be forward looking and work to address
vulnerabilities before they are exploited.



376(U) DTs 2018-3275. Summary of 8/2212018 All Senators Election Security Briefing, August 28, 2018.
'77(U) DHS, Press release: DHS Hosts National Exercise on Election Security, August 15, 2018.
                                                     58
                  COMMITTEE SENSITIVE - RUSSIA INVESTIGATION ONLY
      Case 1:17-cv-02989-AT Document 821-4 Filed 08/26/20 Page 166 of 175




                    COMMITTEE SENSITIVE - RUSSIA INVESTIGATION ONLY


          (U) As states look to replace HAVA -era machines that are now out of date, they should
          purchase more secure voting machines. Paper ballots and optical scanners are the least
          vulnerable to cyber attack; at minimum, any machine purchased going forward should
          have a voter -verified paper trail and remove (or render inert) any wireless networking
          capability.

          (U) States should require that machines purchased from this point forward are either
          EAC certified or comply with the VVSG standards. State purchasers should write
          contracts with vendors to ensure adherence to the highest security standards and to
          demand guarantees the supply chains for machines are secure.

          (U) In concert with the need for paper ballots comes the need to secure the chain of
          custody for those ballots. States should reexamine their safeguards against insertion of
          fraudulent paper ballots at the local level, for example time stamping when ballots are
          scanned.

          (U) Statistically sound audits may be the simplest and most direct way to ensure
          confidence in the integrity of the vote.378 States should begin to implement audits of
          election results. Logic and accuracy tests of machines are a common step, but do not
         speak to the integrity of the actual vote counting. Risk -limiting audits, or some similarly
         rigorous alternative, are the future of ensuring that votes cast are votes counted. State 8,
         State 12, State 21, State 9, State 2,      16,                     audit their       and
         others are exploring additional pilot programs.379 However, as of August 2018, five
         states conducted no post-election audit and 14 states do not do a complete post -election
         audit.389 The Committee recognizes states' concern about the potential cost of such
         audits and the necessary changes to state laws and procedures; however, the Committee
         believes the benefit of having a provably accurate vote is worth the cost.

         (U) States should resist pushes for online voting. One main argument for voting online
         is to allow members of the military easier access to their fundamental right to vote while
         deployed. While the Committee agrees states should take great pains to ensure members




  (U) Election experts point out, however, that audits could create a new vector for election -related lawsuits.
378
Complainants could allege that the audit was done improperly, or that the audit process reflected bias.
379  U) State 8 assed a law to audit starting in 2018, with random precinct sampling. State 12        state -wide
audits. State 21 audits 2% of ballots, randomly selected. State 9 picks 210 of 410U precincts atdoes
                                                                                                  random for an audit.
State 2 hand -counts ballots in randomly selected precincts and uses automated software to test. A States law on
ballot storage can't accommodate risk -limiting audits. Instead, they use ClearBallot software. They upload images
of ballots to an external hard drive and send it to ClearBallot. CIearBallot is blind to who won and independently
evaluates the results. In addition, the company can identify problems with scanners; for example, when a fold in
absentee ballots recorded as a vote. Cybersecurity experts still doubt, however, that this type of procedure is secure.
380 (U)
        DTS 2018 -3275, Summary of 8/22/2018 All Senators Election Security Briefing, August 28, 2018.
                                                         59
                  COMMITTEE SENSITIVE - RUSSIA INVESTIGATION ONLY
   Case 1:17-cv-02989-AT Document 821-4 Filed 08/26/20 Page 167 of 175




                    COMMITTEE SENSITIVE - RUSSIA INVESTIGATION ONLY
          of the military get to vote for their elected officials, no system of online voting has yet
          established itself as secure.381

          (U) DI-IS should work with vendors of election equipment to educate them about the
          vulnerabilities in both the machines and the supply chains for the components of their
          machines. Idaho National Lab is already doing some independent work on the security of
          a select set of voting machines, developing a repeatable methodology for independently
          testing the security of such systems.

          (U) The Department of State should work with FBI and DNS to warn states about
          foreign efforts to access polling places outside normal channels in the future and remain
          vigilant about rejecting aberrant attempts.

          (U) The Associated Press is responsible for reporting unofficial, initial election results on
          election night and is a critical part of public confidence in the voting tally. States and
          DEIS should work with the AP and other reporting entities to ensure they are both secure
          and reporting accurate results.

         (U) The Committee found that, often, election experts, national security experts, and
         cybersecurity experts are speaking different languages. Election officials focus on
         transparent processes and open access and are concerned about introducing uncertainty
         into the system; national security professionals tend to see the threat first. Both sides
         need to listen to each other better and to use more precise language.

     6. (U) Assistance for the States

        (U) State officials told the Committee the main obstacle to improving cybersecurity and
purchasing more secure voting machines is cost. State budgets are stretched thin by priorities
that seem more urgent on a daily basis and are far more visible to constituents.

        (U) In March 2018, Congress appropriated $380 million in funds under the HAVA
formula for the states. As of August 2018, states had begun to allocate and spend that money for
items such as cybersecurity improvements.

       (U) The Committee recommends the EAC, which administers the grants, regularly
report to Congress on how the states are using those funds, whether more funds are
needed, and whether states have both replaced outdated voting equipment and improved



   (U) Dr. Halderman in his testimony before the Committee said, "I think that online voting, unfortunately, would
be painting a bullseye on our election system. Today's technology just does not provide the level of security
assurance for an online election that you would need in order for voters to have high confidence. And I say that
having myself... hacked an online voting system that was about to be used in real elections, having found
vulnerabilities in online voting systems that are used in other countries. The technology just isn't ready for use." See
SSCI Transcript of the Open Hearing on Russian Interference in the 2016 U.S. Elections, held on Wednesday, June
21,2017,p. 152.
                                                          60
                  CO             EE SENSITIVE - RUSSIA INVESTIGATION ONLY
   Case 1:17-cv-02989-AT Document 821-4 Filed 08/26/20 Page 168 of 175




                    COMMITTEE SENSITIVE - RUSSIA INVESTIGATION ONLY
  cybersecurity. Moi e funds may be needed, as the allocation under the HAVA formula did
  not prioritize replacing vulnerable electronic-only machines.

          (U) States should be able to use grant funds to improve cybersecurity in a variety of
          ways, including hiring additional IT staff, updating software, and contracting with
          vendors to provide cybersecurity services. "Security training funded and provided by a
          federal entity such as the EAC or DHS would also be beneficial in our view,"382 an
          official from Illinois testified.

          (U) Funds should also be available to defray the cost of instituting audits.

      e   (U) States with vulnerable DRE machines with no paper backup should receive urgent
          access to funding. Dr. Halderman testified that replacing insecure paperless voting
          machines nationwide would cost $130 to $400 million dollars. Risk-limiting audits
          would cost less than $20 million a year.383

                    Build a Credible
                                         111111111111111111111111111111




    (11) SSCI Transcript of the Open Hearing on Russian Interference in the 2016 U.S. Elections. held on
Wednesday, June 21, 2017, p. 114.
383 (U) Ibid., p. 119.

                                                        61
                  CO       I    EE SENSITIVE - RUSSIA INVESTIGATION ONLY
    Case 1:17-cv-02989-AT Document 821-4 Filed 08/26/20 Page 169 of 175




                             MINORITY VIEWS OF SENATOR WYDEN

(U) The role of the federal government

(U) The Committee report describes Russian attacks on U.S. election infrastructure in 2016 and
lays out many of the serious vulnerabilities that exist to this day. These vulnerabilities pose a
diréct and urgent threat to American democracy which demands immediate congressional action.
The defense of U.S. national security against a highly sbphisticated foreign government cannot
be left to state and county officials. For that reason, I cannot support a report whose top
recommendation is to "reinforce[ ] state's primacy in running elections."

(U) Congress's constitutional role in regulating federal elections is well- established. In response
to an inquiry from the bipartisan leadership of the U.S. Senate, the General Accounting Office
(GAO) wrote that "[w]ith regard to the administration of federal elections, Congress has
constitutional authority over both congressional and presidential elections. "1 Indeed, pursuant to
the Elections Clause of the U.S. Constitution,2 Congress's authority over congressional elections
is "paramount to that of the states." As the GAO report details, Congress has repeatedly passed
legislation related to the administration of elections on topics such as the timing of federal
elections, voter registration, absentee voting requirements, disability access, and voting rights.

(U) If there was ever a moment when Congress needed to exercise its clear constitutional
authorities to regulate elections, this is it. America is facing a direct assault on the heart of our
democracy by a determined adversary. We would not ask a local sheriff to go to war against the
missiles, planes and tanks of the Russian Army. We shouldn't ask a county election IT
employee to fight a war against the full capabilities and vast resources of Russia's cyber army.
That approach failed in 2016 and it will fail again. The federal government's response to this
ongoing crisis cannot be limited offers to provide resources and information, the acceptance of
which is voluntary. If the country's elections are to be defended, Congress must also establish
mandatory, nation -wide cybersecurity requirements.

(U) Security of voting machines

(U) Experts are clear about the measures necessary to protect U.S. elections from cyber
manipulation.3 Absent an accessibility need, most voters should hand -mark paper ballots. For
voters with some kind of need, ballot marking devices that print paper ballots should be
available. Risk- limiting audits must be also be required. Currently, however, only Virginia,
Colorado and Rhode Island meet these requirements.' These critical reforms must be adopted

  "Elections. The Scope of Congressional Authority in Election Administration," General Accounting Office, March
2001, prepared in response to a joint inquiry from Senator Trent Lott, Republican Leader; Senator Tom Daschle,
Democratic Leader; Senator Mitch McConnell, Chairman, and Senator Christopher Dodd, Ranking Member, of the
Senate Committee on Rules and Administration.
2 Article I, Section 4, Clause 1
3 Securing the Vote; Protecting American Democracy; National Academy of Sciences, Engineering and Medicine,

September 2018
                                                                                                                  -
4 National Conference of State Legislatures, Post -Election Audits, January 3, 2019. Verifiedvoter.org. The Verifier
                         -
Polling Place Equipment November 2018. Oregon requires paper ballots and the Oregon State Senate has passed a
bill requiring risk-limiting audits.
    Case 1:17-cv-02989-AT Document 821-4 Filed 08/26/20 Page 170 of 175




throughout the country, which is why, on June 27, 2019, the House of Representatives passed
H.R. 7722, the Securing America's Federal Elections (SAFE) Act. The security of the country's
voting machines depends on this legislation being signed into law.

(U) The Committee, in recommending basic security measures like paper ballots and audits,
notes that there is currently "a wide range of cybersecurity practices across the states." Indeed,
the data is deeply concerning and highlights the need for mandatory, nation-wide standards. For
example, the Committee rightly highlights the vulnerabilities of Direct-Recording Electronic
(DRE) Voting Machines, noting that, without a paper trail, there would be no way to conduct a
meaningful "recount" and compromises would remain undetected. As of November 2018,
however, there were still four states in which every single county relied on DREs without voter
verified paper audit trail printers (VVPAT) and, in an additional eight states, there were multiple
counties that relied on DREs without a VVPAT.5 Gaps in the deployment of VVPATs, which
are far less secure than hand-marked paper ballots, demonstrate that even bare minimum security
best practices are not being met in many parts of the country.

(U) In addition, 16 states have no post-election audits of any kind, while many others have
insufficient or perfunctory audits. Only four states have a statutory requirement for risk-limiting
audits, while two states provide options for counties to run different kinds of audits, one of which
is a risk-limiting audit.6 Next year, a third state will provide that option. In other words, the vast
majority of states have made no moves whatsoever toward implementing minimum standards
that experts agree are necessary to guarantee the integrity of elections.

(U) The Committee rightly identifies problems with vendors of voting machines, noting
vulnerabilities in both the machines and the supply chains for machine components. Currently,
however, the federal government has no regulatory authority that would require these vendors to
adhere to basic security practices.7 Only general federal requirements that states and localities
use paper ballots and conduct audits will ensure that the risk posed by voting machines provided
by private vendors to states and localities can be contained. The stakes could not be more clear.
As Homeland Secretary Kirstjen Nielsen testified to the Committee, "If there is no way to audit
the election, that is absolutely a national security concern." 8

(U) Registration databases and election night reporting websites

(U) Two additional components of the U.S. election infrastructure require immediate,
mandatory cybersecurity fixes. The first are voter registration databases. The Committee
received testimony about successful Russian exfiltration of databases of tens of thousands of
voters.9 Expert witnesses also described the chaos that manipulated voter registration data could
cause should voters arrive at the polls and find that their names had been removed from the rolls.

s
  Verifiedvoter.org. The Verifier - Polling Place Equipment - November 2018.
  The four states are Colorado, Nevada, Rhode Island, and Virginia. National Conference of State Legislatures,
Post-Election Audits, January 3, 2019.
' Testimony of Homeland Security Secretary Kirstjen Nielsen, March 21, 2018,
8 Testimony of Homeland Security Secretary Kirstjen Nielsen, March 21, 2018.

9 Testimony of Connie Lawson, President-elect, National Association of Secretaries of State,
                                                                                               and Secretary of State.
State of Indiana; testimony of Steve  Sandvoss, Executive Director of Illinois State Board of Elections, June 21,
2017;  Illinois Voter Registration System Database Breach Report.

                                                          2
       Case 1:17-cv-02989-AT Document 821-4 Filed 08/26/20 Page 171 of 175




     As one expert testified, this form of interference "could be used to sabotage the election process
     on Election Day."I°

 (U) The Committee report describes a range of cybersecurity measures needed to protect voter
 registration databases, yet there are currently no mandatory rules that require states to implement
 even minimum cybersecurity measures. There are not even any voluntary federal standards.

 (U) An additional component of the U.S. election infrastructure that requires immediate,
 mandatory cybersecurity measures are the election night reporting websites run by the states.
 The Committee heard testimony about a Russian attack on Ukraine's web page for announcing
 results. That attacked allowed the Russians to use misinformation that left Ukraine in chaos for
 days after the election. As the Committee's expert witness warned, IN* need to look at that
 playbook. They will do it to us."I Like voter registration databases, election results websites
                                        I


 are not subject to any mandatory standards. Both of these critical vulnerabilities, as well as
 vulnerabilities of voting machines, must be addressed by the U.S. Congress through the passage
 of S. 2238, the Senate version of the SAFE Act.

(U) Given the inconsistent, and at times non-existent adherence to basic cybersecurity among
states and localities, I cannot agree with the Committee's conclusion that "the country's
decentralized election system can be a strength from a cybersecurity perspective." Until election
security measures are required of every state and locality, there will be vulnerabilities to be
exploited by our adversaries. The persistence of those vulnerabilities has national consequences.
The manipulation of votes or voter registration databases in any county in the country can
change the result of a national election. The security of the U.S. election system thus hinges on
its weakest links - the least capable, least resourced local election offices in the country, many of
which do not have a single full-time employee focused on cybersecurity.

(U) Every American has a direct stake in the cybersecurity of elections throughout the country.
Congress has an obligation to protect the country's election system everywhere. If there were
gaps in the defense of our coastline or air space, members would ensure that the federal
government close them. Vulnerabilities in the country's election cybersecurity require the same
level of national commitment.

(U) Cybersecurity vulnerabilities and influence campaigns

(U) The cybersecurity vulnerabilities of the U.S. election system cannot be separated from
Russia's efforts to influence American voters. As the January 2017 Intelligence Community
Assessment (ICA) concluded, and as the Committee report notes, the Russians were "prepared to
publicly call into question the validity of the results" and "pro-Kremlin bloggers had prepared a
Twitter campaign, #DemocracyRlP, on election night in anticipation of Secretary Clinton's
victory." This plan highlights an additional reason why nation-wide election cybersecurity
standards are so critical. If Russia's preferred candidate does not prevail in the 2020 election, the

to
  Testimony of Alex J. Halderman. Professor of Computer Science and Engineering, University of Michigan, June
21, 2017.
n Testimony of Eric Rosenbach, Co-Director of the Belfer Center for Science and International Affairs, Harvard
Kennedy School, March 21, 2018.

                                                       3
      Case 1:17-cv-02989-AT Document 821-4 Filed 08/26/20 Page 172 of 175




Russians may seek to delegitimize the election. The absence of any successful cybcr intrusions,
exfiltrations or manipulations would greatly benefit the U.S. public in resisting such a campaign.

(U) While not formally part of the U.S. election infrastructure, the devices and accounts of
candidates and political parties represent an alarming vulnerability in the country's overall
election system. Russia's campaign of hacking the emails of prominent political figures and
releasing them through Wikileaks, Gucifer 2.0, and DCLeaks was probably its most effective
means of influencing the 2016 election. The Committee has received extensive testimony about
these operations, the vulnerabilities that allowed them to occur, and the threat those
vulnerabilities pose to the integrity of American democracy.12 Yet little has been done to prevent
it from happening all over again. S. 1569, the Federal Campaign Cybersecurity Assistance Act
of 2019, addresses these vulnerabilities head on by authorizing political committees to provide
cybersecurity assistance to candidates, campaigns and state parties.

(U) These vulnerabilities extend to the U.S. Senate, most of whose members are or will be
candidates for reelection or for other positions. As a November 2018 Senate report noted, there
is "mounting evidence that Senators are being targeted for hacking, which could include
exposure of personal data."13 Private communications and information reside on personal
accounts and devices. Passage of S. 890, the Senate Cybersecurity Protection Act, will authorize
the Senate Sergeant at Arms to protect the personal devices and accounts of Senators and their
staff and help prevent the weaponization of their data in campaigns to influence elections.

(U) Assessments related to the 2016 election

(U) I have also submitted these Minority Views to address assessments related to Russian
activities during the 2016 election. According to the January 2017 ICA, DHS assessed that "the
types of systems we observed Russian actors targeting or compromising are not involved in vote
tallying." An assessment based on observations is only as good as those observations and this
assessment, in which DHS had only moderate confidence,14 suffered from a lack of observable
data. As Acting Deputy Undersecretary of Homeland Security for National Protection and
Programs Directorate, Jeannette Manfra, testified at the Committee's June 21, 2017, hearing,
DHS did not conduct any forensic analysis of voting machines.

(U) DHS's prepared testimony at that hearing included the statement that it is "likely that cyber
manipulation of U.S. election systems intended to change the outcome of a national election
would be detected." The language of this assessment raises questions, however, about DHS's
ability to identify cyber manipulation that could have affected a very close national election,
particularly given DHS's acknowledgment of the "possibility that individual or isolated cyber




12   See, for example, Committee hearing, March 30, 2017.
13Senators' Personal Cybersecurity Working Group Report, submitted by the Senators' Personal Cybersecurity
Working Group, November 2018.
" Responses to Questions for the Record from Dr. Samuel Liles, Acting Director of Cyber Division, Office of
Intelligence and Analysis; and Jeanette Manfra, Acting Deputy Undersecretary, National Protection and Programs
Directorate, following Committee hearing, June 21, 2017.

                                                            4
     Case 1:17-cv-02989-AT Document 821-4 Filed 08/26/20 Page 173 of 175




 intrusions into U.S. election infrastructure could go undetected, especially at local levels."I 5
 Moreover. DHS has acknowledged that its assessment with regard to the detection of outcome
 changing cyber manipulation did not apply to state-wide or local elections»'

 (U) Assessments about manipulations of voter registration databases are equally hampered by
 the absence of data. As the Committee acknowledges, it "has limited information on the extent
 to which state and local election authorities carried out forensic evaluation of registration
 databases." Assessments about Russian attacks on the administration of elections are also
 complicated by newly public information about the infiltration of an election technology
 company. Moreover, as the Special Counsel reported, the GRU sent spear phishing emails to
 "Florida county officials responsible for administering the 2016 election" which "enabled the
 GRU to gain access to the network of at least one Florida county govemment."17

 (U) The Committee, in stating that it had found no evidence that vote tallies were altered or that
 voter registry files were deleted or modified, rightly noted that the Committee's and the IC's
 insight into this aspect of the 2016 election was limited. I believe that the lack of relevant data
 precludes attributing any significant weight to the Committee's finding in this area.

 (U) The Committee's investigation into other aspects of Russia's interference in the 2016
 election will be included in subsequent chapters. I look forward to reviewing those chapters and
 hope that outstanding concerns about members' Committee staff access to investigative material,
 including non-compartmented and unclassified information, will be resolved.




15 Responses to Questions for the Record from Dr. Samuel Liles, Acting Director of Cyber
                                                                                            Division, Office of
Intelligence and Analysis; and Jeanette Manfra, Acting Deputy Undersecretary, National Protection and Programs
Directorate, following.Committee hearing, June 21, 2017.
I. Responses to Questions for the Record from Dr. Samuel
                                                            Liles, Acting Director of Cyber Division, Office of
Intelligence and Analysis; and Jeanette Manfra, Acting Deputy Undersecretary, National Protection and Programs
Directorate, following.Committee hearing, June 21, 2017.
17 Report on the Investigation Into Russian Interference In The 2016 Presidential Election,
                                                                                            Special Counsel Robert
S. Mueller III, March 2019
    Case 1:17-cv-02989-AT Document 821-4 Filed 08/26/20 Page 174 of 175




       ADDITIONAL VIEWS OF SENATORS HARRIS, BENNET, AND HEINRICH

          (U) The Russian government's attack on the 2016 election was the product of a
 deliberate, sustained, and sophisticated campaign to undermine American democracy. Russian
 military intelligence carried out a hacking operation targeting American political figures and
 institutions. The Internet Research Agency -an    entity with ties to Russian President Vladimir
 Putin-used social media to sow disinformation and discord among the American electorate.
 And, as this report makes clear, individuals affiliated with the Russian government launched
 cyber operations that attempted to access our nation's election infrastructure, in some cases
 succeeding.

        (U) The Russian objectives were clear: deepen distrust in our political leaders; exploit
and widen divisions within American society; undermine confidence in the integrity of our
elections; and, ultimately, weaken America's democratic institutions and damage our nation's
standing in the world. The Committee did not discover evidence that Russia changed or
manipulated vote tallies or voter registration information, however Russian operatives
undoubtedly gained familiarity with our election systems and voter registration infrastructure
valuable intelligence that it may seek to exploit in the future.
                                                                                                 -
         (U) The Committee's report does not merely document the wide reach of the Russian
operation; the report reveals vulnerabilities in our election infrastructure that we must
collectively address. We do not endorse every recommendation in the Committee's report, and
we share some of our colleagues' concerns about the vulnerability that we face, particularly
the state level, where counties with limited resources must defend themselves against
sophisticated nation-state adversaries. Nevertheless, the report as a whole makes an important
contribution to the public's understanding of how Russia interfered in 2016, and underscores the
importance of working together to defend against the threat going forward.

         (U) It is critical that state and local policymakers study the report's findings and work to
secure election systems by prioritizing cybersecurity, replacing outdated systems and machines,
and implementing audits to identify and limit risk. The Intelligence Community and other federal
agencies must improve efforts to detect cyberattacks, enhance coordination with state and local
officials, and develop strategies to mitigate threats. And, critically, Congress must take up and
pass legislation to secure our elections. We must provide states the funding necessary to
modernize and maintain election infrastructure, and we must take commonsense steps to
safeguard the integrity of the vote, such as requiring paper ballots in all federal elections.

        (U) Our adversaries will persist in their efforts to undermine our shared democratic
values. In order to ensure that our democracy endures, it is imperative that we recognize the
threat and make the investments necessary to withstand the next attack.
                   Case 1:17-cv-02989-AT Document 821-4 Filed 08/26/20 Page 175 of 175
  2/18/2020                                          Opinion   l   I   Hacked an Election. So Can the Russians. - The New York Times


          Netu Not* gimes                   https://nyti.rns/2HbyQkU


  TUNE IN, TURN OUT



  I Hacked                   an Election. So
  Can the Russians.
  By J. Alex Halderman

  April 5, 2018


  This video is part of a series on voting in America, which will run until Election Day in
  November. For more, see:

 Part 1:       On the importance of voting.
 Part 2:       On a court case over a Kansas voter registration law.
 Part 3:       On discriminatory voting laws.


 J.   Alex Halderman ( @jhalderm) is         a   professor of computer science and engineering at the University of Michigan.




                                                                                                                                       EXHIBIT

                                                                                                                                 11--kagrna,

https: //www.nytimes.com/ 2018/04/05/ opinion /election-voting- machine-hacking- russians.html ?auth =link-dismiss- googleltap                   1/1
